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      EXHIBIT A
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        IN THE CIRCUIT 'COURT OF HARRISON COUNTY, WEST VIRGINIA

HIGHLAND-CLARKSBURG HOSPITAL, INC.,

Plaintiff,

V.                                                         Civil Action No. .2A —~~q— ~

RSUI INDEMNITY COMPANY,
a foreign corporation,

Defendant.

                                         COMPLAINT
       Plaintiff Highland-Clarksburg Hospital, Inc. ("HCHI") states the following for its

Complaint against Defendant RSUI Indemnity Company (RIC"):

                                     Preliminary Statement
       1.      HCHI brings this Complaint to seek a declaration from the Court that RIC owes a

duty to indemnify and a duty to defend HCHI. In addition, because RIC wrongfully refuses to

indemnify and defend HCHI, this Complaint seeks damages incurred by HCHI caused by that

refusal, including attorneys' fees and expenses.

                                           The Parties
       2.      HCHI is a West Virginia corporation with a principal place of business in

Clarksburg, West Virginia. HCHI is authorized to conduct business in West Virginia and actually

conducts business in Harrison County, West Virginia.

       3.      RIC is a New Hampshire corporation with a principal place of business at 945 East

Paces Ferry Road, Atlanta, Georgia 303026-1160. RIC is authorized to conduct business in West

Virginia and actually conducts business, including entering into insurance contracts, in Harrison

County, West Virginia.
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                                           Jurisdiction

        4.     This action is brought pursuant to the Uniform Declaratory Judgments Act, W. Va.

Code § 55-13-1, et seq., and Rule 57 of the West Virginia Rules of Civil Procedure, pursuant to
                                                             ~
which this Court has the power to declare the rights and legal relations of HCHI and RIC with

respect to the rights and duties that RIC owes under certain insurance contracts and coverages as

detailed below.

       5.      This Court also has personal jurisdiction over RIC as it transacts business in West

Virginia and contracts to insure persons, property and/or risks located within West Virginia.

                                             Venue

       6.      Venue is proper in the Circuit Court of Harrison County, West Virginia, because

both HCHL and RIC conduct business in Harrison County, West Virginia, and they entered into

an insurance contract in Harrison County, West Virginia, that insures HCHL's operations in

Harrison County, West Virginia.

                                      Factual Background

       Allegations in the Whiteman Complaint.

       7.         This action centers on a dispute whereby HCHI requested that RIC provide both

indemnification and a defense for claims asserted by Karen M. Whiteman against HCHI in a civil

action pending in the Circuit Court of Harrison County, West Virginia, styled Karen M. Whiteman,

Plaintiff, v. Highland-Clarksbur Hospital, Inc., Defendant, Civil Action No. 20-C-265-1 (the

"Whiteman Complaint").

       8.     In the Whiteman Complaint, plaintiff Karen M. Whiteman alleges age

discrimination, hostile work environment, retaliation, and wrongful termination claims against

HCHI, as well as a claim for a tort of outrage. See Exhibit 1()AThiteman Complaint).



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           9.     Specifically, Ms. Whiteman alleges that she began work at HCHI as a Nursing

    Supervisor on or about October 10, 2016, after which she was promoted to Clinical Educator in

    Apri12017. Whiteman Complaint at §§3-4.

           10.    Ms. Whiteman alleges that, beginning in early 2019, Valerie Huston became her

    supervisor, after which she alleges that Ms. Huston subjected her to verbal abuse. Whiteman

    Complaint at §§4-5. Ms. Whiteman alleges that she contacted and made complaints to HCHI's

    Human Resources Department concerning her supervisor, which were ignored or not acted upon.

    Whiteman Complaint at §§6-8.

?          11.    Ms. White further alleges that HCHI put her on a Performance Improvement Plan

    on or about October 31, 2019. Whiteman Complaint at §9.

           12.    Notably, Ms. Whiteman alleges that, after HCHI put Ms. Whiteman on a

    Performance Improvement Plan, she filed a complaint with the United States Equal Employment

    Opportunity Commission ("EEOC") on November 1, 2019. Whiteman Complaint at §10. HCHI

    has no knowledge of any complaint made by Ms. Whiteman to the EEOC on November 1, 2019,

    as alleged in the Whiteman Complaint.

           13. . Ms. Whiteman alleges that she met with Ms. Hutson, her supervisor, and Robert

    Boyles, head of HCHI's Human Resources Department on January 31, 2020, when her

    Performance Improvement Plan ended, which was followed by provision of a memorandum on

    February 14, 2020, concerning the end of her Performance Improvement Plan. Whiteman

    Complaint at §§11-12.

           14.    Finally, Ms. Whiteman alleges that she received "an additional corrective action

    report" on June 12, 2020, that "result[ed] in a constructive discharge." Whiteman Complaint at

    §13.



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       15.     As a result of the factual allegations contained in the Whiteman Complaint, Ms.

Whiteman alleged the following causes of action:

               a.     Count I (Age Discrimination);

               b.     Count III (Retaliation in Violation of the West Virginia Human Rights
                      Act);

               C.     Count IV (Retaliation for Reporting Age Discrimination and Hostile Work
                      Environment with the Equal Employment Opportunity Commission);

               d.     Count V(Wrongfttl Termination - Age Discrimination West Virginia
                      Human Rights Act);

               e.     Count VI (Tort of Outrage).

       EEOC Charge, Notice of Charge and Notice of Dismissal.

       16.     On or shortly after January 21, 2020, HCHI received both a Notice of Charge of

Discrimination ("Notice") and a Dismissal and Notice of Rights ("Dismissal") for a Charge of

Discrimination filed by Ms. Whiteman on January 17, 2020 ("Charge"). See Exhibit 2(Charge of

Discrimination); Exhibit 3(Notice of Charge of Discrimination); and Exhibit 4(Notice of

Dismissal and Notice of Rights).

       17.    Before it received the Dismissal on January 21, 2020, HCHI did not have any notice

that Ms. Whiteman had filed the Charge. In other words, HCHI received the Charge, the Notice,

and the Dismissal at the same time.

       18.    Because HCHI's first notice of the Charge was that it had been dismissed by the

EEOC only 4 days after the Charge was filed, HCHI did not provide notice of the Charge to RIC.

       Notice of the Whiteman Complaint and Notice to RIC.

       19.    Ms. Whiteman filed her complaint in the Circuit Court of Harrison County, West

Virginia on November 9, 2020.

       20.    HCHI received service of the Whiteman Complaint on or about November 21,


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2020.

        21.      HCHI submitted the Whiteman Complaint to RIC on November 23, 2020 and

requested coverage for the claims asserted in the Whiteman Complaint.

        HCHI's Insurance Policies with RIC.

        22.      Specifically, HCHI sought coverage under a Non-Profit Organization Management

Liability Policy issued by RIC for the period August 9, 2019, to August 9, 2020, Policy No.

NHP682977 (the "First Policy"). See Exhibit 5(First Policy). HCHI renewed the Non-Profit

Organization Management Liability Policy, which is in effect for the period August 9, 2020, to

August 9, 2021, Policy No. NPP688510 (the "Second Policy"). See Exhibit 6(Second Policy).

The First Policy and the Second Policy are, upon information and belief, identical except for the

Policy Period.

        23.      Both the First Policy and the Second Policy represent "claims made" policies.
                                      n:



        HCHI's Requests for Coverage from RIC.

        24.      After submitting the Whiteman Complaint to RIC on November 23, 2020, RIC

denied coverage by letter dated December 7, 2020, from Kyle W. Dunton, Esq, a Chief Claims

Specialist with RSUI Group, Inc. ("Dunton Letter") See Exhibit 7(Letter, Kyle W. Dunton, Esq.,

to Robert Broyles, December 7, 2020).

        25.      In the Dunton Letter, RIC took the position that "[i]n order to trigger coverage

under this policy, notice must [be] given as soon practicable, but in no event later than 60 days

after the expiration of the policy." Exhibit 7 at p. 5. RIC took the position that, because RIC

received notice of the Charge on January 21, 2020, but did not provide notice of the Charge until

November 23, 2020, the First Policy was "not triggered and thus, there is no coverage for" the

Wiseman Complaint.



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        26.     The Dunton Letter also denied coverage under the Second Policy because all of the

allegations and claims in the Whiteman Complaint were "deemed to have been first made at least

by January 21, 2020[,]" and as "January 21, 2020 is prior to the inception date of the [Second

Policy,] ... the [Second Policy] has not been triggered, and thus, there is no coverage available"

to HCHI for the claims in the Whiteman Complaint.

        27.     RIC reiterated its denial by email on January 8, 2021 see Exhibit 8) and by letter

dated February 2, 2021 (see Exhibit 9); therefore, HCHI is now forced to file this civil action to

obtain the insurance coverage that it is legally owed.

                     COUNT I- REQUEST FOR DECLARATORY JUDGMENT

        28.     Paragraphs 1 through 27 of this Complaint are incorporated here by reference and

are realleged as if fully set forth herein.

        29.     A justiciable controversy exists between HCHI and RIC action with respect to the

scope, meaning, and application of the policies of insurance issued by RIC and whether RIC owes

a duty of defense and a duty of indemnification to HCHI.

        30.     The legal rights and obligations of the parties hereto are dependent upon this Court's

declaration of the scope, meaning and application of the First Policy and the Second Policy issued

by RIC, and to the extent that issues of fact impact such scope, meaning and application of either

of those insurance policies to the facts presented in this civil action, a jury in the Northern District

of West Virginia must make such fmdings of fact.

        31.     HCHI asks that the Court declare that, under the terms of the policies, RIC is legally

obligated to provide a defense to HCHI in reference to the claims made against HCHI in the

Whiteman Complaint.




                                                  C.~
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        32.     HCHI also asks the Court to declare that, under the terms of the policies, RIC is

legally obligated to indemnify HCHI in reference to the claims made against HCHI in the

Whiteman Complaint.

        33.     HCHI further asks the Court to declare that, pursuant to the legal obligation of RIC

to defend and indemnify HCHI, RIC is liable to pay HCHI all costs and expenses, including

attorneys' fees and expenses, incurred by HCHI to defend- itself against the assertions in the

Whiteman Complaint and in seeking to enforce its right to have RIC defend and indemnify it.

                             COUNT II - BREACH OF CONTRACT

        34.     Paragraphs 1 through 33 of this Complaint are incorporated here by reference and

are realleged as if fully set forth herein.

        35.     The insurance policies issued by RIC represent written contracts, and as a first-

party insured under each policy, HCHI is entitled to receive the benefits provided by those

contracts, including the obligation of RIC to defend and indemnify it in defense of the Whiteman

Complaint.

        36.     RIC has negligently, willfully, wantonly, recklessly, and maliciously breached

these contractual duties by failing to defend or indemnify HCHI in relation to the Whiteman

Complaint.

        37.     As a result of RIC's breaches, HCHI has suffered and will continue to suffer

damages, including monetary losses, annoyance, inconvenience, aggravation, and attorneys' fees

and expenses.

                                 COUNT III: HAYSEEDS CLAIM

        38.      Paragraphs 1 through 3 7 of this Complaint are incorporated here by reference and

are realleged as if fully set forth herein.



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        39.    RIC breached the insurance policies as detailed in this Complaint by failing to

defend and indemnify HCHI for the claims made in the Whiteman Complaint.

        40.    HCHI has had, and continues to have, a dispute with RIC concerning coverage

under the insurance policies and the benefits available to HCHI under the terms of those policies.

        41.    HCHI anticipates that it will substantially prevail with regard to the disputes with

RIC concerning coverages and benefits under the insurance policies, including that RIC owes a

duty to defend against and a duty to indemnify for the claims in the Whiteman Complaint.

        42.    HCHI has had to engage counsel to defend itself against the claims asserted in the

Whiteman Complaint and to secure the coverage and benefits owed by RIC, including litigation to

secure that coverage and those benefits.

        43.    For all disputes in which HCHI substantially prevails, including those claims

against RIC concerning its failure to meet its obligations under the insurance policies, HCHI is

entitled to recover out-of-pocket expenses, attorneys' fees and expenses incurred, and damages for

annoyance and inconvenience as permitted by Hayseeds, Inc. v. State Farm Fire & Cas., 177 W.

Va. 323, 352 S.E.2d 73 (1986), and its progeny.

        44.    The actions and omissions of RIC as described in this Complaint were willful,

wanton, and reckless, undertaken with actual malice, in bad faith, and in total disregard of its duties

to HCHI, its insured. RIC knew that HCHI's claim for coverage was proper, but it willfully,

maliciously, and intentionally failed to provide that coverage. The acts of RIC was particularly

egregious and conducted with actual malice and in bad faith so as to render RIC liable for punitive

damages.




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       WHEREFORE, HCHI prays that the Court:

       A.     Grant declaratory relief pursuant to Declaratory Judgment Act, 28 U.S.C. §2201,

              and declare that RIC owes HCHI a duty to defend and a duty of indemnification for

             all claims asserted against HCHI in the Whiteman Complaint;

       B.    Award damages in an amount to be determined, including, but not limited to

             monetary losses, annoyance, inconvenience, aggravation, and attorneys' fees and

             expenses; and

       B.    Award HCHI such other and further relief as this Court deems just and proper.


                                           HIGHLAND-CLARKSBURG HOSPITAL, INC.

                                           By Counsel




MYA       S hulz,      ire (WVSB No. 6092)
B bs alld, C ents & Zomnir, P.C.
30              eet, Suite 1000
Charleston,
      ummeV25301
(681) 205-8888
(681) 205-8814 (fax)
mschulz@babstcalland.com




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Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 11 of 166 PageID #: 18




                                        VERIFICATION

        The undersigned, being a representative of Highland-Clarksburg Hospital, Inc., after being

 duly sworn, hereby deposes and says that she has read the allegations of the foregoing Complaint,

 and the factual allegations therein are true and correct to the best of her information, knowledge

 and belief.




                                              Victoria L. Jones,
                                              CEO Highland-Clarksburg Hospital, Inc.


        Subscribed and sworn to me this ~~         day of February, 2021.


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                                               M        0 8                            ~14•



 My commission expires:
                                                              ........................
                                                                                      III ~AL•••••• ~
                                                                                NOTARY PUBLIC                ~
                                                              =             STATE OF WEST VIRGINlA i
                                                              ;                St®phania Aprii Re1pH         i
                                                              ~.          ;     1109 N. 25th Street
                                                               i 1,~    ,6    clarksburg, UYV 29301          i
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Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 12 of 166 PageID #: 19




                   EX IBIT I
    Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 13 of 166 PageID #: 20



  Ofrrce of the Secretary of State
  Building 1 Suite 157-K
  1900 Kanawha Blvd E.
  Charleston, WV 25305,

                         USPS CEF2TIFIED MAILTM



                                                                                                     Mac Warner
                                                                                                   Secretary vf State
                                                                                                 State af irVnsf U'irgirtia
                     9214 8901 1281 3410 0002 9556 46                                          Phone: 304-558-6000
                                                                                                        886-767-8883
                                                                                                     Visit us oniine:
 HiGHLAND-CLARKSBURG HOSPITAL, INC.                                                                  www1=sos,r1=
 WHITNEY PATTERSON
 3 HOSPITAL PLAZA
 CLARKSBURG, WV 26301




     Control Number: 266451                                                    Agent: WHITNEY PATTERSON
             Defendant: HIGHLAND-CLARKSBURG                                   County: Harrison
                        HOSPITAL, INC.
                        3 HOSPITAL PLAZA                                 Civil Action: 20-C-265
                        CLARKSB{JRG, WV 26301 US                   Certified Number: 92148901125134100002955646
                                                                        Service Date: 11/13/2020

I am enclosing:

       1summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According
                                                                                                     to law, I have accepted
service of process In the name and on behaff of your corporation.

Please note that this offfce has no connection whatsoever wfth the enclosed documents other than to
process in the name and on behalf of your corporatlon as your attomey-fn-fact. Pfease address any      accept service of
document directiy to the court or the plafntiffs attorney, shown in the enclosed paper, not to the    questfons  about this
                                                                                                   Secretary of State's offfce.



Sincerely,




Mac Warner
Secretary of State
        Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 14 of 166 PageID #: 21

                              S U M M 0N S
            CIRCUIT COURT OF HARRISON COUNTY, WES.T VIRGINIA

KAREN M. WHITEMAN


                      Plaintiff
  V.                              20-C-2G5           CHRISTOPHER JOHN    MCCARTHY
                                                                    r •,       t_!'>

HIGHLAND-CLARKSBURG HOSPITAL, INC.                                     ~s' ~ ~, ,~~3~'
3 HOSPITAL PLAZA                                                       ''~~' :~ ~~
CLARKSBURG       WV 2 63 01                                             ~ia~     m~
                                                                          ~•~~   a   ~.+
                                                                                     " rl ~~
                      Defendant
To the Above-Named Defendant (s) :                                                    C) (]
IN THE NAME OF THE STATE OF WEST VIRGINIA,                                            rri;o
                                                                                      cn
       you are hereby summoned and required to serve upon                  7'
        KLIE LAW OFFICE
       Plaintiff's attorney whose address is
       85 WEST MAIN STREET
       BUCKHANNON, WV 26201

an answer, includa.ng any related counter-Claim you may have, to the
complaint filed against you in the above-styled civil action, a true
copy of which is herewith delivered to you. You are required to serve
your answer within 30 days after service of this summons upon you,
exclusive of the day of service.
If you fail to do so, judgement by default will be taken
against you for the relief demanded in the complaint and you will be
thereafter barred from asserting in another action any claim you may
have which must be asserted by counter claim in the above-styled
civil action.
DATED: 11/09/20
                                               ALBERT F.MARANO, CLERK
                                               Harrison County Circuit Court
                                              By :    l   0AI     .. 1-              Deputy
                                                                            d(n
      Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 15 of 166 PageID #: 22

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          IlN TBE CIltCdJYT CCURT OF                     HARRIS6N                    COUNTY, WEST VIRC~]f.E~.
                                    CIVIL CASE INFQ+RMATION STATJEMENT
                                     (Civil Cases Dther than Domestic Relations)
    I. CASE STYLE:                                                       Case No.
 Plaintiff(s)                                                           Jttc3ge:
 Raren M. Wluteman
 c/o K1.ie Law Offices, PLLC
 85 W. Main Street, Buckhannon, W'V' 26201
                                                                                                                 ~
 vs.                                                          Days to
 Defendant(s)                                                 Attswer        Type of 3ervice                    cz')        *Oi ='
 HigUland-Clarksbitrg Hospital, Iuc.                              30        Secretary of State                  Mo
 Nanie
                                                                                                                        '
 c/a NNilutney Patterson, 3 Hospital Plaza
 Street Address
                                                                                                                t,~    }~ • ._ ,
 Clarksburg, NVY 26301                                                                                                 :~.......
City, Sfate, Zip Code                                                                                           co

II. TYPE CF CASE:
      E,( Geneial Civil                                                             ❑ Adoption
      ❑ Mass Litigation (As definec/ nr T:C.R. 26.04(a)J                            ❑ Administrative Agency Appeal
          ❑ Asbestos
                                                                                    ❑ Civil Appeal from Magistrate Cotut
          ❑ FELA Asbestos                                                           ❑ Miscella.neotts Civil. Petition
          ❑ Otlter:                                                                 ❑ Mental Hygiene
      ❑ Habeas Corptis/Other Extraordinat)r Writ                                    ❑ Gttardianship
      ❑ Other:                                                                      ❑ Medical Malpractice
M. JURY DEMAND: ~J~, Yes ❑ No CASE W:Q.,L BE READY FOR TRTAL
                                                             BY (MontltlYear): 01 / 2022
I'V. .1DU YOIJ OR A.NY              I IF YES, PLEASE SPEC'1F'Y:
     CF YOiJR CLIENTS                j ❑ lVlzeelcliair accessible hearing room and ottter facilites
     CRNvI I'NES.SES                ~ ❑ Reader or other attxiliary aid for the visually impaired
     IN TMS CASE
                                       © Interpreter or other auxiliary aid for the deaf and hard of hearing
     REQL>IRE SPECgAL
     A.CC~MPlfCD~TTON~`~            (© Spoltesperson or other atLx.iliary aid for the speec.h impaired
                                       ❑ Foreign langttage inteipreter-specify la.ngnage:
      ❑ Yea 7l No                   ~ ❑ Other:

Attoiney Nauue: Melissa T. Roman                                            Representiug
Fium: Klie Law Off.tces, PLLC                                               ® PlaintYff           ❑ Defendant
Address: 85 W. Main Street, B                WV 26201                       ❑ Cross-Defendant ❑ Cross-Complainant
Telephone: (304) 472-5007                                                   ❑ 3rd-Party Plaintiff ❑ 3rd-Pari,y Defendant
❑     Proceeding "VVithout an Attorney
                                                                                                    ,
Original and      4     copies of complaint enclosed/attached.
Dated:      ~~    / ~
                    /~                 Signatttre:
SCA-C-100: Civit Case Information Statement (Othea• than Domestic Relation
                                                                           s)                      Revision Date: 12/2015
Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 16 of 166 PageID #: 23




           ]N THE CIRCUIT COiTRT OF HARRISON COUNTX,'VPEST VII2G7NIrA

   KAREI\T M.WAITEMAN,

                 Plaintiff,
   V.                                                         Civil Action No.:

   HIGHLAND-CLARKSBU'RG HOSPY'I'AL, IlV'C.,

                 Defendant.

                                           COMPLAINT

         NOW COMES the Plaintiff, Karen M. Wluteman, and for her cause of action against

  Defendant, states and alleges as foIlows, towit:

             1. Plaintiff, Karen M. Whiteman (hereinafter referred to as 'Plaintiff' or "Plaintiff

                Whiteman") is an adult individual and resident of Gypsy, Harrison County, West

                Virginia.

             2. Based upon information and belief, Defendant, Highland-Clarksburg Hospital,

                Inc., (hereinafter referred to as "Defendant Highland"), is a for profit domestic

                corporation, with a notice of process address of Whitney Patterson, 3 Hospital

                Plaza, Clarksburg, WV 26301 and its principal place of business located at
                                                                                           ~
                Hospital Plaza, Clarksburg, WV 26301.

            3. Plainti.ff began her original employnmen₹ with Defendant Highland on or about

                October 10, 2016 as a Nursing Supervisor. On or about Apri12017, Plaintiff was

                promoted to the salary position of Clinical Educator.

            4. In early 2019, after some changes in management, Plaintiff had a supervisor to

                report to, namely, Valerie Hutson.

            5. For several months thereafter, Plaintif£was subject to being treated in a disparate
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~   ~ M




                    manner due to her age, including being verbally abused by said Valerie Hutson as

                    well as had to endure hearing the co-workers on her team being verbally abused

                    repeatedly by the said Valerie Hutson.

                6. Said disparate treatment created toward Plaintiff by the De£endant caused a work

                    environment that became so intolerable that Plaintiff '4Uhiteman filed compiaints

                    with Defendant's Human Resources Department.

                7. Plaintiff Whiteman was refizsed or otherwise ignored for her complaints to

                ~ Defendant's Human Resources Department.

                8. On or about June 6, 2019, Plazntifffiled an off~cial complaint o£discrimination and

                    hostile work enviroxument with the confidentlal compliance line offered through

                   Defendant Highland.

               9. On or about October 31, 2019, Plaintiff was given a Performan:ce Tmprovement

                   Period by Defendant Highland.

               10.On or about November 1, 2019, Plaintiff filed a cornplaint with United States Equal

                   Employment Opportunity Commission {"EEOC"}.

               11.On or about January 3I, 2020, Plaintift's Performance Improvement Plan's 90 days

                   ended and a na.eeting was held with Plaintiff, Valerie Hutson, and Robert Boyles.

               12.On or about February 14, 2020, a rnemorandum was provided to Plaintiff regarding

                   the end of the Performance Ixnprovement Plan reiterating PIaintif.f's itxxprovement

                   and positive changes.

               13.On or about June 12, 2020, Plaintiff received an additional corrective action report

                   resulting in a constructive discharge.

               14.At a11 times relevant herein, Plaintiffperformed all of her job duties in a satisfactory

                                                                                                        'AA
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               and/or above satis£actory manner and any contention to the contrary is merely a

               pretext.

                           COUNT I—AGE DISCR1rMINATION

           15.Plaintif£ Whiteman hereby restates each and every allegation contained in

              paragraphs one (1) through fourteen (14) o£ this Complaint as i£ fully rewritten

              herein.

           16.Plaintiff Whiteman was at all times relevant herein a member o£aprotected class o£

              individuals as she was over the age o£ £orty. Based upon zn£ormation and belie£

              Plaintiff Whiteman maintains and therefore avers that she was treated in a disparate

              manner based upon in whole or in part by her age classifzcation.

          17.The a£oresaid age discrimination was inflicted upon Plaintif£ Whiteman in direct

              violation o£the West Virginia Human Rights Act, W.Va. Code § 5-11-1, etseq.

          18.As a direct and prox3mate result o£the outrageous and wrongftxl actions aforesaid,

              Plaintiff Whiteman has su€£ered injuries, datnages and losses as hereinafter set

             ~M'


                    COIJNT II: HOSTILE WORK ENVYRONMENT

          19.Plaintiff Whiteman hereby re-alleges each and every allegation contained in

             paragraphs one (1) tbrough eighteen (18) as if £ally restated herein.

          20.During the duration o£Plaintif£Whiteman's employment with De£enda~nt Highland

             and/or other representatzves, employees and/or agents o£ Defendant, Highland,

             made o£fensive comments, statements and/or suggestions about or directed to

             Plainti.ff Whiteman, including but not 1'zmited to remarks about her age. Further,


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Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 19 of 166 PageID #: 26




              Defendant's sudden insistence to regularly evaluate, berate and yell at Plaintiff
                                                          `
              made her work feel intolerable.

           21.Such behavior was unwelcome by Plaintiff Whiteman in the work environment and

              rendered the workplace and workin&conditions hostile and unbearable.

           22.As a direct and proximate result of the illegal, wrongfizl, reckless, willfu.l,

              intentional, negligent, and torluous harassment of Plaintiff VVhiteman by

              Defendaut, Plaintiff has suffered damages as hereinafter set forth. Further, based

              on the behavior of Defendant, Plaintiff claims punitive damages.

                             COUNT IIZ- RETAILATZON IN VIOLATION OF THE
                             WEST VII2GINIA HUMAN RIGHTS ACT

          23.PIaintiff hereby realleges each and every allegation contained in paragraphs one (1)

              through twenty-two (22) of this Complaint as if fully rewritten herein.

          24.Plaintiff alleges that Defendant and/or other representatives, employees and/or

              agents of Defendant Highland engaged in various retaliatory actions against her as

             a result of her age and reporting discrimination and hostile work environment in

             violation of the West Virginia Huznan Rights Act, West Virginia Code § 5-11-1 et

             seq.

          25.A#ler PIaintiff engaged in said protected activity, Defendant took adverse action

             against the Plaintiff by demoting, harassing, suspending, threatening and ultimately

             constructively discharging PIaintiff from employrnent. That the purpose of

             Defendant iun so acting was to prevent Plaintiff, through economic and

             psychological intimidation, from seeking relief, in violation of the West Virginia

             Human Rights Act, West Virginia Code § 5-11-1 et seq.


                                                                                               Cl
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           26.Pursuant to its conduct, Defendant acted to deprive the Plaintiff of her rights under

               the West Virginia Human Rights Act, West Virginia Code §-5-11-1 et seq. by

               wrongfully tezxninating her employment in retaliation £or filing compiaints of

               discrimination and hostile work environment.

           27.Piaintiff Whiteman's discharge was followed by her report to Defendant Highland

              regarding age discrimination azzd hostile work environment. It is unlawful in the

              State of West Virginia and against public policy to discriminate against an

              employee basecl on their age.

          28.Even at will employees may recover for wrongful terminiation "where the firing

              was motivated by an intention to contravene some substantial public policy."

              H'ar-less v FirstNat'l.8ank, 192 W.Va.116, 246 S.E.2d 270 (1,978).

          29.West Virginia recognizes a substantial public poli.cy that an empioyee cannot be

              retaliated aga.inst for filing good ;faith based complaints of discrimination and

              hostile work environment. Such substantial public policy of retaliation is illegal

              and specifically outlined under the West Virginia Human Rights Act, West

             Virginia Code § 5-11-1 et seq.

          30.Defendant's actions, therefore, were in violation of West Virginia public policy, as

             evidenced by, but not limited to, the Defendant's demotion of Plainti.ff, harassment

             and disparaging remarks made to her on the basis of her protected class and status,

             threats, and discharge from employment after Plaintiff reported claisns of

             discrimination and hostile work environment.




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               3l, . Based upon information and belief, Plaintiff's termination was based at least in part

                   on her reporting said behavior. Plaintiff Whiteman did not comznit any separate

                  d'zschargeable offense.

               32.As a direct and proximate result of the illegaI, wrongful, wilIful, intentional

                  harassment and retaliation of Plaintiff by Defendant and its agents, PIaintiff has

                  suffered damages and losses as hereinafter set forth.




'                             EMPLOYN.[ENT OPPORTIINITY COMNIISSION


              33.Plaintiff hereby realleges each and every allegation contained in paragraphs one (1)

                  through thiriy tvcto (32) of this Complaint as if fully rewritten herein.

              34.Plaintiff alleges that Defendants and/or other representatives, employees and/or

                  agents of Defendant Highland engaged in various retaliatory actions against her as

                  a result of her age and reporting discrimination and hostile work environment to the

                 `EEOC.

              35.PlaintifF's actions of filing an EEOC complaint against Defendant constituted a

                 protected activity under the EEOC laws, under Title VIII of the Civil Rights Act of

                 1964, Sections 704, 705, and 706, et seq.

              36. After Plaintiff engaged in said protected activity, Defendant took adverse action

                 against the Plaintiff by demotixxg, harassing, suspending, threatening and ultinnately

                 constructively discharging Plaintiff from employment. That the purpose of

                 Defendant in so acting was to prevent Plaintifi; through economic aud




                                                                                                      6
Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 22 of 166 PageID #: 29




               psychological intimidation, from seeking the relief provided by EEOC laws, under

               Title Vu of the Civil Rights .A,ct of 1964, Sections 704, 705, and 706, et seq.

           37.Pursuant to its conduct, Defendant acted to deprive the Plaintiff of her civil rights,

              by repeated and insidious acts of harassment, intimidation, and discharge from

              employment, all in violation of EEOC laws, under Title VIl of the Civil Rights Act

              of 1964, Sections 704, 705, and 706, et seq.

           38.As a direct and proximate result of the illegal, wrongful, willful, intentional,

              harassnaent and retaliation of Plaintiff by Defendant and its agents, Plaintiff has

              suffered damages and losses as hereinafter set forth.

               COUNT V- WRONGFUL TERMMATION- AGE DISCRIMIlV'ATION
                                     WEST V]RGINIA HiTMAN RIGHTS ACT

          39.Plaintiff Whiteman hereby re-alleges each and every allegation contained in

              paragraphs one (1) through thirty-eight (38) as if fully restated herein.

          40.PIaintiff was a member of a protected class of individuals based upon her age.

          41.Plaintiffs terminatxon ffrom her employment was based upon, in whole or in part,

             Plaintiffs age, in violation of the West ViYginfa Human Rights Act, W.Va. Code §

             5-11-9(1).

          42.As a direct and proximate result of the outrageous and wrongful actions aforesaid,

             Plaintiffhas sufFered injuries, damages and losses as hereinafter set forth.

                            COUNT VI - TORT OF OUTRAGE

          43.Plaintiff Whiteman hereby re-alleges each and every allegation contained in

             paragraphs one (1) through forty-two (42) as if fully restated herein.



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Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 23 of 166 PageID #: 30




           44.The age discrimination, hostile work environment, retaliation for reporting hostile

              work environment and discrimznation, and wxongfii], termination acts and/or

              omissions taken against Plaintiff Whiteman by Defendant PTaighland were done in a

              severe and outrageous manner and were so extreme as to be intolerable in a

              civilized society.

          45.Defendant acted intentionally and recklessly which caused Plaintiff ex[reme

              emotional distress.

          46.Defendant lcnew that said intentional and reckless actions would cause Plaintiff to

              suffer extreme emotional distress:

          47.As a direct and proximate result of the outrageous and wrongful actions aforesaid,

              Plainti£f'has suffered injuries, damages and losses as hereinafter set forth_


                                            DAMAGES

          48.Plaintiff hereby restates each and every allegation contained in paragraphs one (1)

             through forty-seven (47) of this Complaint as if fully rewritten herein.

          49.As a direct and proximate resuIt of the acts and/or omissions of Defendant as

             hereinbefore alleged, Plaintiff has been caused to suffer in,juries, damages and

             losses, including but not limited to: back pay, lost benefits, frontpay, future loss of

             benefzts, emotional distress, anxiety, fear, embarrassment, humiliation, financial

             hardship, and attorney fees.

         50.All of the acts of Defendant and its agents, servants, and employees, as alleged
                    ~                                                                            in
            each count of this Complaint were willfiil, wanton, and malicious and/or recldess




                                                                                                 8
Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 24 of 166 PageID #: 31




                   and/or an reckless disregard for the civil rights of Plaintiff WhiteYnan such that

                   punitive damages are waaxanted.

     -    WHEREFORE, Plaintiff, K,aren M. 'aVhiteman, demands judgment against the Defendant,

   Highland-CIarksburg Hospital, Inc. in an amount that would adequately compensate Plaintiff for

   the unIawful acts and/or omissions and violations of law by De£endant, plus whatever other relief

   the Court or Jury would deem just; and for punitive damages in an amount adequate to punish and

   deter Defendant froxn committing this type of conduct in the State of West Virginia in the
                                                                                                fut►are
  and in such atnounts as will satisfy all other reasons of law and public policy for an award
                                                                                               of
  punitive damages; and Plainti££further prays for an award of attorney fees, costs, interest, and
                                                                                                     for
  such other relief as the Court or jury deexns just.

                           PLAINTlFF DEMANDS A TRIAL BY JURY.

                                                              Karen M. Whiteman,
                                                              By Counsel,


  Erika Klie Kolenich, Esq. (9880)
  Melissa T. Roman, Esq. (10576)
  Klie Law Offices, PLLC
  85 W. Main St.
  Buckhannon, WV 26201
  (304) 472-5007
  Facsixnile: 304-472-1126
  ehklie@JIclielawo
           cUclawoffices.com
  mroman@kiielawoffices.com




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           IN THE CIRCIJiT CODURT O~'+ HARRISON COUNTY, VtEST VIRGII4IA
   IKAREN M. WHIftNMAN,

                  Plaint;tf~
   V.                                                            Civil Action No.: 'OD -C -,Q ZQ5-f
   ffiGHLAND-CLAMRURG HOSP]CTAL, I.NC.,

                  Defendant.


                                               VEItiF'ICATXON
   STATE OF WE        VIRGINIA;
   COUNTY OF             t U ' TO-WIT:
          I, Ka,ren M. Whitemtan, named in the foregoing COMT'I1AXl1rT, after being first duly
  sworn, do hereby swear that the facts attd allegations •therein contained are true, except
                                                                                             insofar as
  they are therein stated to be upon information and belief, I be 'eve them to be true.


                                                             rent NL          iteman
  Taken, subscribed, and swor,n to before
  me, a Nota ublicA   byent.'W hiteman                           —_ratrt ►
                                                                             rrrrtrttr_rrarrrrirtrtfrrrrrrrtr—
  on this the       a~                    _, 2020.                                                           _~

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                                                                                           01~~                ~
  Notary Pt~bl                                                  ~             ~
                                                                =~rrtrt.~rrrttrttr rfrrrr ~~stQ~t~'~
                                                                                                           =
                                                                                             Irl~l(It1lilJlf




  My Commission expires on: Mu              UPIA01




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                   EX IBIT 2
      Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 27 of 166 PageID #: 34



  EEOC Form 5 {ii/oB)

                        CHARGE OF DfSCRIMINATION                      Charge Presented To:                                          ~ge"`ytM5' t-"d'yU
                                                                                                                                    No(s):
        This form Is affected by the Prlvacy Act of 1974. See enclosed Privacy Act
                                                                        M FEPA
               Statement and other information before completing this farm.
                                                                        [~
                                                                         X EEOC                                                        533-2020-00207
                                           P>=NNSYLVANIA HUMAN RELATIONS COMMISSION                                                               and EEOC
                                                                    State orlocalAAencv. /fany
  Name (lndlcate Mr., Ms., Mrs.1
                                                                                                                   Home Phone                   Year of Blrth
  MS. KAREN M WHITPMAN                                                                                       (304) 627-4878                       1966
  Street Address
                                                                           City, State and ZIP Code
  64 FLEMING ST, PO BOX 224, GYPSY, WV 26361

 Named is the Employer, Labor Organization, Employment Agency, Apprerrticeshlp
                                                                                  Committee, or State or Local Government Agency
 That I Belleve Dlscriminated Against Me or 0thers. (Ifmore than two, list underPAR
                                                                                    T/CULARSbelotv,)
 Name
                                                                                       No. Employees, Members       Phone No.
 HIGHi.AND CLARKSBURG HOSPITAL                                                                                  zs -10a
                                                                                                      1                             F(304) 969-3100
 Street Address                                                           City, State and ZIP Code
 3 HOSPITAL DRIVE, CLARK5BURG, WV 2630].

 Name
                                                                                                           No. Employees, Members            Phone No.

 Street Address                                                           City, State and ZIP Code



 DISCRIMINATION BASED ON (Check appropriate box(es).)
                                                                                                                   DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                         Earliest                 Latest
  ❑      RACE       ❑       COLOR         F -I   SEX     a      RELIGION      ❑         NATIONALORIGIN              a,0-3],-20],9            ],0-31-2019
       IXI RETALIATION           ~        AGE    ❑     DISABILITY        ❑          GENETIC INFORMATION
              0         oTHER (Specffy)
 THE PARTICULARS ARE (Ifadditionalpaper/s needed, attach extra sheet(s)J:
                                                                                                                          0
                                                                                                                                    CONTINUING ACTION

   I am currentiy employed as a Clinical Educator by the above named Respond
   continuing, I and others have been subJected to harassment, such as but not ent.
                                                                               limited
                                                                                      From Aprit] 207,9 and
  weekiy meetings, job criticism, and micromanagemenfi by Valerie Hudson, Manage to, verbal abuse,
  6, 2019, 1 filed a hostiie work environment complaint to Brandy Robinson, PIQA Riskr (mld
                                                                                        Manage
                                                                                              30's). On June
  24, 2019, ! and others met with Vicky jones, CEO and complained about Mlss                      r. On July
                                                                               Hudson
  my complaint, the harassment continued. On October 31, 2019, 1 was placed on PerPorm   's actions.  Despite
  Improvement Plan.                                                                 a            ance
                                                I
  I was toid fihat i have a negative attitude by Miss Hudson.
 I beiieve that I have been retaliated and discriminated against based on my age,
                                                                                  53, in violation of the
 Age Discrimination in Employment Act of 1967, as amended (ADFr4) when I was placed
 improvement Plan after I f)Ied a hostiie work environment compiaint.                    on a Pertormance

 I want this charge filed wlth both the EEOC and the State or local Agency,            NOTARY - When necessaryforSttate andLocalAgencyRequlrements
lf any. I will advlse the agencies if I change my address or phone number
and I will cooperate fully with them In the processing of my charge in
accordance with their procedures.
                                                                                      I swear or afFlrm that I have read the above charge and that it
1 declare under penalty of per)ury that the above is true and correct.
                                                                                      Is true to the best of my knowledge, information and belief.
                                                                                      SIGNATURE OF COMPLAINANT

  Digitally signed by Karen Whiteman on 0I-17-2020 0$:18                        ,     SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                     AM ESi'                                          (month, day, yeai)
Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 28 of 166 PageID #: 35




CP Enclasure with EEOC Form 5(ill09)

PRIVACYACTSTATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:
1.    FORM NUMBER/TITlE/DATE.              EEOC Farm 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000fP-6.

3.    PRtNCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), ta preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or lacal proceedings.
4.   ROUTINE USEs. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
lacal laws), lnfarmation given will be used by stafF to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to ather federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarify be sent to the respondent organization against
which the charge is made.
5.   WHETHER 17isCLOSURE is MANDATORY; EFFECTOF NOTGNING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC wil) ordinarily not
act on the complaint. Charges under Title Vil, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be ciarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.
                           NOTICE OF R[GHr TO REQuEST SUBSTANTIAI. WEIGHT REviEw

Charges filed' at a state or local Fair Employment Practices Agency. (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EI;OC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.
                                       NOTICE oF NoN-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you fifed your charge if
retaliafiion is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title Vll,
Section 4(d) af the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an emp/oyerta discriminate against present or former employees or job
applicants, for an emp/oyment aqencyto discriminate against anyane, or for a union
to discriminate against its members or membership ap'plicants, because they have
opposed any practice made unlawful by the statutes, ar because fihey have rnade a
charge, testified, assisted, or participated in any manner in an investigation,
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proceeding, or hearing under the laws. The i=qual Pay Act has similar provis
Section 503(b) of the ADA prohibits coercion, intimidation, threats           ions and
                                                                    or interference with
anyone for exercising or enjoying, or aiding or encouraging others
enjoyment of, rights under the Act.                                 in their exercise or
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                   EX IBIT 3
       Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 31 of 166 PageID #: 38




  Robert Boyles
  From:                           U.S. Equal Employment Opportunity Commission <noreply@eeoc.gov>
 Sent:                            Tuesday, January 21, 202012:29 PM
 To:                              Robert Boyles
 Subject:                         Notice of Charge of Discrimination
 Attachments:                     eeoc color sea112939'E8425559585135eeoc color seal

 Follow up Flag:                  Flag for follow up
 Flag Status:                     Flagged



                   U.S. Equal Employment Opportunfty Commission
                               Pittsburgh Area Office
                                1000 Liberty Avenue
                                     Room 1112
   ~                            Pittsburgh, PA 15222
  ~G
                    NOTICE OF CHARGE OF DISCRIMINATION
                      (This NotYce replaces EEOC FORIVI 131)

                            DIGITAL CHARGE SYSTEM

 January 21, 2020

To:
Mr. Robert Boyled
Human Resources Director
HIGHLAND CLARKSBURG HOSPITAL
rboyles@highlandhospital.net


This is notice that a charge of employment discrimination has been filed with the EEOC agains₹
                                                                                                 your
organization by Karen M. Whiteman , under: The Age Discrimination in Employment Act (ADEA)
                                                                                                     . The
circumstances of the alleged discrimination are based on Retaliation, and involve issues of Discipline
                                                                                                        that are
alleged to have occurred on or about Oct 31, 2019.

The Digital Charge System makes investigations and communications with charging parties and responde
                                                                                                       nts
more efficient by digitizing charge documents. The charge is available for you to download from the EEOC
Respondent Portal, EEOC's secure online system.

PIease follow these instz'uctions to view the charge within ten (10) days of receiving this Notice:

   1. Access EEOC's secure onIine system: https://nx .eeoe. ov/rsp/Iogin jsf
   2. Enter this EEOC Charge No.: 533-2020-00207
   3. Enter this temporary password: im6346ks
    Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 32 of 166 PageID #: 39



Once you log into the system, you can view and download the charge, and electronically submit documents to
EEOC. The system will also advise you of possible actions or responses, and identify your EEOC point of
contact for this charge.

If you are unable to log into the EEOC Respondent Portal or have any questions regarding the Digital Charge
System, you can send an email to pittsburghareaoffice@eeoc.gov.

Preservation of Records Reguirement
EEOC regulations require respondents to preserve all payroll and personnel records relevant to the charge until
final disposition of the charge or litigation. 29 CFR §1602.14. For more information on your obligation to
preserve records, see http://eeoc.gov/employers/recordkeeping.cfm.
Non-Retaliation Reguirements
The Iaws enforced by the EEOC prohibit retaliation against any individual because s/he has filed a charge,
testified, assisted or participated in an investigation, proceeding or hearing under these laws. Persons filing
charges of discrimination are advised of these Non-RetaHation Requirements and are instructed to notify EEOC
if any attempt at retaliation is made. For more information, see http://www.eeoc.gov/laws/types/facts-retal.cfln.
Lesal Renresentation
Although you do not have to be represented by an attorney while we handle this charge, you have a right, and
may wish to retain an attorney to represent you. If you do retain an attorney, please provide the attorney's
contact information when you log in to the online system.

Please retain this notice for your records.
                                                                                                                         fnforrnatfon,
Notice of Conftdentlality: The information contafned fn thfs transmission may eontain privPleged and confidentfal
                                                                            intended only for  the use of the person(s) named   above. Ifyou
inclztdtng information protected byfederal and state prfvacy lativs. It is
are not the fntended t•ecfpient, you are hereby notified that any revietiv, dissemination , distributfon, or duplication of this
                                                                                                                         at disital_
comm:tnication fs strictly prohibited and may be unlativfuL Ifyou at•e not tl:e intended recipfent, please contact its
suppotja.eeoc.eov and destroy all copies of Ihe original message and attachments.
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                   EX IBIT 4
           Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 34 of 166 PageID #: 41


  EEOC Form 161 (11116)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND MOTICE OF RIGHTS
 TO:       Karen M. Whiteman                                                           1=rom:   Pittsburgh Area Office
           64 Fleming St                                                                        1000 Liberty Avenue
           PO BOX 224                                                                           Room 1112
           Gypsy, WV 26361                                                                      Pittsburgh, PA 15222


       ED                    On behalf of person(s) aggrieved whose identify is
                             CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                                EEOC Representative                                                    Tetephone No.


 533-2020-00207                                 Philadelphia Legal Unit                                                (267) 589-9700 X3
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       E-1        The facts alleged in the charge fail to state a ciaim under any of the statutes enforced by the EEOC.

       E -1       Your allegations did not invoive a disabiiity as defined by the Americans With Disabilities Act.

       F-I        The Respondent employs less than the required number of empioyees or is not otherwise covered by the statutes.

       Q          Your charge was not timeiy filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to fiie your charge
       ®          The EEOC issues the foliowing determination: Based upon its investigation, the EEOC is unabie to conciude that the
                  information obtained establishes vioiations of the statutes. This does not certify that the respondent Is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
       ~          The EEOC has adopted the findings of the state or local fair empioyment practices agency that investigated this charge.

       F —I       Other (briefiy state)




                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additiona/ information attached to this form.)

Titie VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or
                                                                                                        the Age
Discrimination in Employment Act: This will be the oniy notice of dismissal and of your right to sue
                                                                                                      that we will send you.
You may fiie a lawsuit against the respondent(s) under federal iaw based on this charge in federal
                                                                                                   or state court. Your
lawsuit must be fiied WITHIN 90 DAYS of your receipt of this notice; or your right to sue based
                                                                                                   on this charge wiil be
lost. (The time limit for fifing suit based on a ciaim under state law may be difPerent.)

Equal Pay Act (EPA): EPA suits must be fiied in federal or state court within 2 years (3 years for willful violations)
                                                                                                                       of the
alleged EPA underpayment. This means that backpay due for any vioiations that occurred more than 2 vears (3 vears)
before you fiie suit may not be collectibie.

                                                                    On behaif of the Commission




Enclosures(s)
                                          ~--                                                                        January 21, 2020

                                                                Jamie R. Williamson,                                        (Date Mailed)
                                                                      Director
      Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 35 of 166 PageID #: 42


cc:
       RoberE Boyled
       Human Resources Director
       HIGHLAND CLARKSBURG HOSPITAL
       3 Hospfal Drive
       Clarksburg, WV 26301
     Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 36 of 166 PageID #: 43

  Enclosure with EEOC
  Form 161 (77/16)
                                           INFORMATION R'ELATED TO FILING SUIT
                                         UNDER THE LAWS ENFORCED BY THE EEOC

                             (Thls information relates to Trling suit in Federal or State court under Federal law.
                    !f you also plan to sue clalming vlolatlons of State law, please be aware that time timits and other
                           provisions of State law may be shorter or more limlted than those described below.)

  PRIVATE SUIT RIGHTS           _-   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                     the Genetic Information Nondiscrimination Act (GINA), or the Age
                                     Discrimination in Employment Act (ADEA):
  In order to pursue this matter further, you must file a lawsuit against the respondent(s)
                                                                                              named in the charge within
  90 da s of the date you receive this Notice. Therefore, you should keep a record
                                                                                             of this date. Once this 90-
  day period is over, your right to sue based on the charge referred to in this Notice will be
                                                                                                 lost. If you intend to
  consult an attorney, you should do so promptly. Give your attorney a copy of this Notice,
                                                                                                  and Its envelope, and tell
  him or her the date you received it. 'Furthermore, in order to avoid any question that you did not
  manner, it is prudent that your suit be filed within 90 days of the date this Notice was                act in a timely
                                                                                                mafled to you (as
  indicated where the Notice is signed) or the date of the postmark, if later. ,
 Your lawsult may be filed in U.S. District Court or a State court of competent jurisdiction.
                                                                                                 (Usually, the appropriate
 State court is the general civil trial court.) Whether you fiie in Federal or State court is
                                                                                              a matter for you to decide
 after talking to your attorney. Filing thPs Notice is not enough. You must file a"compl
                                                                                            aint" that contains a short
 statement of the facts of your case which shows that you are entitled to relief. Courts
                                                                                             often require that a copy of
 your charge must be attached to the complaint you file in court. If so, you should remove
                                                                                               your birth date from the
 charge. Some courts will not accept your complaint where the charge includes a date
                                                                                          of birth. Your suit may include
 any matter alleged in the charge or, to the extent permitted by court decisions, matters like
                                                                                                   or related to the matters
 alleged in the charge. Generally, suits are brought in the State where the alieged unlawful
                                                                                                   practice occurred, but Pn
 some cases can be brought where relevant employment records are kept, where the
                                                                                            employment would have
 been, or where the respondent has its maln ofFice. If you have simple questions, you usually
                                                                                                     can get answers from
 the office of the clerk of the court where you are bringing suit, but do not expect that ofPice to
 or make Iegal strategy decisions for you.                                                           write your complaint

 PRIVATE SUIT RIGHTS ---             Equal Pay Act (EPA):
EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged
                                                                                                 EPA underpayment: back
pay due for violations that occurred more than 2 vears (3 vears) before you file
                                                                                        suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008.12/1108, you should file suit
                                                                                         Thfs time limit for tiling an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA the
                                                                                 or     ADEA referred to above.
Therefore, if you also plan to sue under Title VI1, the ADA, GINA or the ADEA, in
                                                                                       addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year
                                                                                      EPA back pay recovery period.
ATTORNEY REPRESENTATION --                  Title VII, the ADA or GINA:
If you cannot afl`ord or have been unable to obtain a iawyer to represent you, the
                                                                                   U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests
                                                                                         for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared
efForts to retain an attorney). Requests should be made well before the end of                to explain in detail your
                                                                                 the 90-day period mentioned above,
because such requests do not relieve you of the requPrement to bring suit within 90
                                                                                      days.
ATTORNEY REFERRAL AND EEOC ASSISTANCE                         -- AII Statutes:
You may contact the EEOC representative shown on your Notice if you need help in finding
                                                                                                    a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can
                                                                                        hear your case. if you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request
                                                                                         it promptly in writing and provide
your charge number (as shown on your Notice). While'EEOC destroys charge files after
                                                                                               a certain time, all charge ftles
are kept for at least 6 months after our last action on the case. Therefore, if you ffle sult
                                                                                              and want to review the charge
flle, please make your review request within 6 months of this Notice. (Before filing
                                                                                              suit, any request shculd be
made wlthin the next 90 days.)

                 IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS
                                                                                                             OFFICE.
Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 37 of 166 PageID #: 44




                   EX IBIT 5
 Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 38 of 166 PageID #: 45




                                                                RSUI Indemnity Company
                                                                 Corporate Offce
                                                                 945 East Paces Ferry Rd.
                                                                 Atlanta, GA 30326-1160




                   NON-PROFIT ORGANIZATION
                  MANAGEMENT LIABILITY POLICY


                                                         ~
         NOTICE:   THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY TO
                   THOSE CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
                   PERIOD THAT ARE REPORTED TO THE INSURER DURING THE POLICY
                   PERIOD, OR EXTENDED REPORTING PERIOD (IF APPLICABLE) AND
                   REPORTED IN ACCORDANCE WITH THIS POLICY'S REPORTING
                   PROVISIONS. THE LIMIT OF LIABILITY AVAILABLE TO PAY LOSS SHALL
                   BE REDUCED OR TOTALLY EXHAUSTED BY PAYMENT OF DEFENSE
                   EXPENSES.


                          PLEASE READ YOUR POLICY CAREFULLY



                                 CLAIM NOTICE
                         Mail notices to: RSUI Group, Inc.
                                           945 East Paces Ferry Rd.
                                           Suite 1800
                                           Atlanta, GA 30326-1160
                          Fax notices to: (404) 231-3755
                                           Attn: Claims Department
                        E-mail notices to: reportclaimsCa)rsui.com

              RSUI's Panel Counsel Finder: Panel Counsel Link



                                                                 A member ofAlleghany lnsurance fioldings LLC


KSG 211008 0118
          Case 1:21-cv-00042-IMK Document 1-1 Filed 03/23/21 Page 39 of 166 PageID #: 46

                                                                                                                                    %

NON-PROFIT ORGANIZATION COMMON POLICY DECLARATIONS

   v                                                                                                                            Corporate Offic.e
                                                                                                                                945 E. Paces Ferry Rd.
                                                                                                                                Suite 1800
COMPANY SYMBOL     I POLICY PREFIX & NUMBER      RENEWAL OF                                                                     Atlanta, GA 30326
       N            PP682977                   I NHP677990

                     .THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY.•

THIS POLICY IS ISSUED BY:             RSUI Indemnity Company (hereinafter referred to as the Insurer)
ITEM 1.    INSURED ORGANIZATION'S NAME AND MAILING ADDRESS                                        PRODUCER'S NAME AND ADDRESS

           HIGHLAND-CLARKSBURG HOSPITAL, INC.
           #3 HOSPITAL PLAZA
           CLARKSBURG, WV 26301




IN CONSIDERATION OF THE PAYMENT OF THE PREMIUM, IN RELIANCE UPON THE STATEMENTS HEREIN OR
ATTACHED HERETO, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, THE INSURER AGREES TO PROVIDE THE
INSURANCE AS STATED IN THIS POLICY.

ITEM 2. POLICY PERIOD: .
          FROM             8/9/2019         TO         8/9/2020                12:01 AM Standard Time at the Insured's address as stated herein

ITEM 3. COVERAGE SECTIONS APPLICABLE TO POLICY:
                                                                                            Purchased                Shared Limit       Separate Limit
           A. Directors and Officers Liability Insurance                                  ® Yes ❑ No                     ®                   ❑
           B. Employment Practices Liability Insurance                                   ® Yes ❑ No                      ®                   ❑
               1) Third Party Liability Coverage                                         ® Yes ❑ No
           C. Fiduciary Liability Insurance                                              ® Yes ❑ No                      ®                   ❑

ITEM 4. LIMIT OF LIABILITY:                                                                                             THIS COMPANY IS NOT
           $   2,000,000                                                                                                LICENSED TO DO
                                                 Aggregate Limit of Liability for AII Coverage Sections
                                                                                                                        BUSINESS IN WEST
ITEM 5. PREMIUM:                                                                                                        VIRGINIA, AND IS NOT
                                                                                                                        SUBJECT TO THE WEST
          $                                      Total Policy Premium for AII Coverage Sections                         VIRGINIA INSURANCE
                                                                                                                        GUARANTY ACT. (W.Va.
                                                 + WV Fire Protection Surcharge
                                                                                                                        Code St. R. 114-20-4)


ITEM 6. POLICY FORM AND ENDORSEMENTS MADE A PART OF THIS POLICY AT THE TIME OF ISSUE:
SEE SCHEDULE OF ENDORSEMENTS — RSG 210077 0118


THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



                                                                                                                    ~
Countersigned:                                                     September 05, 2019                             ~
                                                                         DATE                                AUTHORIZED REPRESENTATIVE



RSG 210073 0118                                               AmembernfAlleghanylnsuranceHoldingsLLC                                       Page 1 of 1
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 NON-PROFIT ORGANIZATION DIRECTORS AND OFFICERS
 LIABILITY DECLARATIONS
                                                                                                                   (( f   ~ L
                                                                                                                            DII
                                                                                                                   Corporate Office
                                                                                                                   945 E. Paces Ferry Rd.
                                                                                                                   Suite 1800
                                                                                                                   Atlanta, GA 30326
COMPANY SYMBOL      POLICY PREFIX 8 NUMBER
       N           I PP682977                I
                     • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY..


THIS POLICY IS ISSUED BY:          RSUI Indemnity Company (hereinafter referred to as the Insurer)

ITEM 1.    INSURED ORGANIZATION'S NAME

           HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:

           A. Directors and Officers Limit of Liability                              $ 2,000,000
           B. Additional Side-A Limit of Liability                                   $ 500,000

ITEM 3. RETENTION:

           A. Directors and Officers Liability Retentions
              1) Insuring Agreement A                                                $
              2) Insuring Agreement B                                                $
              3) Insuring Agreement C                                                $

ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:

          Directors and Officers Prior and/or Pending Litigation Date:                   10/01/2012




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.




Countersigned:                                                 September 05, 2019
                                                                     DATE                             AUTHORIZED REPRESENTATIVE




RSG 210078 0118                                           AmemberofAlleghanylnsuraneeHoldingsLLC                             Page 1 of 1
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 NON-PROFIT ORGANIZATION EMPLOYMENT PRACTICES
 LIABILITY DECLARATIONS                                                                                                  ~7'T ~l
                                                                                                                            U.
                                                                                                                     /
                                                                                                                  Corporate Office
                                                                                                                  945 E. Paces Ferry Rd.
                                                                                                                  Suite 1800
                                                                                                                  Atlanta, GA 30326
 COMPANY SYMBOL      POLICY PREFIX & NUMBER
       N             PP682977

                      • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY..


THIS POLICY IS ISSUED BY:           RSUI Indemnity Company (hereinafter referred to as the Insurer)

ITEM 1.     INSURED ORGANI7JITION'S NAME

           HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:
           A. Employment Practices Limit of Liability                               $ 2,000,000
               (Including Third Party Liability, if purchased)
           B. Workplace Violence Expenses Sublimit                                  $ 250,000

ITEM 3. RETENTION:
           A. Employment Practices Liability Retentions
               1) Employment Practices Liability                                    $
               2) Third Party Liability Coverage                                    $


ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:
          Employment Practices Prior and/or Pending Litigation Date:                    10/01/2012




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



Countersigned:                                                September 05, 2019                          ~
                                                                    DATE                             AUTHORIZED REPRESENTATIVE




RSG 210079 0118                                          AmemberofAlleghanylnsuranceHoldingsLLC                             Page 1 of 1
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NON-PROFIT ORGANIZATION FIDUCIARY LIABILITY                                                                                        S'T lj
DECLARATIONS                                                                                                                         LL
                                                                                                                             i
                                                                                                                          Corporate Office
                                                                                                                          945 E. Paces Ferry Rd.
                                                                                                                          Suite 1800
                                                                                                                          Atlanta, GA 30326
COMPANY SYMBOL       POLICY PREFIX & NUMBER   I
       N             PP682977

                      • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY..

THIS POLICY IS ISSUED BY:           RSUI Indemnity Company (hereinafter referred to as the Insurer)

ITEM 1.     INSURED ORGANIZATION'S NAME

            HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:

           Fiduciary Limit of Liability                                                 $ 1,000,000

ITEM 3. RETENTION:

           Fiduciary Liability Retention                                                $

ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:

           Fiduciary Liability Prior and/or Pending Litigation Date:                         08/19/2013

ITEM 5. FIDUCIARY LIABILITY ADDITIONAL COVERAGES:


 ADDITIONAL COVERAGES                                 SUBLIMIT                      RETENTION             PRIOR/PENDING LITIGATION DATE
 ®HIPAA Violations                                     $25,000                                            08/19/2015

 ®Voluntary Compliance Fees or Sanctions              $100,000                                            08/19/2015

 ®PPACA Civil Money Penalties                         $25,000                                             08/19/2015

 ❑ Plan Value Fiduciary Liability                     N/A                                                 N/A

 ❑ Settlor Breaches of Duty                           N/A                                                 N/A

 ❑ Other Penalties                                    N/A                                                 N/A




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



Countersigned:                                                 September 05, 2019                               v
                                                                     DATE                                  AUTHORIZED REPRESENTATIVE



RSG 210080 0118                                          A member of Alleghany Insuronce Holdings LLC                               Page 1 of 1
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 NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
 SUPPLEMENTAL DECLARATIONS
                                     ~


POLICY NUMBER:         NPP682977
                                        SCHEDULE OF FORMS AND ENDORSEMENTS

      TITLE                                                               FORM NUMBER
      West Virginia Changes-Extended Reporting Period                     RSG 202078 0118
      West Virginia Changes-Cancellation and Nonrenewal                   RSG 203035 0118
      Disclosure Pursuance to Terrorism Risk Insurance Act                RSG 204123 0116
      Cap on Losses From Certified Acts of Terrorism                      RSG 204198 0118
      FORMS APPLICABLE TO MULTIPLE COVERAGE PARTS

      Common Policy Terms and Conditions Coverage Section-Non-Profit      RSG 211003 0118
      Amended Definition of Loss-Defense Claims for ADA                   RSG 214076 0118
      Class Action Retention                                              RSG 204181 0118
      Coverage Extension-Healthcare Organization                          RSG 214078 0118
      Coverage Extension-HIPAA                                -           RSG 214077 0118
      Exclusion-Amended Bodily Injury and Property Damage                 RSG 206118 0119
      Exclusion-Prior Acts                                                RSG 206108 0118
      Exclusion-Prior and or Pending Litigation Backdated-Higher Limits   RSG 206070 0118
      Exclusion-Sexual Misconduct and Child Abuse                         RSG 206076 0118
      Exclusion-Specific Entities and Individuals                         RSG 206114 0118
      Fully Non-Rescindable Coverage                                      RSG 204157 0119
      West Virginia-Full Severability                                     RSG 202107 0118
      FORMS APPLICABLE TO DIRECTORS & OFFICERS LIABILITY

     Directors and Officers Liability Coverage Section-Non-Profit         RSG 211009 0118
      Exclusion-Malpractice                                               RSG 206107 0118
     FORMS APPLICABLE TO EMPLOYMENT PRACTICES LIABILITY

     Employment Practices Liability Coverage Section-Non-Profit           RSG 211010 0118
     Sublimit-Defense Expenses-Wage and Hour Claims                       RSG 204153 0118
     FORMS APPLICABLE TO FIDUCIARY LIABILITY

     Fiduciary Liability Coverage Section-Non-Profit                      RSG 211011 0118




RSG 210077 0118
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                                                                                 RSUI INDEMNITY COMPANY



                   This E'ndorsement Changes The Policy. Please Read It Carefully.

    WEST VIRGINIA CHANGES - EXTENDED REPORTING PERIOD
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION V. — COVERAGE EXTENSIONS, B. Extended Reporting Period of the Common Policy Terms and
Conditions Coverage Section, the last paragraph is deleted and replaced by the following:
B. Extended Reporting Period
    The rights contained in this clause shall apply in the event of cancellation resulting from non-payment of
    premium but only after the Insured Organization has paid the earned premium balance due.

AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP682977      Effective: 8/9/2019
RSG 202078 0118
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                                                                                RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefully.

WEST VIRGINIA CHANGES - CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The provision in SECTION V. — CONDITIONS, F. Cancellation; Renewal Provision of the Common Policy Terms
and Conditions Coverage Section which indicates that proof of mailing will be sufficient notice is deleted.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP682977     EfPective: 8/9/2019
RSG 203035 0118
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                                                                                                        RSUI INDEMNITY COMPANY




THIS ENDORSEMENT IS ATTACHED TO AND MADE A PART OF THIS POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER
THIS POLICY.

                         DISCLOSURE PURSUANT TO TERRORISM RISK
                                     INSURANCE ACT
                                                            SCHEDULE*

        Terrorism Premium                         $0

        Additional information, if any, concerning the terrorism premium:
        The portion of your premium for the policy term attributable to coverage for all acts of terrorism
        covered under this policy including terrorist acts certified under the Act is listed above.




        *Information re uired to com lete this Schedule, if not shown above, will be shown in the Declarations Pa e:
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act, as amended, the lnsurer is required to provide the Insured with
    a notice disclosing the portion of the Insured's premium, if any, attributable to coverage for terrorist acts certified under the
    Ten•orism Risk Insurance Act. The portion of the Insured's premium attributable to such coverage is shown in the Schedule
    of this endorsement or in the policy Declarations Page.
   As defined in Section 102(1) of the Act: The term "act of terrorism" means any act or acts that are certified by the Secretary of
   the Treasury — in consultation with the Secretary of Homeland Security, and the Attorney General of the United States — to be
   an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
   damage within the United States, or outside the United States in the case of certain air carriers or vessels or the premises of a
   United States mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
   population of the United States or to influence the policy or affect the conduct of the United States Government by coercion.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
    program. Under the formula, the United States Government generally reimburses 85% through 2015; 84% beginning on
    January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on January 1, 2019
    and 80% beginning on January 1, 2020, of covered terrorism losses that exceeds the applicable Insurer retention. However,
    if aggregate insured losses attributable to terrorist acts certifled under the Terrorism Risk Insurance Act exceed $100 billion in
    a calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
    billion.
C. Cap Insurer Participation in Payment of Terrorism Losses
    If aggregate Insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion
    in a calendar year and the Insurer has met our Insurer deductible under the Terrorism Risk Insurance Act, the Insurer will
    not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case Insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
    Treasury.


                                                                       Policy No.: NPP682977          Effective: 8/9/2019
RSG 204123 0116
                       Includes copyrighted material of Insurance Services Office, Inc., with its permission.
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                                                                                      RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefu/ly.

       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Terms and Conditions Coverage Section:
If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
$100 billion in a calendar year and the Insurer has met our insurer deductible under the Terrorism •Risk Insurance
Act, the Insurer shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with
procedures established by the Secretary of the Treasury.
Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism pursuant to such Act. The criteria
contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
1. The act resulted in insured losses in excess of $5 miilion in the aggregate, attributable to all types of
   insurance subject to the Terrorism Risk Insurance Act; and
2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed
   by an individual or individuals, as part of an effort to coerce the civilian population of the United States or to
   influence the policy or affect the conduct of the United States Government by coercion.
The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do
not serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses
excluded by the Nuclear Exclusion.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP682977          Effective: 8/9/2019
RSG 204198 0118
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       C
              kLD
               11
                                    www.RSUlextra.com
               Online Human Resource Loss Prevention Services for
                   Directors and Officers Liability Policyholders

         Key Features
          •    Best Practice Help Line for call-in assistance
          •    Checklist database for lowering risk
          •    Links to important federal and state government sites
          •    Online library with up-to-date articles on productivity, leadership and loss prevention
          •    Sample Human Resource policies and forms
          •    Online reporting function allows the Site Administrator to monitor usage
          •    Online training modules designed for managers and supervisors with the ability to adapt
               programs to meet their own needs. Best Practice training modules include:
                 - Preventing Sexual Harassment
                 - Preventing Discrimination
                 - Preventing Wrongful Termination
                 - Promoting Ethical Behavior

         How to get started
          1.   Designate a person to serve as the Site Administrator for your organization.
          2.   Go to www.RSUlextra.com.
          3.   Click the Register link on the left-hand side of the home page.
          4.   Enter your RSUI policy number as the Passcode/Organization Code (i.e. NHP123456).
          5.   Complete the Registration Information and click Submit.
          6.   You are now registered as the Site Administrator.

         Who is a Site Administrator?
         A Site Administrator is often a person who works with personnel or legal matters and is the
         person who will oversee the use of www.RSUlextra.com. A Site Administrator will have the
         ability to recruit and add other users as well as make training decisions.

         Questions?
         Please call The McCalmon Group at (888) 712-7667 or click CONTACT US at
         www.RSUlextra.com on the upper right hand side of the home page. You will be directed to
         The McCalmon Group for assistance.

                                This site is administered by The McCalmon Group.


RSG 204154 0716
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                       COMMON POLICY TERMS AND CONDITIONS
                          COVERAGE SECTION (NON-PROFIT)
                        PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. - DEFINITIONS.
In consideration of the payment of premium and in reliance upon all statements made to the Insurer in the
Application, and subject to the terms, conditions, definitions, exclusions and limitations hereinafter provided, the
Insurer agrees:
SECTION I. — COMMON POLICY TERMS AND CONDITIONS
The Common Policy Terms and Conditions Section of this policy shall apply to all Coverage Sections. Unless
stated to the contrary in any Coverage Section, the terms and conditions of each Coverage Section of this
policy shall apply only to that Coverage Section and shall not apply to any other Coverage Section of this
policy. If any provision in the Common Policy Terms and Conditions sections is inconsistent or in conflict with the
terms and conditions in any Coverage Section, including any endorsements aftached thereto, the terms and
conditions of such Coverage Section or endorsement, shall supersede for the purposes of that Coverage
Section.
SECTION II. - COVERAGE EXTENSIONS
A. Marital Estate
   This policy shall cover Loss arising from any Claim made against the lawful spouse or any legally recognized
   domestic partner of an Insured Person for Claims arising solely out of his or her status as the spouse or
   domestic partner of an Insured Person (where such status is derived by reason of statutory law or common
   law) where such Insured Person is entitled to coverage under this policy. Such coverage shall extend to any
   Claim in which a recovery is sought from marital community property, property jointly held by the Insured
   Person and the spouse or domestic partner, or property transferred from the Insured Person to the spouse
   or domestic partner.
   Provided, howev.er, that this COVERAGE EXTENSION shall not extend coverage to any Claim for, arising
   from, based upon or attributable to any actual or alleged Wrongful Act of the spouse or domestic partner.
B. Extended Reporting Period
   If the Insurer shall refuse to renew this policy or the Insured Organization shall cancel or refuse to renew
   this policy, the Insured Organization shall have the right, upon payment of seventy five percent (75%) of the
   Full Annual Premium, to a period of three hundred and sixty flve (365) days following the efFective date of
   such cancellation or nonrenewal (herein referred to as the "Extended Reporting Period") in which to give
   written notice to the Insurer of any Claim first made against the Insured during said three hundred and sixty
   five (365) day period for any Wrongful Act occurring prior to the end of the Policy Period and otherwise
   covered by this policy. As used herein, "Full Annual Premium" means the premium stated in Item 5. of the
   Common Policy Declarations Page and any additional premium(s) charged during the Policy Period. The
   rights contained in this clause shall terminate unless written notice of such election together with the
   additional premium due is received by the Insurer at its address shown on the Declarations Page within thirty
   (30) days of the effective date of cancellation or nonrenewal.
   The Extended Reporting Period is not cancelable and the additional premium charged shall be fully earned at
   the inception of the Extended Reporting Period.
   The Limit of Liability available under the Extended Reporting Period is part of and not in addition to the Limit
   of Liability stated in Item 4. of the Declarations Page.
   The rights contained in this clause shall not apply in the event of cancellation resulting from non-payment of
   premium.
C. Estates and Legal Representatives
   This policy shall cover Loss arising from any Claim made against the estates, heirs, legal representatives or
   assigns of an Insured Person who is deceased, or against the legal representatives or assigns of an Insured
   Person who is incompetent, insolvent or bankrupt, for the Wrongful Act of such Insured Person.



RSG 211003 0118                                                                                        Page 1 of 7
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SECTION III. — DEFINITIONS
A. Application means the application attached to and forming a part of this policy, including any materials
   submitted or requested in connection with such application within 12 months prior to the inception date of this
   policy, all of which are deemed a part of this policy.
B. Claim shall have the meaning set forth in each applicable Coverage Section or any applicable endorsements
   attached to this policy.
C. Coverage Section means, individually or collectively, the purchased coverage sections listed in Item 3. of the
   Declarations, including all endorsements attached thereto.
D. Defense Expenses means reasonable and necessary legal fees and expenses incurred, with the
   Insurer's consent, by any Insured in defense of a Claim, including any appeal therefrom. Defense
   Expenses, however, shall not include:
     1. Remuneration, overhead or benefit expenses associated with any Insured Person; or
   2. Any obligation to apply for or furnish any appellate or similar bond.
E. Employment Practices Wrongful Act shall have the meaning set forth in the Employment Practices Liability
   Coverage Section, whether or not purchased.
F. Fiduciary Wrongful Act shall have the meaning set forth in the Fiduciary Liability Coverage Section, whether
   or not purchased.
G. Insured shall have the meaning set forth in each applicable Coverage Section or any applicable
   endorsements attached to this policy.
H. Insured Organization means:
     1. The organization named in Item 1. of the Declarations Page and any Subsidiary existing prior to or at
        the inception date of this policy; or
     2. Subject to SECTION V. - CONDITIONS, G. Merger, Consolidation or Acquisition of this policy, Insured
        Organization shall include any Subsidiary created or acquired after the inception date of this policy;
        or
     3. In the event a bankruptcy proceeding shall be instituted by or against the foregoing entities, the resulting
        debtor-in-possession (or equivalent status outside the United States), if any.
I.   Insured Person shall have the meaning set forth in each applicable Coverage Section or any applicable
     endorsements attached to this policy.
J. Insurer means the Company providing this insurance as shown on the Declarations Page.
K. Loss shall have the meaning set forth in each applicable Coverage Section or any applicable endorsements
   attached to this policy.
L. Policy Period means the period beginning at the inception date and ending at the expiration date stated in
   Item 2. of the Declarations Page or to any earlier policy cancellation or termination date.
M. Subsidiary means any entity of which the Insured Organization, either directly or indirectly, or through one
   or more of its Subsidiaries:
     1. Owns more than fifty percent (50%) of the voting interest; or
     2. Has the right to elect or appoint more than fifly percent (50%) of the voting directors or trustees.
     A Subsidiary ceases to be a Subsidiary when the Insured Organization no longer owns more than fifty
     percent (50%) of the voting interest, or no Ionger has the right to elect or appoint more than fifty percent
     (50%) of the voting directors, or trustees, either directly or indirectly, or through one or more of its Subsidiaries.
N. Wrongful Act shall have the meaning set forth in each applicable Coverage Section or any applicable
   endorsements attached to this policy.




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 SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Alleging, arising out of, based upon or attributable to, directly or indirectly, the same or essentially the same
   facts underlying or alleged in any matter which, prior to the inception date of this policy, has been the
   subject of notice to any insurer of a Claim, or a potential or threatened Claim, or an occurrence or
   circumstance that might give rise to a Claim under any policy of which this insurance is a renewal or
   replacement or which it may succeed in time;
2. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   nuclear reaction, nuclear radiation, or radioactive contamination, or any related act or incident;
3. Any Telecommunications Claim, as defined below.
    A Telecommunications Claim is any Claim:
    a. Arising from, based upon, attributable to, or in consequence of any proceeding against any Insured
       brought by the Federal Trade Commission or any other federal, state or local regulatory agency or other
       administrative body alleging the violation of any federal, state or local laws or regulation pertaining to
       unsolicited or non-consensual advertising, through faxes, telephone calls, texting or any other medium;
       and/or
    b. Arising from, based upon, attributable to, or in consequence of, any actual or alleged violation of:
        (1) The Fair Debt Collection Practices Act or any amendments thereto or any rules or regulations
            promulgated thereunder, or any similar provisions of any federal, state or local statutory law or
            common law anywhere in the world;
       (2) The CAN-SPAM Act of 2003 or any amendments thereto or any rules or regulations promulgated
           thereunder, or any similar provisions of any federal, state or local statutory law or common law
           anywhere in the world;
       (3) The Telephone Consumer Protection Act (TCPA) of 1991 or any amendments thereto or any rules or
           regulations promulgated thereunder, or any similar provisions of any federal, state or local statutory
           law or common law anywhere in the world; or
       (4) Any other law, ordinance, regulation, statute or common law relating to any communication,
           distribution, publication, sending or transmission via telephone, -telephone facsimile machine,
           computer or other telephonic or electronic devices.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.
SECTION V. - CONDITIONS
A. Duty to Defend
   It shall be the right and duty of the Insurer to defend any Claim against any Insured for which coverage
   applies under this policy, and the Insurer shall have the right to appoint counsel of its choosing. No Insured
   may incur any Defense Expenses, admit liability for or settle any Claim or negotiate any settlement without
   the Insurer's prior written consent; such consent not to be unreasonably withheld. Any Defense Expenses
   incurred or settlements made without the prior written consent of the Insurer will not be covered under this
   policy. The Insurer shall have the right to appoint counsel, investigate and conduct negotiations and, with the
   consent of the Insured, to enter into the settlement of any Claim that the Insurer deems appropriate. If the
   Insured refuses to consent to a settlement acceptable to the claimant in accordance with the Insurer's
   recommendations, the Insurer's liability for all Loss on account of such Claim shall not exceed:
   1. The amount for which the Insurer could have settled such Claim plus Defense Expenses incurred as of
      the date such settlement was proposed in writing by the Insurer ("Settlement Opportunity Amount"); plus
   2. Seventy percent (70%) of covered Loss in excess of such Settlement Opportunity Amount subject to the
      policy's Limit of Liability.
   In no event shall the Insurer be liable under this policy for more than the Limit of Liability shown in Item 4. of
   the Common Policy Declarations Page.



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 B. Limit of Liability; Retention; Payment of Loss
    1. Aggregate Limit of Liability
        Regardless of Coverage Sections purchased, as stated in Item 3. of the Common Policy Declarations
        Page, the amount shown in Item 4. of the Common Policy Declarations Page is the maximum aggregate
        limit that the Insurer will pay for all Loss under all Coverage Sections combined, arising out of any and
        all Claims first made against the Insured during the Policy Period and the Extended Reporting Period (if
        purchased) and reported in accordance with the terms and conditions of this policy.
        The Insurer will have no obligation to pay Loss or to defend or continue to defend any Claim after the
        aggregate Limit of Liability, stated in Item 4. of the Common Policy Declarations Page, has been
        exhausted by payment of Loss. Defense Expenses shall be part of and not in addition to the Limit of
        Liability and payment of Defense Expenses by the Insurer will reduce the Limit of Liability.
    2. Separate Limit of Liability
        Regardless of any Separate Limit(s) of Liability purchased, as stated in Item 3. of the Common Policy
        Declarations, the maximum limit of the Insurer's liability for all Loss for each applicable Coverage
        Section purchased shall not exceed the Separate Limit of Liability as stated in Item 2. of each applicable
        Declarations for each applicable Coverage Section. Where two or more Separate Limits of Liability are
        or could be applicable to one Claim or series of interrelated Claims deemed to be a single Claim
        pursuant to Section V.B.4. below, the larger of the applicable Separate Limits of Liability shall apply, but
        in no event shall more than one Separate Limit of Liability apply to any Claim or series of interrelated
        Claims and in no event shall the Insurer be obligated to pay Loss or to defend or continue to defend any
        Claim after the Insurer has paid the applicable Separate Limit of Liability or the Aggregate Limit of
        Liability per Section V.B.1. of these Common Policy Terms and Conditions.
    3. As a condition precedent to coverage under this policy, the Insured shall pay with respect to each Claim
       the applicable Retention amount, as identified in Item 3. of the Declarations Page for each applicable
       Coverage Section or as otherwise identified. The Retention amount shall be reduced solely by covered
       Loss and shall be applied to all Loss, including Defense Expenses, and the Insurer shall only be liable
       for the amount of Loss that is excess of the stated Retention amount.
    4. AII Claims based on, arising out of, directly or indirectly resulting from, in consequence of, or in any way
       involving the same or related facts, circumstances, situations, transactions or events, or the same or
       related series of facts, circumstances, situations, transactions or events, shall be deemed to be a single
       Claim for all purposes under this policy, shall be subject to the Retention stated in Item 3. of the
       Declarations Page for each applicable Coverage Section, or other applicable Retention, and shall be
       deemed first made when the earliest of such Claims is first made, regardless of whether such date is
       before or during the Policy Period.
    5. In the event that a Claim implicates more than one Retention amount, then the largest of the applicable
       Retention amounts shall be applied, but in no event shall more than one Retention amount be applied to
       a Claim.
    6. Any Retention amount applicable to a Claim against an Insured Person shall apply where
       indemnification by the Insured Organization is permitted or required, regardless of whether the
       Insured Organization has agreed, failed or refused to indemnify such Insured Person, provided it shall
       not apply when indemnification cannot be made by the Insured Organization by reason of the Insured
       Organization's financial insolvency.
   7. The Insurer's duty to defend the Insured and pay Defense Expenses ends upon exhaustion of the Limit
      of Liability, which includes paying or tendering the Limit of Liability into court. i
   B. Except for payment of Defense Expenses, the Insurer shall pay for Loss only upon final disposition of
      any Claim.
C. Notice of Claim or Circumstance
   1. If, during the Policy Period or Extended Reporting Period (if applicable), any Claim is first made, it shall
      be a condition precedent to the Insurer's obligation to pay, that the Insured give written notice of such
      Claim to the Insurer as soon as practicable after such Claim is first made, but in no event shall such
      notice be given later than sixty (60) days after either the Policy Period expires or any earlier cancellation
       date of this policy.



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    2. If, during the Policy Period or Extended Reporting Period (if applicable), any Insured first becomes
       aware of any facts or circumstances which may reasonably be expected to give rise to a Claim against
       any Insured for any Claim made against the Insured for any Wrongful Act occurring prior to the end of
       the Policy Period, and as soon as practicable thereafter, but before the expiration date or any earlier
       cancellation date of this policy, gives to the Insurer written notice, of such facts or circumstances along
       with the full particulars described below, then any Claim subsequently made against any Insured
       arising out of such facts or circumstances will be deemed first made during the Policy Period. The
       written notice shall include, at a minimum:
       a. The names or identity of the potential claimants and a detailed description of the specific alleged
          Wrongful Act; and
       b. The circumstances by which the Insured first became aware of the specific alleged Wrongful Act.
   Further, if any Claim first made after the Policy Period expires is nonetheless deemed to be made during the
   Policy Period pursuant to Section V.B.4., then it is a condition precedent to coverage for such Claim that the
   Insured report it to the Insurer as soon as practicable.
D. Cooperation
   In the event of a Claim or notice of circumstances under SECTION V. - CONDITIONS, C. Notice of Claim or
   Circumstance of this policy, the Insured will provide the Insurer with all information, assistance and
   cooperation that the Insurer reasonably requests, and will take no action, without the Insurer's prior
   written consent, that might prejudice the Insured's or the Insurer's position, potential or actual rights, or
   defense under this policy.
E. Allocation
   If both Loss covered under this policy and loss not covered under this policy are jointly incurred either
   because a Claim includes both covered and non-covered matters or covered and non-covered causes of
   action or because a Claim is made against both an Insured and any other parties not insured by this policy,
   then the Insured and the Insurer shall use their best efforts to fairly and reasonably allocate payment under
   this policy between covered Loss and non-covered loss based on the relative legal exposures of the parties
   with respect to covered and non-covered matters or covered and non-covered causes of action.
   If the Insurer and the Insured agree on an allocation of Defense Expenses, based on covered and non-
   covered matters or persons, the Insurer shall advance Defense Expenses allocated to covered Loss. If
   there is no agreement on an allocation of Defense Expenses, the Insurer shall advance Defense Expenses
   that the Insurer believes to be covered under this policy until a different allocation is negotiated, arbitrated, or
   judicially determined.
   Any negotiated, arbitrated or judicially determined allocation of Defense Expenses on account of a Claim
   shall be applied retroactively to all Defense Expenses on account of such Claim, notwithstanding any prior
   advancement to the contrary. Any advancement or allocation of Defense Expenses on account of a Claim
   shall not apply to or create any presumption with respect to the allocation of other loss on account of such
   Claim.
F. Cancellation; Renewal Provision
   The Insured Organization may cancel this policy at any time by written notice or by surrender of this policy
   to the Insurer at its address shown on the Declarations Page.
   This policy may only be cancelled by or on behalf of the Insurer in the event the Insured Organization fails
   to pay any premium when due. In the event of non-payment of premium by the Insured Organization, the
   Insurer may cancel this policy upon ten (10) days written notice. The Insurer will mail notice to the Insured
   Organization's address as shown in Item 1. of the Declarations Page. The mailing of such notice as
   aforesaid shall be sufficient proof of notice.
   If the Insured Organization cancels this policy, the Insurer will retain the customary short rate proportion of
   the premium hereon.
   The Insurer shall not be required to renew this policy upon its expiration. The offer by the Insurer of renewal
   terms, conditions, Limit of Liability and/or premiums varying from those of the expiring policy shall not
   constitute a refusal to renew.
   If the Insurer decides not to renew this policy, the Insurer will mail or deliver to the Insured Organization
   written notice of non-renewal, stating the reasons for non-renewal, at least sixty (60) days prior to the
   expiration date of this policy.
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      Any notice of non-renewal will be mailed or delivered to the Insured Organization's last mailing address
      known to the Insurer. If notice is mailed, proof of mailing will be sufficient proof of notice.
 G. Merger, Consolidation or Acquisition
     1. If, after this policy's inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets do not exceed twenty five percent (25%) of the total consolidated assets of the Insured
        Organization, not including the assets of the created or acquired Subsidiary, such Subsidiary shall be
        deemed to qualify as an Insured Organization, but solely for a Wrongful Act that takes place on or after
         the effective date of such creation or acquisition.
     2. If, after this policy's inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets exceed twenty five percent (25%) of the total consolidated assets of the Insured Organization,
        not including the assets of the created or acquired Subsidiary, such Subsidiary shall be deemed to
        qualify as an Insured Organization, but solely for a Wrongful Act that takes place within the first ninety
        (90) days after the date of such creation or acquisition. After this ninety (90) day period, the created or
        acquired Subsidiary shall no longer be deemed an I'nsured Organization, unless:
         a. Written notice of the Subsidiary's creation or acquisition has been provided to the Insurer by the
            Insured Organization, as soon as practicable, and in no event later than ninety (90) days after the
            date of the creation or acquisition;               '
         b. The Insured Organization has provided the Insurer with any additional information the Insurer may
            request;
         c. The Insured Organization has agreed to the terms, conditions, exclusions and additional premium
            charge as may be required by the Insurer; and
         d. The Insurer, at its sole discretion, has agreed in writing to extend the coverage of this policy to the
            created or acquired Subsidiary.
     3. If during the Policy Period:
         a. The Insured Organization shall consolidate with or merge into, or sell all or substantially all of its
            assets to any other person or entity or group of persons or entities acting in concert; or
         b. Any person or entity or group of persons or entities acting in concert shall acquire an amount of more
            than fifty percent (50%) of the voting power for the election of directors of the Insured Organization;
                  (either of the above events in 3. a. or b. are hereunder referred to as the "Transaction" ),
         then this policy shall continue in full force and effect for any Wrongful Act occurring prior to the effective
         time of the Transaction, but there shall be no coverage afforded by any provision of this policy for any
         actual or alleged Wrongful Act occurring after the effective time of the Transaction. This policy may not
         be cancelled after the effective time of the Transaction and the premium for this policy shall be deemed
         fully earned as of such time.
         The Insured Organization shall give the Insurer written notice of the Transaction as soon as practicable,
         but not later than thirty (30) days after the effective date of the Transaction.
H. Representations
     The Insured represents that the information, particulars, documents, representations and statements
     contained in the Application are complete, true and accurate; are deemed incorporated into and constituting
     part of this policy; are material to the acceptance of the risk assumed by the Insurer under this policy. This
     policy is issued in reliance upon the truth of such representations. No knowledge or information possessed
     by any Insured will be imputed to any other Insured. If any of the information, particulars, documents,
     representations and statements contained in the Application are untrue, this policy will be void with respect
     to any Insured who knew of such untruth.
1.   No Action Against Insurer
     No action may be taken against the Insurer unless, as a condition precedent thereto, there has been full
     compliance with all of the terms and conditions of this policy and until the amount of any Insured's obligation
     to pay Loss has been finally determined either by judgment against such Insured after adjudicatory
     proceedings, or by written agreement of the Insured, the claimant and the Insurer.                          r

     No Insured has any right under this policy to join the Insurer as a party to any Claim against an Insured to
     determine the liability of such Insured, nor shall the Insurer be impleaded by an Insured or his, her or its
     legal representative in any such Claim.

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 J.   Subrogation
       In the event the Insurer makes any payment under this Policy, the Insurer shall be subrogated to all of the
      rights of recovery of the Insured, who shall execute all papers and take all necessary actions to secure such
      rights, including the execution of any documents necessary to enable the Insurer to effectively bring suit in
      the name of an Insured.
K. Authorization and Notices
      The Insured Persons agree that the Insured Organization shown in Item 1. of the Declarations Page acts
      on their behalf with respect to giving and receiving all notices and return of premium from the Insurer.
L. Changes
      Notice to any agent or knowledge possessed by any agent or representations by persons acting on behalf of
      the Insurer do not effect a waiver or change in any part of this policy or estop the Insurer from asserting any
      right under the terms, conditions and limitations of this policy. The terms, conditions and limitations of this
      policy can only be waived or changed by written endorsement.
M. Assignment
      Assignment of interest under this policy does not bind the Insurer without its prior written consent.
N. Acceptance
      The Insureds agree that this policy, including the Application and any endorsements, constitutes the entire
      agreement between them and the Insurer relating to this insurance policy.
O. Headings
      The description in the headings and sub-headings of this policy are solely for convenience, and form no part
      of the terms and conditions of coverage.
P. Governing Law Clause
      This policy shall, to the extent permitted by applicable law, be construed in accordance with the laws of the
      state or jurisdiction of incorporation or organization of the Insured Organization shown in Item 1. of the
      Declarations Page or, in the case of matters pertaining to a Subsidiary, the laws of the state or jurisdiction of
      incorporation or organization thereof.
Q. Territory
      This policy shall apply to Claims made against any Insured anywhere in the world.
R. Otherinsurance
      Unless specifically stated otherwise, the insurance provided under this policy shall apply only as excess over
      any other valid and collectible insurance, unless such other insurance is written as specific excess insurance
      over the Aggregate Limit of Liability or Shared Limit of Liability provided by this policy. Any coverage
      otherwise available under any Coverage Section shall be specifically excess over any other valid and
      collectible insurance pursuant to which any other insurer has a duty to defend a Claim for which this policy
      may be obligated to pay Loss.


In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.



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                        Secretary                                                      President




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                                                                                    RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

AMENDED DEFINITION OF LOSS - DEFENSE CLAIMS FOR ADA
This endorsement modifies insurance provided under the following:

                     NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

A. SECTION III. — DEFINITIONS, E. of the Directors and Officers Liability Coverage Section is deleted and
   replaced by the following:
   E. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and
      postjudgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense
      Expenses) shall not include:
       1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to
          the Insureds;
       2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or
          any other type of contract;
       3. Disability, social security, workers compensation, medical 'insurance, retirement or pension benefit
          payments, or settlement amounts representing employment related benefit payments;
       4. The cost of creating or reinstating employment;
       5. Any amounts owed to any Employee as wages or compensation previously incurred or vested
          without regard to any Claim;
       6. Civil criminal fines or penalties;
       7. Taxes, whether owed to or by any Insured;
       8. Any liability, or costs incurred, due to any Insured's obligation to modify any building or property in
          order to make such building or property more accessible or accommodating to any disabled person,
          or any liability or costs incurred in connection with any educational, sensitivity or other corporate
          program, policy or seminar;
       9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
       The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
       multiplied damage award, if and where insurable. For purposes of determining whether punitive or
       exemplary damages, or the multiplied portion of any multiplied damage award arising from any Claim
       shall be insurable by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to
       such Claim and is most favorable to the Insured in that regard.
B. SECTION III. — DEFINITIONS, G. of the Employment Practices Liability Coverage Section is deleted and
   replaced by the following:-
   G. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and
      postjudgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense
      Expenses) shall not include:
       1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to
          the Insureds;
       2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or
          any other type of contract;
       3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
          payments; or settlement amounts representing employment related benefit payments;
       4. The cost of creating or reinstating employment;
       5. Any amounts owed to any Employee as wages or compensation previously incurred or vested

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            without regard to any Claim;
        6. Civil criminal fines or penalties;
        7. Taxes, whether owed to or by any Insured;
        8. Any liability, or costs incurred, due to any Insured's obligation to modify any building or property in
           order to make such building or property more accessible or accommodating to any disabled person,
           or any liability or costs incurred in connection with any educational, sensitivity or other corporate
           program, policy or seminar relating to an Employment Practices Claim;
        9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
        The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
        multiplied damage award, if and where insurable. For purposes of determining whether punitive or
        exemplary damages, or the multiplied portion of any multiplied damage award arising from any Claim
        shall be insurable by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to
        such Claim and is most favorable to the Insured in that regard.

AII other terms and conditions of this policy remain unchanged.




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                                                                                 RSUI INDEMNITY COMPANY



                   This E'ndorsement Changes The Policy. Please Read It Carefully.

                                 CLASS ACTION RETENTION
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Declarations Page:
ITEM 7. RETENTION:
         $                   Each claim for an actual or putative class action
AII other terms and conditions of this policy remain unchanged.




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                                                                                        RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read !t Carefully.

        COVERAGE EXTENSION - HEALTHCARE ORGANIZATION
 This endorsement modifies insurance provided under the following:

 '                     NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

A. SECTION III. - DEFINITIONS D. Insured Person in the Directors and Officers Liability Coverage Section and
   F. Insured Person in the Employment Practices Liability Coverage Section is amended to include the
   following:
   Insured Person shall include any past, present or future member of any duly constituted committee
   ("Committee Member"), any individual person engaged by a duly constituted committee for purposes of
   providing an expert opinion with regard to peer review or credentialing decision concerning an individual
   physician ("Outside Expert"), any individual in charge of any operational department ("Department Head") or
   any staff physician or faculty member of the Insured Organization, regardless of whether they are
   considered as an Employee of the Insured Organization or an independent contractor.
B. SECTION III. - DEFINITIONS E. Loss in the Directors and Officers Liability Coverage Section and G. Loss in
   the Employment Practices Liability Coverage Section is amended to include the following:
   1. IRS Fines
        Loss shall include Defense Expenses incurred in connection with a Claim seeking an assessment of
        taxes, initial taxes, additional taxes, tax deficiencies, excise taxes or penalties pursuant to the following
        sections of the Internal Revenue Code of 1986 (as amended):
        Section 4911 (tax on excess expenditures to influence legislation);
        Section 4940 (a) (tax on net investment income of tax-exempt foundations);
        Section 4941 (taxes on self-dealing);
        Section 4942 (taxes on failure to distribute income);
        Section 4943 (taxes on excess business holding);
        Section 4944 (taxes on investments which jeopardize charitable purpose);
        Section 4945 (taxes on taxable expenditures);
        Section 6652 (c) (1) (A) and (B) (penalties for failure to file certain information returns or registration
        statements);
        Section 6655 (a) (1) (penalties for failure to pay estimated income tax); and
        Section 6656 (a) and (b) (penalties for failure to make deposit of taxes).
     2. Excess Benefit Penalty Coverage
        Loss shall include the ten percent (10%) "Excess Benefit" penalty which might be assessed by the
        Intemal Revenue Service against any individual Insured Person for management involvement in the
        award of an "Excess Benefit".
        No coverage shall be provided by this policy for any individual Insured Person subject to the twenty five
        percent (25%) "Excess Benefit" penalty assessed by the Internal Revenue Service against any such
        Insured Person as a"disqualified person"; provided, however, that Defense Expense incurred in
        connection with the twenty five percent (25%) "Excess Benefit" penalty shall be provided to such Insured
        Person.
        Under no circumstances shall the Insurer be liable for the payment of Loss attributable to any two
        hundred percent (200%) penalty assessed by the Internal Revenue Service for failure to correct the
        award of an "Excess Benefit."


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        For purposes of this endorsement, the terms "Excess Benefit" and "disqualified person" shall be defined
        in the "Taxpayer Bill of Rights 2", (H.R. 2337, P.L. 104-168).
    3. EMTALA Coverage
        Loss shall include the fines, penalties and Defense Expenses resulting from any Claim arising out of or
        in connection with an actual or alleged violation of the Emergency Medical Treatment and Active Labor
        Act ("EMTALA"), 42 U.S.C., 1396dd et seq., and any similar state or local statute.
    4. Government Funding Defense Expense Coverage
        Loss shall not include the return of funds which were received from any federal, state or local
        governmental agency; provided, however, that with respect to any Claim arising out of the return or
        request to return, such funds, and subject to a Retention amount of              the Insurer shall pay
        Defense Expenses up to a total of $1,000,000 incurred by the Insured on a fifty percent (50%)
        coinsurance basis, with fifty percent (50%) of such Defense Expenses to be borne by the Insured and to
        remain uninsured; and the remaining fifty percent (50%) of such Defense Expenses to be covered by the
        Insurer subject to all other terms, conditions and exclusions of this policy.
        Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage
        for any Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with
        Policy terms and conditions, the Retention normally applicable in such situations shall apply to such
        Claim, and the Retention stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




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                                                                                 RSUI INDEMNITY COMPANY



                     This Endorsement Changes The Policy. Please Read It Carefully.

                            COVERAGE EXTENSION - HIPAA
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

SECTION III. — DEFINITIONS, E. Loss of the Directors and Officers Liability Coverage Section and G.
Loss of the Employment Practices Liability Coverage Section shall be amended by adding the following:
Notwithstanding anything in this DEFINITION to the contrary, Loss shall include any civil money penalties
imposed upon an Insured for violation of Title II of the Health Insurance Portability and Accountability Act
("HIPAA"), amendments to such law or regulations promulgated under such law concerning privacy of
health information; provided the Insurers maximum aggregate Limit of Liability for all such civil money
penalties on account of all Claims first made during the Policy Period shall be $25.000. This sublimit shall
be one sublimit only, regardless of the number of Coverage Sections purchased by any or all Insureds, and shall
be part of and not in addition to the amount set forth in Item 4. of the Common Policy Declarations Page.
A Retention in the amount of         shall apply to any Loss arising from a Claim alleging violation of
HIPAA. Such retention shall be borne by the Insured, and the Insurer shall only be liable for the amount
of Loss arising from a HIPAA Claim which is in excess of the above stated retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with Policy terms and
conditions, the Retention normally applicable in such situations shall apply to such Claim, and the Retention
stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




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                                                                                         RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

                  EXCLUSION - AMENDED BODILY INJURY AND
                            PROPERTY DAMAGE
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

A. SECTION IV. — EXCLUSIONS, 6. of the Directors and Officers Liability Coverage Section is deleted and
   replaced with the following:
    6. Alleging, arising out of, based upon, attributable to, or in any way involving, directly or indirectly:
        a. Bodily injury, sickness, disease or death of any person, mental anguish or emotional distress; or
        b. Damage to or destruction of any tangible property, including loss of use thereof, whether or not such
           property is physically damaged;
B. The first paragraph of SECTION IV. — EXCLUSIONS, 2. of the Employment Practices Liability Coverage
   Section is deleted and replaced with the following:
    2. Alleging, arising out of, based upon, attributable to, or in any way involving, directly or indirectly:
        a. Bodily injury, sickness, disease or death of any person, mental anguish or emotional distress;
           provided, this EXCLUSION 2.a. will not apply to allegations of inental anguish or emotional distress
           made solely in connection with an Employment Practices Claim or a Claim for Third Party
           Discrimination and/or Third Party Harassment; or
        b. Damage to or destruction of any tangible property, including loss of use thereof, whether or not such
           property is physically damaged;
AII other terms and conditions of this policy remain unchanged.




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                                                                                       RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

                                   EXCLUSION - PRIOR ACTS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Common Policy Terms and Conditions Coverage
Section:
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured that alleges, arises out of, is based upon or attributable to, directly or indirectly, in whole or in part, any
actual or alleged Wrongful Acts which first occurred prior to October 01, 2012.
AII other terms and conditions of this policy remain unchanged.




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                                                                                      RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read !t Carefu/ly.

EXCLUSION - PRIOR ANDIOR PENDING LITIGATION BACKDATED
                    (HIGHER LIMITS)
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION IV. - EXCLUSIONS, 4. of the Directors and Officers Liability Coverage Section, 1. of the Employment
Practices Liability Coverage Section and 1. of the Fiduciary Liability Coverage Section are deleted and replaced
with the following:
    Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
    that was commenced or initiated prior to, or pending as of October 01. 2012, or arising out of or based upon,
    in whole or in part, any facts or circumstances underlying or alleged in any such prior or pending litigation.
    With respect to the portion of the Limit of Liability that is $1,000.000 excess $1,000.000, the Insurer shall not
    be liable to make any payment for Loss arising out of or in connection with any Claim made against any
    Insured arising out of, based upon or attributable to, in whole or in part, litigation prior to or pending as of
    August 09, 2017.
AII other terms and conditions of this policy remain unchanged.




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RSG 206070 0118
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                                                                                          RSUI INDEMNITY COMPANY



                        This Endorsement Changes The Policy. P/ease Read !t Carefully.

            EXCLUSION - SEXUAL MISCONDUCT AND CHILD ABUSE
    This endorsement modifies insurance provided under the following:

                          NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                             PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

    The following is added to SECTION IV. — EXCLUSIONS, of the Directors and Officers Liability Coverage Section
    and the Employment Practices Liability Coverage Section:
    The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim
    (including but not limited to any derivative or representative class actions) made against any Insured alleging,
    arising out of, based upon or attributable to or in any way involving, directly or indirectly, any Sexual Misconduct,
    child abuse or neglect, including but not limited to the employment, supervision, reporting to the proper
    authorities, failure to so report or retention of any person.
    Sexual Misconduct means any licentious, immoral or sexual behavior, sexual abuse, sexual assault or
    molestation or any sexual act against any individual.
    AII other terms and conditions of this policy remain unchanged.




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                                                                                       RSUI INDEMNITY COMPANY



                      This Endorsement Changes The Policy. P/ease Read It Carefully.

           EXCLUSION - SPECIFIC ENTITIES AND INDIVIDUALS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Common Policy Terms and Conditions Coverage
Section:
The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim made
against any Insured which is brought by or on behalf of the following entities or individuals:

 HHA, Inc.


including, but not limited to any Claim brought by any director, officer, heir, trustee or partner of the entity, or by
any security holder thereof, whether such Claim is brought directly or derivatively.

AII other terms and conditions of this policy remain unchanged.




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                                                                                    RSUI INDEMNITY COMPANY



                   This E'ndorsement Changes The Policy. Please Read !t Carefully.

                      FULLY NON-RESCINDABLE COVERAGE
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Terms and Conditions Coverage Section:
Notwithstanding anything contained in this policy to the contrary, the coverage provided under this policy shall be
non-rescindable by the Insurer.
AII other terms and conditions of this policy remain unchanged.




                                                       Policy No.: NPP682977          Effective: 8/9/2019
RSG 204157 0119
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                                                                                    RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read !t Carefully.

                        WEST VIRGINIA - FULL- SEVERABILITY
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION V. — CONDITIONS, H. Representations of the Common Policy Terms and Conditions Coverage
Section is deleted and replaced by the following:
H. Representations
    The Insured represents that the information, particulars, documents, representations and statements
    contained in the Application are complete, true and accurate; are deemed incorporated into and constituting
    part of this policy; are material to the acceptance of the risk assumed by the Insurer under this policy. This
    policy is issued in reliance upon the truth of such representations. No knowledge or information possessed
    by any Insured will be imputed to any other Insured. If any of the information, particulars, documents,
    representations and statements of material fact contained in the Application are untrue, this policy shall not
    afford coverage to any Insured who knew of such untruth.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP682977         Effective: 8/9/2019
RSG 202107 0118 `
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                         DIRECTORS AND OFFICERS LIABILITY
                          COVERAGE SECTION (NON-PROFIT)
                        PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION 111. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Common Policy Declarations Page, and in consideration of the
payment of premium, and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in the Common Policy Terms
and Conditions, the Insurer agrees:
SECTION I. - INSURING AGREEMENTS
Directors and Officers Liability
A. With the Insured Person, that if a Claim for a Wrongful Act is first made against any Insured Person during
   the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or
   Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will pay on behalf of
   such Insured Person all Loss such Insured Person is legally obligated to pay, except and to the extent that
   the Insured Organization is required or permitted to indemnify such Insured Person for such Loss.
B. With the Insured Organization, that if a Claim for a Wrongful Act is first made against any Insured Person
   during the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim
   or Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will pay on behalf of the
   Insured Organization all Loss for which the Insured Organization is required or permitted to indemnify the
    Insured Person.
C. With the Insured Organization, that if a Claim for a Wrongful Act is first made against the Insured
   Organization during the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C.
   Notice of Claim or Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will
   pay on behalf of the Insured Organization all Loss the Insured Organization is legally obligated to pay.
Notwithstanding anything contained in this policy to the contrary, the coverage provided under SECTION I.
INSURING AGREEMENTS A. and B. shall be non-rescindable by the Insurer.
SECTION 11. — COVERAGE EXTENSIONS
A. Outside Board Extension
   This policy shall cover Loss arising from an Insured Person having served, at the direction of and with the
   consent of the Insured Organization, as Director, Officer, or Trustee for any eleemosynary corporation or
   other not for profit organization where such Insured Person is entitled to indemnification by the Insured
   Organization.
   This COVERAGE EXTENSION shall be excess of any indemnification and/or insurance that may be permitted
   or provided by such eleemosynary corporation or organization, regardless of payment made by or on behalf of
   such eleemosynary corporation or organization, including but not limited to any other Director and Officer
   Liability Insurance or similar insurance provided for, to, or by any such eleemosynary corporation or
   organization.
B. Additional Side-A Limit of Liability
   If a limit is shown in Item 2.6 of the Directors and Officers Liability Declarations, then there shall be an
   addition to the maximum aggregate Limit of Liability available under this Directors and Officers Coverage
   Section. This amount shall be in addition to the Limit of Liability as set forth in Item 2.A. of the Directors and
   Officers Liability Declarations Page and shall be available solely for Loss resulting from a Claim against any
   Insured Persons covered under SECTION I. INSURING AGREEMENT A. of this coverage section, antl shall
   be subject to the following additional conditions:
   (1) Any Loss resulting from a Claim against any Insured Persons covered under SECTION I. INSURING
       AGREEMENT A. of this Directors and Officers Coverage Section shall first be paid under the Limit of
       Liability as set forth in Item 2.A. of the Directors and Officers Liability Declarations Page, and such Limit of
       Liability must be completely exhausted by payment of Loss under SECTION I. 1NSURING


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        AGREEMENTS A., B., and/or C. of this Directors and Officers Coverage Section before Loss shall be
        paid under the additional Limit of Liability dedicated for Insured Persons: and
    (2) The additional Limit of Liability dedicated for Insured Persons shall be excess of any insurance available
        that is specifically excess of this policy and such excess insurance must be completely exhausted by
        payment of Loss thereunder before the Insurer shall have any obligation to make any payment on
        account of the additional Limit of Liability dedicated for Insured Persons.
SECTION 111. - DEFINITIONS
A. Claim, either in the singular or the plural, means:
    1. A written demand for monetary or non-monetary relief;
    2. A civil, criminal, administrative, regulatory or arbitration proceeding, or arbitration demand for monetary or
       non-monetary relief which is commenced by:
        a. Receipt or service of a complaint or similar pleading;
        b. Return of an indictment or filing of information; or
        c. Receipt of a notice of charges;
    3. A written request to an Insured to toll or waive a statute of limitations regarding a potential Claim,
       commenced by the receipt of such request by the Insured.
B. Employee means any past, present or future employee of the Insured Organization, whether such
    employee is in a supervisory, co-worker or subordinate position or otherwise, including any full-time, part-
    time, seasonal, and temporary employee or volunteers of the Insured Organization. An individual who is
    leased or contracted to the Insured Organization shall also be an Employee, but only if the Insured
    Organization provides indemnification to such leased or contracted individual in the same manner as is
    provided to the Insured Organization's employees.
C. Insured means any Insured Organization and/or any Insured Person.
D. Insured Person means:
   1. Any past, present or future director, officer, trustee, Employee, advisory board member or any committee
      member of a duly constituted committee of the Insured Organization; or
    2. In the event the Insured Organization or a Subsidiary thereof operates outside the United States, then
       the term Insured Person also means those titles, positions or capacities for such foreign Insured
       Organization or Subsidiary that are equivalent to the positions of directors or officers in the United
       States.
E. Loss means damages, settlements, judgments (including pre- and postjudgment interest on a covered
   judgment) and Defense Expenses. Loss (other than Defense Expenses) shall not include:
   1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
        Insureds;
   2. Amounts owed under any contract, partnership, stock or other ownership agreement, or any other type of
      contract;
   3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
      payments, or settlement amounts representing employment related benefit payments;
   4. The cost of creating or reinstating employment;
   5. Any amounts owed to any Employee as wages, compensation, severance or benefits previously incurred
      or vested without regard to any Claim;
   6. Civil or criminal fines or penalties;
   7. Taxes, whether owed to or by any Insured;
   B. Amounts, including Defense Expenses, arising out of, based upon or attributable to actual or alleged
       liability or costs incurred by any Insured to modify any building or property in order to make such building
       or property more accessible or accommodating to any disabled person;
   9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
   The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
   multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
   damages, or the multiplied portion of any multiplied damage award arisinq from anv Claim shall be insurable
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    by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
    most favorable to the Insured in that regard.
F. Personal Injury Wrongful Act shall mean any actual or alleged:
    1. False arrest, wrongful detention or imprisonment, or malicious prosecution;
    2. Libel, slander, defamation of character or invasion of privacy;
    3. Wrongful entry, eviction or other invasion of the right of occupancy;
    4. Infringement of copyright or trademark or other unauthorized use of title; or
    5. Plagiarism or misappropriation of ideas.
    However, Personal Injury Wrongful Act shall not include:
       a. Publication or utterance concerning any organization or business enterprise or its products or
          services made by or at the direction of an Insured with knowledge of the falsity thereof; or
        b. The printing of periodicals, advertising matter, or any or all jobs taken by any Insured to be printed for
           a third party when the periodical, advertising matter or other printing is not a regular part of the
           Insured's own activities.
G. Wrongful Act means any actual or alleged act, error, omission, misstatement, misleading statement, neglect
   or breach of duty, or Personal Injury Wrongful Act, by:
   1. An Insured Person while acting in his,or her capacity as such and on behalf of the Insured Organization
      or any matter claimed against them solely by reason of their status as an Insured Person; or
    2. The Insured Organization.
SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Based upon, arising out of or attributable to the gaining by any Insured of any profit or advantage to which
   such Insured was not legally entitled; provided, this EXCLUSION shall not apply unless a judgment or other
   final adjudication adverse to such Insured establishes that the Insured gained such profit or advantage;
2. Based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way involving
   any criminal or deliberate fraudulent act; provided, this EXCLUSION shall not apply unless a judgment or
   other final adjudication adverse to any Insured in the Claim shall establish that such Insured committed such
   criminal or fraudulent act;
3. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have been liable in the absence of such contract or agreement;
4. Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
   that was commenced or initiated prior to, or was pending on or before the date referenced in Item 4. of the
   Directors and Officers Liability Declarations Page, or arising out of or based upon, in whole or in part, any
   facts or circumstances underlying or alleged in any such prior or pending litigation;
5. Alleging, arising out of, based upon or attributable to any workers' compensation, disability benefits, unemployment
   compensation, unemployment insurance, retirement benefits, social security benefits or similar law;
6. For actual or alleged bodily injury, sickness, disease or death of any person, mental anguish or emotional
   distress; damage to or destruction of any tangible property, including loss of use thereof, whether or not such
   property is physically damaged;
7. Alleging, arising out of, based upon or attributable to, in whole or in part, the performance or rendering of or
   failure to perform professional services, where such services are undertaken for others for a fee;
8. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that govems
   payment or administration of wages, hours worked, or employee entitlements; the Employee Retirement Income
   Security Act of 1974; the National Labor Relations Act; the Worker Adjustment and Retraining Notification Act;
   the Consolidated Omnibus Budget Reconciliation Act; the Occupational Safety and Health Act; any rules or
   regulations of any of the foregoing promulgated thereunder and amendments thereto; or any similar provisions
   of any federal, state or local statutory or common law that govern the same subject matter governed by the laws

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    referenced in this section even if particular laws have some additional or different provisions; provided, this
    EXCLUSION shall not apply to Loss arising from a Claim for employment related retaliation;
9. Brought by or on behalf of any Insured, except:
    a. A derivative action brought by or made on behalf of, or in the name or right of, the Insured Organization,
       if such action is brought and maintained independently of, and without assistance, participation or
       intervention of any Insured;
    b. Any Claim brought by the examiner, trustee, receiver, liquidator or rehabilitator (or any assignee thereof)
       of such Insured Organization, in or after any bankruptcy proceeding by or against an Insured Organization;
    c. Any Claim brought by any past director, officer, trustee, manager or equivalent executives of the Insured
       Organization who have not served as a director, officer, trustee, manager or equivalent executive for at
       least three (3) years prior to the date such Claim is first made, but only if the Claim is brought and
       maintained totally independent of and without the solicitation, assistance, active participation or
       intervention of the Insured Organization or any Insured Person not described in this paragraph 9.c.; or
    d. Any instigation of or involvement in any Claim, or solicitation, assistance, active participation or
       intervention by any Insured whistleblower under Section 806 of the Sarbanes-Oxley Act of 2002 or any
       rule or regulation promulgated thereunder, or under any similar whistleblower statute, rule or regulation
       under any other federal or state law.
10. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
    request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not
    limited to Claims alleging damage to the Insured Organization;
    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
11. Alleging, arising out of, based upon or attributable to, in whole or in part, any Employment Practices
    Wrongful Act.
12. Alleging, arising out of, based upon or attributable to, in whole or in part, any Fiduciary Wrongful Act.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.
SECTION V. - CONDITIONS
A. Bankruptcy and Priority of Payments
    The bankruptcy or insolvency of the Insured Organization or any Subsidiary shall not relieve the Insurer of
    any of its obligations hereunder. The coverage provided by this policy, however, is intended primarily to
    protect and benefit the Insured Persons.
    With respect to the payment of the policy proceeds, it is agreed that covered Loss due under this policy shall
    be paid by the Insurer in the following order of priority:
   1. First pay such Loss for which coverage is provided under INSURING AGREEMENT A. of this policy;
    2. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
       pay Loss for which coverage is provided under INSURING AGREEMENT B. of this policy; and
    3. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
       pay Loss for which coverage is provided under INSURING AGREEMENT C. of this policy.
   The Insured Organization or its representatives and the Insurer shall use their best efforts to agree upon
   the priority of payment of all Loss under this policy. If no agreement is reached regarding the priority of
   payments, then the Insurer and Insured Organization will submit the issue of such priority, and only that
   issue, to binding arbitration.




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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.

                                     ~




                      Secretary                                                    President




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                                                                                   RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefu/ly.

                                EXCLUSION - MALPRACTICE
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Directors and OfFicers Liability Coverage Section:
The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim made
against any Insured alleging, arising out of, based upon or attributable to any medical or professional
malpractice, including but not limited to the rendering or failure to render any medical or professional service.
AII other terms and conditions of this policy remain unchanged.




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                            EMPLOYMENT PRACTICES LIABILITY
                            COVERAGE SECTION (NON-PROFIT)
                          PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Common Policy Declarations Page, and in consideration of the
payment of premium and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in the Common Policy Terms
and Conditions, the Insurer agrees:
SECTION I. - INSURING AGREEMENTS
A. Employment Practices Liability
    The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage Section on behalf of the
    Insured in connection with any Employment Practices Claim first made against any Insured during the Policy
    Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or Circumstance in
    the Common Policy Terms and Conditions of this policy.
B. Third Party Liability Coverage
    The Insurer shall pay for Loss up to the Limit of Liability applicable to this Coverage Section arising out of or
    in connection with any Claim for Third Party Discrimination and/or Third Party Harassment first made
    against any Insured during the Policy Period and reported in accordance with SECTION V. — CONDITIONS,
    C.Notice of Claim or Circumstance in the Common Policy Terms and Conditions of this policy.
SECTION II. — COVERAGE EXTENSIONS
Workplace Violence Expenses Sublimit
If a sublimit is shown in Item 2.13. of the Employment Practices Liability Declarations Page, the Insurer shall provide
coverage for Workplace Violence Expense the Insured Organization incurs resulting directly from any
Workplace Violence. This sublimit shall be part of and not in addition to the Limit of Liability set forth in Item 2.A. of
the Employment Practices Liability Declarations Page.
No Retention shall apply to the Workplace Violence Expense Coverage.
SECTION III. - DEFINITIONS
A. Claim, for purposes of this Coverage Section shall be an Employment Practices Claim, which means:
    A written demand for monetary or non-monetary relief solely where alleging an Employment Practices
    Wrongful Act, including:
    1. A civil, criminal, administrative, regulatory or arbitration proceeding or arbitration demand for monetary or
        non-monetary relief which is commenced by:
        a. Receipt or service of a complaint or similar pleading;
        b. Return of an indictment or filing of information; or
        c. Receipt of a notice of charges;
    2. A written request to an Insured to toll or waive a statute of limitations regarding a. potential Claim,
       commenced by the receipt of such request by the Insured;
    3. An administrative or regulatory investigation when conducted by the Equal Employment Opportunity
       Commission ("EEOC") or equivalent state, local or foreign agency, which is commenced by the filing of a
       notice of charges, service of a complaint or similar document of which notice has been given to the
        Insured.
    Provided, such Employment Practices Claim shall not include any internal or external labor or grievance
    proceeding which is pursuant to a collective bargaining agreement.




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B. Employee means any past, present or future employee of the Insured Organization, whether such
   employee is in a supervisory, co-worker or subordinate position or otherwise, including any full-time, part-
   time, seasonal, and temporary employee or volunteers of the Insured Organization. An individual who is
   leased or contracted to the Insured Organization shall also be an Employee, but only if the Insured
   Organization provides indemnification to such leased or contracted individual in the same manner as is
   provided to the Insured Organization's employees.
C. Employment Practices Claim means any Claim for an Employment Practices Wrongful Act.
D. Employment Practices Wrongful Act means any actual or alleged:
    1. Wrongful dismissal, discharge or termination (either actual or constructive) of employment, including
       breach of an implied employment contract;
    2. Employment related harassment (including but not limited to sexual harassment);
    3. Employment related discrimination (including but not limited to discrimination based upon age, gender,
       race, color, national origin, religion, sexual orientation or preference, pregnancy or disability);
    4. Employment-related retaliation;
    5. Employment-related misrepresentation to an Employee or applicant for employment with the Insured
        Organization;
    6. Employment-related libel, slander, humiliation, defamation and/or invasion of privacy;
    7. Wrongful failure to employ or promote;
    8. Wrongful deprivation of career opportunity, wrongful demotion or negligent Employee evaluation,
       including the giving of defamatory statements in connection with an Employee reference;
    9. Employment related wrongful discipline;
   10. Failure to grant tenure or practice privileges;
  11. Failure to provide or enforce adequate or consistent organization policies or procedures relating to
      employment performance;
  12. Violations of the following federal laws (as amended) including all regulations promulgated thereunder:
        a. Family and Medical Leave Act of 1993;
        b. Americans with Disabilities Act of 1992 (ADA);
        c. Civil Rights Act of 1991;
        d. Age Discrimination in Employment Act of 1967 (ADEA), including the Older Workers Benefit
           Protection Act of 1990; or
        e. Title VII of the Civil Rights Law of 1964 (as amended) and 42 U.S.C. Section 1983, as well as the
           Pregnancy Discrimination Act of 1978;
   13. Violation of an Insured Person's civil rights relating to any of the above; or
   14. Negligent hiring, retention, training or supervision, infliction of emotional distress, or violation of an
       individual's civil rights, when alleged in conjunction with any of the foregoing items 1. through 13.,
   whether such Employment Practices Wrongful Act as described in 1-14 above is committed directly,
   indirectly, intentionally or unintentionally, but only if the Employment Practices Wrongful Act actually or
   allegedly pertains to acts committed by an Insured and are alleged against an Insured by an Insured
   Person or applicant for employment with the Insured Organization.
E. Insured means any Insured-Organization and/or Insured Person.
F. Insured Person means:
   1. Any past, present or future director, officer, trustee, Employee, advisory board member or any committee
      member of a duly constituted committee of the Insured Organization; or
   2. In the event the Insured Organization or a Subsidiary thereof operates outside the United States, then
      the term Insured Person also means those titles, positions or capacities for such foreign Insured
      Organization or Subsidiary that are equivalent to the positions of directors or officers in the United
      States.

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G. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and post-
   judgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense Expenses)
     shall not include:
     1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
         Insureds;
     2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
         other type of contract;
     3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
         payments, or settlement amounts representing employment related benefit payments;
     4. The cost of creating or reinstating employment; '
     5. Any amounts owed to any Employee as wages or compensation previously incurred or vested without
         regard to any Claim;
     6. Civil or criminal fines or penalties;
     7. Taxes, whether owed to or by any Insured;
     8. Amounts, including Defense Expenses, arising out of, based upon or attributable to actual or alleged
         liability or costs incurred by any Insured to modify any building or property in order to make such building
         or property more accessible or accommodating to any disabled person, or any actual or alleged liability or
         costs incurred in connection with any educational, sensitivity or other corporate program, policy or
         seminar relating to an Employment Practices Claim;
     9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
     The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
     multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
     damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
     by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
     most favorable to the Insured in that regard.
H. Premises means the buildings, facilities or properties occupied by the Insured Organization in conducting
     its business.
I.   Third Party means any person(s) with whom an Insured interacts.
J. Third Party Discrimination means any discrimination by an Insured in his or her capacity as such against a
   Third Party based on such Third Party's race, color, creed, religion, age, gender, national origin, sexual
     orientation or preference, disability, pregnancy or other protected status that is protected pursuant to any
     applicable federal, state or local statute or ordinance.
K. Third Party Harassment means any type of sexual or gender harassment as well as racial, religious, sexual
   orientation, pregnancy, disability, age, or national origin-based harassment that is by an Insured to a Third
   ParEy.
L. Workplace Violence means any intentional and unlawful act:
     1. of deadly force involving the use of lethal weapon; or
     2. the threat of deadly force involving the display of a lethal weapon,
     which occurs on or in the Premises and which did or could result in bodily injury or death to an Insured
     Person.
M. Workplace Violence Expense means the reasonable fees and expenses, or cost of:
     1. an independent security consultant for ninety (90) days following the date Workplace Violence occurs;
     2. an independent public relations consultant for ninety (90) days following the date Workplace Violence
        occurs;
     3. a counseling seminar for all Employees conducted by an independent consultant following Workplace
         Violence;
     4. independent security guard services for up to fifteen (15) days; and
     5. an independent forensic analyst.



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SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
   that was commenced or initiated prior to, or was pending on or before the date referenced in Item 4. of the
   Employment Practices Liability Declarations Page, or arising out of or based upon, in whole or in part, any
   facts or circumstances underlying or alleged in any such prior or pending litigation;
2. For actual or alleged bodily injury, sickness, disease or death of any person, mental anguish or emotional
   distress; damage to or destruction of any tangible property, including loss of use thereof, whether or not such
   property is physically damaged; provided, this EXCLUSION shall not apply to allegations of inental anguish or
   emotional distress made solely in connection with an Employment Practices Claim;
    The Insurer shall not be liable to make any payment, and shall have no duty to defend or pay Loss of any
    sort, in connection with any Workplace Violence:
    a. which occurs at any location other than the Insured Organization's Premises;
    b. arising from declared or undeclared war, civil war, insurrection, riot, civil commotion, rebellion or
       revolution, military, naval or usurped power, governmental intervention, expropriation or nationalization;
    c. that reflects legal costs, judgments and settlements incurred as the result of any Claim, suit or judicial
       action brought against an Insured Organization in connection with Workplace Violence; or
    d. resulting from the use or threat of force or violence occurring on the Premises for the purpose of
       demanding money, securities or property.
3. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
   request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not
   limited to Claims alleging damage to the Insured Organization;
    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
4. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the Employee Retirement
   Income Security Act of 1974; the National Labor Relations Act; the Worker Adjustment and Retraining
   Notification Act; the Consolidated Omnibus Budget Reconciliation Act; the Occupational Safety and Health
   Act; any rules or regulations of any of the foregoing promulgated thereunder and amendments thereto; or any
   similar provisions of any federal, state or local statutory or common law that govern the same subject matter
   governed by the laws referenced in this section even if particular laws have some additional or different
   provisions; provided, this EXCLUSION shall not apply to Loss arising from a Claim for employment related
   retaliation;
                                                                                               ,
S. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have been liable in the absence of such contract or agreement;
   provided this EXCLUSION shall not apply to Defense Expenses in connection with an Employment
    Practices Claim;
6. Alleging, arising out of, based upon or attributable to any workers' compensation, disability benefits,
   unemployment compensation, unemployment insurance, retirement benefits, social security benefits or similar
   law; provided, this EXCLUSION shall not apply to Loss arising from a Claim for employment related
   retaliation;
7. Alleging, arising out of, based upon, directly or indirectly resulting from or in consequence of, or in any way
   involving any criminal or deliberate fraudulent act; provided this EXCLUSION shall not apply unless a
   judgment or other final adjudication adverse to any Insured in the Claim shall establish that such Insured
   committed such criminal or fraudulent act.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.


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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.



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                                                                   ( R-~/ ~~,           -


                      Secretary                                                   President




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                                                                                        RSUI INDEMNITY COMPANY



                    This E'ndorsement Changes The Policy. Please Read It Carefully.

     SUBLIMIT-DEFENSE EXPENSES - WAGE AND HOUR CLAIMS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                            PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION II. — COVERAGE EXTENSIONS, of the Employment Practices Liability
Coverage Section:
The amount set forth in Item 4. of the Common Policy Declarations Page shall be the maximum aggregate Limit.
of Liability for all Loss under this policy. Subject to the foregoing, this Policy shall allow up to $100.000 solely for
Defense Expenses in connection with Claims made against any Insured for violation of the Fair Labor
Standards Act or any similar state or local law or regulation specifically governing the payment of wages or hours
worked ("Wage and Hour Claim"). This sublimit shall be part of and not in addition to the amount set forth in Item
2.A. of the Employment Practices Liability Declarations Page, and shall not act to create coverage for any form of
relief sought or available in any Wage and Hour Claim.
A Retention in the amount of          shall apply to any Wage and Hour Claim. Such Retention shall be borne
by the Insured, and the Insurer shall only be liable for the amount of Defense Expenses in excess of the above
stated Retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with Policy terms and
conditions, the Retention normally applicable in such situations shall apply to such Claim, and the Retention
stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




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                                                         Policy No.: NPP682977           Effective: 8/9/2019
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            FIDUCIARY LIABILITY COVERAGE SECTION (NON-PROFIT)
                   PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Common Policy Declarations Page and in consideration of the
payment of premium and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in the Common Policy Terms
and Conditions, the Insurer agrees:
SECTION 1. - INSURING AGREEMENTS
Fiduciary Liability
The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage Section on behalf of the Insured
in- connection with any Fiduciary Claim first made against any Insured during the Policy Period and reported in
accordance with SECTION V. — CONDITIONS, C. Notice of Claim or Circumstance in the Common Policy Terms
and Conditions of this policy.
Notwithstanding anything contained in this policy to the contrary, the coverage provided under this Coverage Section
shall be non-rescindable by the Insurer.
SECTION II. — ADDITIONAL COVERAGES
The Insurer shall pay Loss arising from Additional Claims first made against any Insured during the Policy
Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or Circumstance in the
Common Policy Terms and Conditions of this policy which result in Loss as described in the Additional Coverages
as shown below.
Any Sublimits and Retentions set forth in the Fiduciary Liability Declarations Page for the Additional Coverage(s)
shall apply separately and specifically to any Loss arising from the specified Additional Coverage(s). Such
Retentions shall be borne by the Insured Organization, and the Insurer shall only be liable for the amount of
Loss arising from the specified Additional Coverage(s) that is in excess of the specifically stated Retention
amount applicable to such Additional Coverage, and subject to the applicable Sublimit.
A. HIPAA Violations
    Loss is amended to include any civil money penalties imposed upon an Insured for violation of the privacy
    provisions of the Health Insurance Portability and Accountability Act ("HIPAA").
B. Voluntary Compliance Fees/Sanctions
   The definition of Loss is amended to include:
   1. Any sanctions imposed upon an Insured as a fiduciary; or
   2. Any compliance fees incurred by an I'nsured, under the Employee Plans Compliance Resolution System
      described in any applicable Internal Revenue Service Revenue Procedure ("EPCRS Sanctions/Fees").
C. PPACA Civil Money Penalties
                                            r
   Loss is amended to include any civil money penalties imposed upon an Insured for inadvertent violation of
   the Patient Protection and AfPordable Care Act, as amended ("PPACA"), and any rules or regulations
   promulgated thereunder.
D. Plan Value Fiduciary Liability
   Loss is amended to include a monetary award in, or fund for settling, a Claim against any Insured to the
   extent it alleges a loss to a Plan and/or loss in the actual account of participants in a PRan by reason of a
   change in the value of investments held by that Plan, regardless of whether the amounts sought in such
   Claim have been characterized by plaintiffs as "benefits" or held by a court to be "benefits".
E. Settlor Breaches of Duty
   Loss is amended to include amounts incurred arising from Settlor Breaches of Duty, meaning any actual or
   alleged breach of duties, obligations and responsibilities imposed by ERISA, COBRA, or HIPAA, in the
   discharge of any Insured's duties in a settlor capacity with respect to Employee Benefits.

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F. Other Penalties
    Loss is amended to include Defense Expenses resulting from any Claim arising out of:
    1, the civil penalties under Section 502(c) of ERISA;
    2. the civil penalties under the Pension Protection Act of 2006; and
    3. the 15% or less tax penalty imposed upon an Insured under Section 4975 of the Internal Revenue Code
       of 1986, with respect to covered judgments.

SECTION Ill. — DEFINITIONS
A. Additional Claims means written demands or written allegations demanding relief as described in Section II.,
   Additional Coverages, of this Coverage Section.
B. Administration means:
    1. handling records in connection with Employee Benefits;
    2. effecting enrollment, termination or cancellation of Employees under an Employee Benefits program;
    3. giving counsel to Employees with respect to Employee Benefits; or
    4, interpreting Employee Benefits.
C. Claim means a Fiduciary Claim.
D. Employee means any natural persons whose labor or service is engaged by and directed by the Insured
   Organization, including part-time, seasonal, leased and temporary employees as well as volunteers.
   Employee shall not include any independent contractor.
E. Employee Benefits means any Plan or Healthcare Exchange, and any workers' compensation insurance,
   unemployment insurance, Social Security or disability benefits for Employees of the Insured Organization.
F. ERISA means:
   1, the Employee Retirement Income Security Act of 1974, as amended and any rules or regulations
      promulgated thereunder (including, amendments relating to the Consolidated Omnibus Budget
      Reconciliation Act of 1985, and the Heath Insurance Portability and Accountability Act of 1996 ("HIPAA"));
   2. the English Pension Scheme Act of 1993, and the English Pensions Act of 1995, as such Acts are
      amended and any rules or regulations promulgated under such Acts, and
   any similar statutory or common law anywhere in the world, and any rules or regulations promulgated
   thereunder, and
   3. the privacy provisions under HIPAA.
G. Fiduciary Claim means a:
   1. written demand for money or other civil relief corrimenced by the receipt of such demand;
   2. civil proceeding, including any arbitration or other alternative dispute resolution proceeding commenced
      by the service of a complaint, filing of a demand for arbitration, or similar pleading;
   3. criminal proceeding commenced by the return of an indictment;
   4. written notice of the commencement of an investigation by the Department of Labor or the Pension
      Benefit Guaranty Corporation; or
   5. formal administrative or regulatory proceeding commenced by the filing of a notice of charges, formal
      investigative order or similar documents;
   against an Insured for a Fiduciary Wrongful Act.
H. Fiduciary Wrongful Act means any actual or alleged:
   1. breach of the duties, responsibilities or obligations imposed upon fiduciaries of any Plan by ERISA or the
      common law or statutory law of any jurisdiction governing such Plan; or
   2. any negligent act, error or omission by an Insured in the Administration of Employee Benefits or any
      other matter claimed against an Insured solely by reason of their service as a fiduciary of any Plan.


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      3. Violation of any of the responsibilities, obligations or duties imposed upon fiduciaries of any Plan by the
         Health Insurance Portability and Accountability Act of 1996 and any rules or regulations promulgated
         thereunder ("HIPAA"); or
     4. Other violation of HIPAA claimed against an Insured due solely to such Insured's service as a fiduciary
        of any Plan; or
     5. Negligent violation of HIPAA by an Insured in the Administration of any Plan.
I.   Healthcare Exchange shall be any facility or vehicle set up to facilitate the purchase of health insurance in
     each state in accordance with the Patient Protection and Affordable Care Act.
J. Insured means the Insured Persons, the Plan and the Sponsor Organization.
K. Insured Person means any director, officer, trustee, partner or Employee of the Plan or of the Sponsor
   Organization while acting in his or her capacity as a fiduciary or settlor of the Plan.
L. Loss means damages, settlements, judgments (including pre- and post-judgment interest on a covered
   judgment) and Defense Expenses. Loss (other than Defense Expenses) shall not include:
     1. Fines, penalties or taxes imposed by law, except that Loss may include claimant's attorney's fees
         awarded by a court pursuant to Section 502(g) of the Employee Retirement Income Security Act of 1974,
        as amended, against an Insured; civil penalties of up to five percent (5%) imposed pursuant to Section
        502(i) of the Employee Retirement Income Security Act of 1974, as amended ("ERISA") for inadvertent
        violation of Section 406 of ERISA, and civil penalties of up to twenty percent (20%) of any settlement or
        judgment imposed pursuant to Section 502(1) of ERISA for breach of fiduciary duty;
     2. Benefits due or to become due under the terms of any Plan, unless and then only to the extent that
        recovery for such benefits is based on a Fiduciary Wrongful Act and is payable as the personal
        obligation of an Insured who is a natural person; provided that Loss shall include Defense Expenses
        with respect to any Claim seeking benefits due or to become due under the terms of any Plan; and Loss
        shall include a monetary award in, or fund for settling, a Claim against any Insured to the extent it
        alleges a loss to a Plan and/or loss in the actual account of participants in a Plan by reason of a change
        in the value of investments held by that Plan, regardless of whether the amounts sought in such Claim
        have been characterized by plaintiffs as "benefits" or held by a court to be "benefits";
     3. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
         Insureds;
     4. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
          other type of contract;
     5. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
         payments, or settlement amounts representing employment related benefit payments;
     6. The cost of creating or reinstating employment;
     7. Any amounts owed to any Employee as wages or compensation previously incurred or vested without
         regard to any Claim;
     8. Civil or criminal fines or penalties not expressly provided for in this Coverage Section;
     9. Taxes, whether owed to or by any Insured;
     10. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
     The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
     multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
     damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
     by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
     most favorable to the Insured in that regard.
M. Pension Benefit Plan means any employee pension benefit plan, as such term is defined in ERISA, which is
   operated solely by the Insured or jointly by the Insured and a labor organization solely for the benefit of the
   Employees.
N. Plan means any:
     1. Pension Benefit Plan and any trust established to hold the assets of any such Pension Benefit Plan;
     2. Welfare Benefit Plan which was, is now, or becomes sponsored solely by any Sponsor Organization;


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     3. Pension Benefit Plan, or any trust established to hold the assets of any such Pension Benefit Plan,
        created during the Policy Period by any Sponsor Organization or by any interest owned or controlled
        by such Sponsor Organization for the Employees thereof, but only if the Insured provides the Insurer
        with written notice of the creation of such Pension Benefit Plan within ninety (90) days of the effective
        date of such Pension Benefit Plan; and
     4. otherwise covered Plan of any Subsidiary as that term is defined in the Common Policy Terms and
        Conditions SECTION III. - DEFINITIONS, M., or as allowed in the Common Policy Terms and Conditions
        SECTION V. — CONDITIONS, G., but only if the:
         (a) Insured provides the Insurer such additional information with respect thereto as the Insurer may
             reasonably require;
         (b) Insured provides the Insurer written notice of such acquisition as soon as practicable after the
             effective date thereof; and
         (c) Insurer specifically agrees by written endorsement to provide coverage with respect to such Plan
             and the Insured has accepted any additional terms, conditions and limitations of coverage, and
             agrees to pay any additional premium that the Insurer in its sole discretion, shall deem appropriate.
    Plan shall not include any multiemployer plan.
O. Sponsor Organization means the Insured Organization while acting in its capacity as a sponsor of a Plan
   solely for the benefit of its Employees.
P. Welfare Benefit Plan means any employee welfare benefit plan, as such term is defiried in ERISA which is
   operated solely by the Insured or jointly by the Insured and a labor organization solely for the benefit of the
   Employees.
SECTION IV. - EXCLUSIONS
Specifically with respect to Fiduciary Claims or Additional Claims, exclusions in this endorsement shall govern
in the event of any specific conflict between them and other exclusions in the policy.
The Insurer shall not be liable to make any payment for Loss, and shall have no duty to defend or pay Defense
Expenses, in connection with any Fiduciary Claim made against any Insured:
1. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   fact, circumstance, situation, transaction, event or Fiduciary Wrongful Act underlying or alleged in any prior
   and/or pending litigation or administrative or regulatory proceeding which was brought prior to the date
   referenced in Item 4. of the Fiduciary Liability Declarations Page;
2. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   actual or alleged failure by any Insured to comply with any law, rule or regulation concerning workers'
   compensation insurance, unemployment insurance, Social Security or disability benefits, whether or not such
   failure to comply is willful;
3. For the failure to collect contributions owed to any Plan from any employer unless such failure is due to the
   negligence of an Insured, or for the return to any employer of any contributions if such amounts are or could
   be chargeable to a Plan; provided, this EXCLUSION 3. shall not apply to the Insurer's obligations, subject to
   the applicable Limit of Liability, to defend such Fiduciary Claim and to pay Defense Expenses resulting
   therefrom;
4. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the National Labor Relations
   Act; the Worker Adjustment and Retraining Notification Act; the Consolidated Omnibus Budget Reconciliation
   Act; the Occupational Safety and Health Act; any rules or regulations of any of the foregoing promulgated
   thereunder and amendments thereto; or any similar provisions of any federal, state or local statutory or
   common law that govern the same subject matter governed by the laws referenced in this section even if
   particular laws have some additional or different provisions; provided, this EXCLUSION shall not apply to
   Loss arising from a Claim for employment related retaliation;
5. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
   request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not
   limited to Claims alleging damage to the Insured Organization;



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    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
6. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have been liable in the absence of such contract or agreement;
7. Made by or on behalf of a fidelity insurer against a natural person whose conduct has resulted in a Loss
    which has been paid under a fidelity bond; or
8. Based upon, arising out of, directly or indirectly resulting from any discrimination, retaliation or wrongful
   termination of employment; provided, this EXCLUSION 8. will not apply to Fiduciary Claims asserted under
   Section 510 of ERISA.
No conduct of any Insured Person will be imputed to any other Insured Person to determine the application of
any of the above EXCLUSIONS.
SECTION V. - CONDITIONS
A. Coverage for New Plans
   If during the Policy Period the Insured:
   1. forms or acquires an employee welfare benefit plan, as defined by ERISA, which is sponsored solely by
      the Insured, or jointly by the Insured and a labor organization exclusively for the benefit of Employees of
      the Insured; this Coverage Section shall automatically apply; or
   2. forms or acquires an employee pension benefit plan or pension plan, as defined by ERISA, which is
      sponsored solely by the Insured, or jointly by the Insured and a labor organization exclusively for the
      benefit of Employees of the Insured and whose assets are less than ten percent (10%) of the total
      consolidated assets of the Insured as of the Policy inception date; this Coverage Section shall
      automatically apply; or
   3. forms or acquires an employee pension benefit plan or pension plan, as defined by ERISA, which is
      sponsored solely by the Insured or jointly by the Insured and a labor organization exclusively for the
      benefit of Employees of the Insured and whose assets are equal to or greater than ten percent (10%) of
      the total consolidated assets of the Insured as of the Policy inception date, then coverage is provided
      under this Coverage Section, but only upon the condition that within ninety (90) days of it becoming an
      Employee Benefits plan, the Insured provides the Insurer with full particulars of the new Employee
      Benefits plan and agrees to any additional premium and/or amendment of the provisions of this
      Coverage Section required by the Insurer related to such new Employee Benefits plan. Further,
      coverage as shall be afforded to the new Employee Benefits plan is conditioned upon the Insured
        paying when due any additional premium required by the Insurer relating to such new Employee
       Benefits plan.
   In all events, coverage as afforded with respect to this Section V.A. shall not apply to a Multi Employer Plan, a
   Multiple Employer Plan, or a Defined Benefit Plan.                                                                   ~
B. Recourse
   It is agreed that, in the event an Insured breaches a fiduciary obligation under ERISA, the Insurer has the
   right of recourse against any such Insured for any amount paid by the Insurer as a result of such breach of
   fiduciary duty, but the Insurer shall have no such right of recourse if the policy has been purchased by the
   fiduciary or by an employer or an employee organization.
C. Termination of Plan
   If the Sponsor Organization terminates a Plan, coverage shall be afPorded under this coverage extension
   with respect to such terminated Plan and its Insureds. Such continuation of coverage shall apply with
   respect to Fiduciary Claims for Fiduciary Wrongful Acts committed, attempted, or allegedly commifted or
   attempted prior to or after the date the Plan was terminated.




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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.


                                    ~




                      Secretary                                                   President




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NON•PROFIT ORGANIZATION MANAGEMENT LIABILITY
RENEWAL APPLICATION
                                                                                                             (( N   LI

NOTICE:       THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY TO THOSE CLAIMS FIRST
              MADE AGAINST THE INSURED DURING THE POLICY PERIOD AND REPORTED TO THE INSURER
              DURING THE POLICY PERIOD, OR THE EXTENDED REPORTING PERIOD, IF APPLICABLE. THE
              L1MIT OF LIABILITY AVAILABLE TO PAY LOSS SHALL BE REDUCED OR TOTALLY EXHAUSTED
              BY PAYMENT OF DEFENSE EXPENSES.
I. GENERAL INFORMATION SECTION

1. (a) Name of Organization:
           N ia hlCas~rl- ~ 1nr KShur~ N,s~i~Q l. ln c-
    (b) Organization Address:
            ~3 Ff-r~sbi-~r            ~I~zQ      CI~rKshura l~,{V Zra3al
2. Indicate Coverage and Limit Requested:

    D&O Liability Insurance Coverage:             Yes [E       No ❑        Limit Requested: $7,00D, 000
    Employment Practices Liability Coverage:      Yes 51       No ❑        Limit Requested: $      2-, QCQ, CDO
    Third Party Liability Coverage:               Yeso         No ❑
    Fiduciary Liability Insurance Coverage:       Yes o        No ❑        Limit Requested: $      j,DCQ.CQ©
3. Indicate the Type of Limit Requested:

    [~ Shared Limit of Liability for muitiple Coverage Sections

    ❑    Separate Limit of Liability for each Coverage Section

    ❑    Combination of Shared and Separate Limits (provide details):

4. Please provide the following financial information for the Applicant and its Subsidiaries:

                                                           Current Year           I             Prior Year

        Date of Financial Statement:

        Total Assets:

        Total Liablllties:

        Fund Balance:

        Total Revenues:

        Net Income or Net Loss:




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5. As part of this Application, piease submit the following with respect to the Applicant:

    Directors & Officers Lfabflltv Coverac,Le:
  J(a) COMPLETE COPY OF LATEST ANNUAL REPORT. IF AUDITED FINANCIALS, PLEASE INCLUDE AUDITORS NOTES AND A COPY OF
        LATEST INTERIM FINANCIAL STATEMENT
  ✓ (b) CURRENT LIST OF DIRECTORS AND OFFICERS

  V(C) COMPLETE COPY OF BY LAWS AND ARTICLES OF INCORPORATION

   Emplovment Practices Liability Covera4e:
I° f A(8) EEO-1 REPORT (IF REQUIRED BY FEDERAL IJ1w)

  ✓ (b) EMPLOYEE HANDBOOK

   Fiduciary Liabilitv. Coveraae:
 J(a) A COPY OF THE MOST RECENTLY FILED FORM 5500 OR MOST RECENT AUDITED PLAN FINANCIAL STATEMENTS


II. DIRECTORS & OFFICERS LIABILITY SECTION (P/ease cornplete onlylfcoverage reyuested)

1. (a) Have there been any changes in the Organization operations within the last twelve (12)          Yes ❑     No ~
         months or is the Organization currentiy contempiating any merger or acquisition?
         If "Yes°, piease provide detaiis on a separate page.
    (b) Has the Organization acquired or created any Subsidiaries within the last twelve (12)          Yes ❑     No ~
        months?
        if "Yes", piease provide detaiis on a separate page.
2. Does the organization have an incident response pian for data breaches that is tested at least
    annually?                                                                                          Yes      No ❑
    If "No", piease provide detaiis on a separate page.
3. If appiicabie, is the organization Payment Card Industry Data Security Standard (PCl/DSS)
    compiiant?                                                                                         Yes      No ❑
    If "No", piease provide detaiis on a separate page.
4. Does the organization purchase First Party and Third Party Network Security and Privacy
    Insurance Coverage?       L'yber Ir15U t'Ar)C,2                                                    Yes Er No ❑
5. If appiicabie, is the organization Health Insurance Portability & Accountability Act (HIPAA) /
   Health Information Technology for Economic & Clinical Health (HITECH) compiiant?                    Yes      No ❑
   If "No", piease provide detaiis on a separate page.
6. Does the organization receive more than 10% of their revenues from any governmental source?         Yes      No ❑
7. Does the organization offer, sell, advertise, market or solicit any product or service, or debt
   collection, empioying any automatic/robo diaiing, mobiie phone texting, faxing, or any other type
    of communications based mechanism or strategy govemed under the ruies and reguiaUons of the
    Teiephone Consumer Protection Act of-1991 (TCPA), The Fair Debt Collection Practices Act or
    any laws goveming unsoiicited advertising or contacts for collections or promotion of goods or
    services?                                                                                          Yes ❑    No ~]
B. Does the organization have a contract or agreement with any third party vendor to perform the
   above services on their behaif?                                                                     Yes g    No ❑
                                   d ebi- t^Q I l eCA I Orl latX1Cy




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III. EMPLOYMENT PRACTICES LIABILITY SECTION (Please comp/ete only if coverage requesfed)
         Number of                                          Independent
                            Full time:        Part time:                         Voiunteers:             Total:
1.       Employees:                                         Contractors:

                            265                3                9                    a                :3a -7
2. List total number of Employees In the following states:
             CA                   FL     ~_            NJ                  NY                       TX            ~
3. Does the Organization anticipate making any reductions in the work force within the next                Yes ❑      No     ®
   tweive (12) months?
                                                        ~
   If "Yes", piease provide detaiis on a separate page.
4. How many Employees or Officers have been terminated within the last twelve (12) months?
   Number of Employees:              J ,35                Number of Officers:
                                                                                --~--
                                                                                          3

IV. FIDUCIARY LIABILITY SECTION (P/ease complete on/y if coverage requested)
1.    Has any pian (a) been amended within the last 12 months in a way that will resuit in the reduction
      of benefits or are any such amendments anticipated within the next 12 months; or (b) been
      merged with another pian, terminated or soid within the past 2 years or is any such merger,
      Termination, saie or freezing anticipated in the next 12 months?                                      Yes ❑       No 0
      If "Yes", please provide detaiis of impiementation, disciosure and any reievant biackout periods.
2.    Does any pian invest in a mutual fund, collective trust or simiiar investment pool that receives
      investment management services from the Organization for a fee?                                       Yes ❑       No Er
      If "Yes":
      How often are these fees reviewed by the trustees for faimess?
      Are these fees disciosed to participants?                                                             Yes ❑       No ❑
3.    Are any Plans non-compiiant with pian agreements or ERISA?
      If "Yes", piease provide detaiis on a separate page.                                                  Yes ❑       No ®

     The undersigned authorized Officer of the Organization, on behaif of the Organization and its Subsidiaries, and on
     behaif of the Directors and Officers of the Organization and its Subsidiaries deciares that to the best of hislher
     knowiedge and beiief, the information, particuiars, documents, representations and statements contained In,
     attached or referred to In this appiication for insurance and/or as a resuit of the underwriting process are true and
     accurate and recognizes that the Insurer, in issuing this poiicy, will reiy on such information, particuiars, documents,
     representations and statements.

     Although the signing of this appiication does not bind the undersigned to effect insurance, the undersigned agrees,
     on behaif of the Organization and its Subsidiaries, and on behaif of the Directors and Officers of the Organization
     and its Subsidiaries, that the information, particuiars, documents, representations and statements contained in,
     attached or refen•ed to in this appiication for insurance and/or as a resuit of the undefwriting process shall be the
     basis of the contract shouid a poiicy be issued and that this appiication will be attached to and will become part of
     such poiicy. The Insurer is hereby authorized to make any investigation and inquiry it deems necessary in
     connection with this appiication.


NOTE:       This appiication must be signed by the Chairman' of the Board, President or Executive Director and dated
            within thirty (30) days of the effective date of coverage.
            The undersigned authorized Officer agrees that if the information suppiied on this appiication changes between
            the date of this appiication and the effective date of the insurance, helshe (undersigned) will immediatefy notify
            the Insurer of such changes, and the Insurer may withdraw or modify any outstanding quotations and/or
            authorization or agreement to bind the insurance.

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 Signature                                                                  Title    ChffT E -YeC(,f-HVe             Vt"t"tCe!'
               (Chairman of the                  or Executive Dlrector)


 Date              -7 f 2.41201q                            Organization   1'"l /(jhlQn. - (IQi" kSbf/lm A)S                     InC,

Submitted By                                                        Date
                                   (Producer)


                                                  SIGNATURE REQUIRED
                                            NEW YORK FRAUD STATEMENT
Any person who knowingly and with intent to defraud any insurance company or other person files an application for
insurance or statement of ciaim containing any materially false information, or conceais for the purpose of misleading,
information concerning any fact material thereto, commits a frauduient insurance act, which is a crime, and shall also be
subject to a civil penaity not to exceed five thousand dollars and the stated vaiue of the claim for each such violation.


                                                 Applicant's Signature                                      Date

                                                  No Signature Required

             ARKANSAS, LOUISIANA, RHODE ISLAND, TEXAS AND WEST VIRGINIA FRAUD STATEMENT
Any person who knowingiy presents a faise or fraudulent claim for payment of a loss or benefit or knowingiy presents
faise information in an appiication for insurance is guiity of a crime and may be subject to fines and confinement in prison.

                                             ALABAMA FRAUD STATEMENT
Any person who knowingly presents a false or frauduient ciaim for payment of a loss or benef7t or who knowingiy presents
faise information in an appiication for insurance is guiity of a crime and may be subject to restitution fines or confinement
in p(son, or any combination thereof.
                                              ALASKA FRAUD STATEMENT
A person who knowingly and with Intent to injure, defraud, or deceive an insurance company fiies a ciaim containing false,
incompiete, or misleading information may be prosecuted under state law.

                                             ARIZONA FRAUD STATEMENT
For your protection Arizona law requires the following statement to appear on this form. Any person who knowingiy
presents a faise or fraudulent claim for payment of a loss is subject to criminal and civil penaities.

                                           CALIFORNIA FRAUD STATEMENT
For your protection, Califomia law requires that you be made aware of the following: Any person who knowingly presents
false or frauduient claim for the payment of a loss is guiity of a crime and may be subject to fines and conflnement in state
prtson.                                                             '

                                             COLORADO FRAUD STATEMENT
It is unlawful to knowingiy provide false, incompiete, or misieading facts or information to an insurance company for
                                                                                                                       the
purpose of defrauding or aftempting to defraud the company. Penalties may include imprisonment, fines, denial of
insurance, and civil damages. Any insurance company or agent of an insurance company who knowingiy provides faise,
incompiete, or misieading facts or information to a policyholder or claimant for the purpose of defrauding or attempting to
defraud the policyhoider or ciaimant with regard to a settlement or award payable from insurance proceeds shall be
reported to the Colorado division of insurance within the department of reguiatory agencies.


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                                             DELAWARE FRAUD STATEMENT
Any person who knowingiy, and with intent to Injure, defraud or deceive any insurer, fiies a statement of claim containing
any false, incompiete or misleading information is guilty of a feiony.

                                     DISTRICT OF COLUMBIA FRAUD STATEMENT
WARNING: It is a crime to provide faise, or misieading information to an insurer for the purpose of defrauding the insurer
or any other person. Penalties inciude imprisonment and/or fines. In addition, an Insurer may deny insurance benefits if
false information materially reiated to a claim was provided by the applicant.

                                              FLORIDA FRAUD STATEMENT
Any person who knowingiy and with intent to injure, defraud or deceive any insurer, fiies a statement of ciaim or an
appiication containing any false, incomplete, or misieading information is guilty of a felony of the third degree.

                                               HAWAII FRAUD STATEMENT
For your protection, Hawaii law requires you to be informed that any person who presents a frauduient claim for payment
of a loss or benefit is guiity of a crime punishabie by fines or imprisonment, or both.

                                               IDAHO FRAUD STATEMENT
Any person who knowingly, and with intent to defraud or deceive any insurance company, fiies a statement of ciaim
containing any false, incomplete or misleading information is guiity of a felony.

                                              INDIANA FRAUD STATEMENT
Any person who knowingiy and with intent to defraud an insurer files a statement of claim containing any faise,
lncompiete, or misleading information commits a feiony.

                                              KANSAS FRAUD STATEMENT
Any person who, knowingiy and with intent to defraud, presents, causes to be presented or prepares with knowledge or
belief that it will be presented to or by an insurer, purported insurer, broker or any agent thereof, any written statement as
part of, or in support of, an application for the issuance of, or the rating of an insurance poiicy for personal or commercial
insurance, or a ciaim for payment or other benefit pursuant to an insurance poiicy for commercial or personal insurance
which such person knows to contain materially false information conceming any fact material thereto; or conceais, for the
purpose of misleading, information concerning any fact material thereto commits a frauduient insurance act.
                                            KENTUCKY FRAUD STATEMENT
Any person who knowingly and with intent to defraud any insurance company or other person files an appiication for
insurance containing any materially faise information or conceals, for the purpose of misieading, information concerning
any fact material thereto commits a fraudulent insurance act, which is a crime.

                                               MAINE FRAUD STATEMENT
It is a crime to knowingiy provide false, incompiete or misieading Information to an insurance company for the purpose of
defrauding the company. Penalties may include imprlsonment, fines or a denial of insurance benefits.

                                            MARYLAND FRAUD STATEMENT
Any person who knowingly or willfuliy presents a false or frauduient claim for payment of a loss or benefit or who
knowingiy or willfully presents faise information in an applicafion for insurance is guiity of a crime and may be subject to
fines and confinement in prison.

                                            MINNESOTA FRAUD STATEMENT
Any perso~ who files a claim with intent to defraud or heips commit a fraud against an insurer is guiity of a crime.

                                         NEW HAMPSHIRE FRAUD STATEMENT
Any person who, with a purpose to injure, defraud or deceive any insurance company, fiies a statement of ciaim
containing any false, incomplete or misleading information is subject to prosecution and punishment for insurance fraud,
as provided in RSA 638:20.



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                                            NEW JERSEY FRAUD STATEMENT
Any person who includes any faise or misleading information on an appiication for an insurance policy is subject to
criminal and civil' penaities.

                                            NEW MEXICO FRAUD STATEMENT
Any person who knowingiy presents a false or fraudulent claim for payment of a loss or benefit or knowingiy presents
faise information in an appiication for insurance is guiity of a crime and may be subject to civil fines and criminal penaities.

                                                OHIO FRAUD STATEMENT
Any person who, with intent to defraud or knowing that he is faciiitating a fraud against an insurer, submits an appiication
or files a claim containing a faise or deceptive statement is guilty of insurance fraud.

                                            OKLAHOMA FRAUD STATEMENT
WARNING: Any person who knowingly and with intent to injure, defraud, or deceive any insurer, makes any claim for the
proceeds of an insurance poiicy containing any faise, incomplete or misleading information is guilty of a felony.

                                              OREGON FRAUD STATEMENT
Any person who knowingiy presents a false or frauduient claim for payment of a loss or benefit or knowingly presents
materially faise Information in an appiication for insurance may be guilty of a crime and may be subject to fines and
confinement in prison.
                                          PENNSYLVANIA FRAUD STATEMENT
Any person who knowingly and with intent to defraud any insurance company or other person files an appiication for
insurance or statement of claim containing any materially false information, or conceals for the purpose of misieading,
information concerning any fact material thereto commits a frauduient insurance act, which is a crime and subjects such
person to criminal and civil penaities.
                                           PUERTO RICO FRAUD STATEMENT
Any person who knowingiy and with the intention of defrauding presents false information in an insurance application, or
presents, helps, or causes the presentation of a frauduient ciaim for the payment of a loss or any other benefit, or
presents more than one ciaim for the same damage or ioss, shall incur a feiony and, upon conviction, shall be sanctioned
for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten thousand dollars
($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances be
present, the penaity thus estabiished may be increased to a maximum of five (5) years, if extenuating circumstances are
present, it may be reduced to a minimum of two (2) years.

                          TENNESSEE, VIRGINIA, AND WASHINGTON FRAUD STATEMENT
It is a crime to knowingiy provide faise, incomplete or misieading information to an insurance company for the purpose of
defrauding the company. Penalties include imprisonment, fines and denial of insurance benefits.




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                    EX IBIT 6
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                                                                Corporate Office
                                                                945 East Paces Ferry Rd.
                                                                Atlanta, GA 30326-1160




                   NON-PROFIT ORGANIZATION
                  MANAGEMENT LIABILITY POLICY


         NOTICE:   THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY TO
                   THOSE CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY
                   PERIOD THAT ARE REPORTED TO THE INSURER DURING THE POLICY
                   PERIOD, OR EXTENDED REPORTING PERIOD (IF APPLICABLE) AND
                   REPORTED IN ACCORDANCE WITH THIS POLICY'S REPORTING
                   PROVISIONS. THE LIMIT OF LIABILITY AVAILABLE TO PAY LOSS SHALL
                   BE REDUCED OR TOTALLY EXHAUSTED BY PAYMENT OF DEFENSE
                   EXPENSES.


                          PLEASE READ YOUR POLICY CAREFULLY



                                  CLAIM NOTICE
                          Mail notices to: RSUI Group, Inc.
                                           945 East Paces Ferry Rd.
                                           Suite 1800
                                           Atlanta, GA 30326-1160
                          Fax notices to: (404) 231-3755
                                          Attn: Claims Department
                        E-mail notices to: reportclaimsC@-rsui.com

              RSUI's Panel Counsel Finder: Panel Counsel Link



                                                                A member ofAlleghany Insurance Holdings LLC


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NON-PROFIT ORGANIZATION COMMON POLICY DECLARATIONS
                                                                                                                                      ((~ ID,
                                                                                                                                      Corporate Office
                                                                                                                                      945 E. Paces Ferry Rd.
                                                                                                                                      Suite 1800
COMPANY SYMBOL     I POLICY PREFIX 8 NUMBER      RENEWAL OF                                                                           Atlanta, GA 30326
       N            PP688510                   I NPP682977
                      • THIS IS A CLAINIS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY.•

THIS POLICY IS ISSUED BY:             RSUI Indemnity Company (hereinafter referred to as the Insurer)
ITEM 1 .    INSURED ORGANIZATION'S NAME AND MAILING ADDRESS                                             PRODUCER'S NAME AND ADDRESS

            HIGHLAND-CLARKSBURG HOSPITAL, INC.
            3 HOSPITAL PLAZA
            CLARKSBURG, WV 26301




IN CONSIDERATION OF THE PAYMENT OF THE PREMIUM, IN RELIANCE UPON THE STATEMENTS HEREIN OR
ATTACHED HERETO, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, THE INSURER AGREES TO PROVIDE THE
INSURANCE AS STATED IN THIS POLICY.

ITEM 2. POLICY PERIOD:
           FROM            8/9/2020         TO         8/9/2021                   12:01 AM Standard Time at the Insured's address as stated herein

ITEM 3. COVERAGE SECTIONS APPLICABLE TO POLICY:
                                                                                                 Purchased                 Shared Limit     Separate Limit
           A. Directors and Officers Liability Insurance                                      ® Yes ❑ No                        ®                  ❑
           B. Employment Practices Liability Insurance                                        ® Yes ❑ No                        ®                  ❑
               1) Third Party Liability Coverage                                              ® Yes ❑ No
           C. Fiduciary Liability Insurance                                                   ® Yes ❑ No                       ®                   ❑
ITEM 4. LIMIT OF LIABILITY:
           $   2,000,000                         Aggregate Limit of Liability for AII Coverage Sections

ITEM 5. PREMIUM:
           $                                     Total Policy Premium for All Coverage Sections
                                                 + WV Fire Protection Surcharge



ITEM 6. POLICY FORM AND ENDORSEMENTS MADE A PART OF THIS POLICY AT THE TIME OF ISSUE:
SEE SCHEDULE OF ENDORSEMENTS — RSG 210077 0118


THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.




Countersigned:                                                         August 04, 2020
                                                                           DATE                                    AUTHORIZED REPRESENTATIVE



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                                                                                                                      /
 NON-PROFIT ORGANIZATION DIRECTORS AND OFFICERS
 LIABILITY DECLARATIONS                                                                                                       U.
                                                                                                                   Corporate Office
                                                                                                                   945 E. Paces Ferry Rd.
                                                                                                                   Su@e 1600
                                                                                                                   Atlanta, GA 30326
 COMPANY SYMBOL     POLICY PREFIX & NUMBER
       N            PP688510

                     • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY..


THIS POLICY IS ISSUED BY:          RSUI Indemnity Company (hereinafter referred to as the Insurer)

ITEM 1.    INSURED ORGANIZATION'S NAME

           HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:

           A. Directors and Officers Limit of Liability                              $ 2,000,000
           B. Additional Side-A Limit of Liability                                   $ 500,000

ITEM 3. RETENTION:

           A. Directors and Officers Liability Retentions
              1) Insuring Agreement A                                                $
              2) Insuring Agreement B                                                $
              3) Insuring Agreement C                                                $

ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:

          Directors and Officers Prior and/or Pending Litigation Date:                   10/01/2012




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



                                                                                                               ~
Countersigned:                                                    August 04, 2020
                                                                      DATE                            AUTHORIZED REPRESENTATIVE




RSG 210078 0118                                           AmemberofAlleghanylnsuraneeHoldingsLLC                             Page 1 of 1
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NON-PROFIT ORGANIZATION EMPLOYMENT PRACTICES
LIABILITY DECLARATIONS
                                                                                                                          i o tft
                                                                                                                       Corporate Office
                                                                                                                       945 E. Paces Feny Rd.
                                                                                                                       Suite 1800
                                                                                                                       Atlanta, GA 30326
COMPANY SYMBOL      POLICY PREFIX & NUMBER   I
       N            PP688510

                     • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY.•


THIS POLICY IS ISSUED BY:         RSUI Indemnity Company (hereinafter referred to as the Insurer)

ITEM 1.    INSURED ORGANIZATION'S NAME

           HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:
           A. Employment Practices Limit of Liability                                   $ 2,000,000
              (Including Third Party Liability, if purchased)
           B. Workplace Violence Expenses Sublimit                                      $ 250,000

ITEM 3. RETENTION:
           A. Employment Practices Liability Retentions
              1) Employment Practices Liability                                         $
              2) Third Party Liability Coverage                                         $


ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:
          Employment Practices Prior and/or Pending Litigation Date:                         10/01/2012




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



Counterslgned:                                                    August 04, 2020                              ~
                                                                      DATE                                AUTHORIZED REPRESENTATIVE




RSG 210079 0118                                          A member of Alleghany Insurance Holdings LLC                            Page 1 of 1
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NON-PROFIT ORGANIZATION FIDUCIARY LIABILITY
DECLARATIONS
                                                                                                                              ~7'TLLJl
                                                                                                                          i
                                                                                                                       Corporate Office
                                                                                                                       945 E. Paces Ferry Rd.
                                                                                                                       Suite 1800
                                              I                                                                        Atlanta, GA 30326
COMPANY SYMBOL       POLICY PREFIX & NUMBER
       N             PP688510
                      • THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ IT CAREFULLY.•

THIS POLICY IS ISSUED BY:            RSUI Indemnity Company (hereinafter referred to as the Insurer)


ITEM 1.     INSURED ORGANIZATION'S NAME

            HIGHLAND-CLARKSBURG HOSPITAL, INC.




ITEM 2. LIMIT OF LIABILITY:

           Fiduciary Limit of Liability                                               $ 1,000,000

ITEM 3.,RETENTION:

           Fiduciary Liability Retention                                              $

ITEM 4. PRIOR AND/OR PENDING LITIGATION DATE:

           Fiduciary Liability Prior and/or Pending Litigation Date:                      08/19/2013

ITEM 5. FIDUCIARY LIABILITY ADDITIONAL COVERAGES:


 ADDITIONAL COVERAGES                                  SUBLIMIT                   RETENTION            PRIOR/PENDING LITIGATION DATE
 ®HIPAA Violations                                     $25,000                                         08/19/2015

 ®Voluntary Compliance Fees or Sanctions               $100,000                                        08/19/2015

 ®PPACA Civil Money Penalties                          $25,000                                         08/19/2015

 ❑ Plan Value Fiduciary Liability                      N/A                                             N/A

 ❑ Settlor Breaches of Duty                            N/A                                             N/A

 ❑ Other Penalties                                     N/A                                             N/A




THESE DECLARATIONS TOGETHER WITH THE COMPLETED, SIGNED AND DATED APPLICATION, POLICY FORMS AND
ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.



Countersigned:                                                    August 04, 2020                            ~
                                                                      DATE                              AUTHORIZED REPRESENTATIVE



RSG 210080 0118                                           AmemberofAlleghanYlnsurranceHoldingsLLC                                Page 1 of 1
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NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
SUPPLEMENTAL DECLARATIONS



POLICY NUMBER:         NPP688510
                                        SCHEDULE OF FORMS AND ENDORSEMENTS

      TITLE                                                               FORM NUMBER
      West Virginia Changes-Extended Reporting Period                     RSG 202078 0118
      West Virginia Changes-Cancellation and Nonrenewal                   RSG 203035 0118

      Disclosure Pursuance to Terrorism Risk Insurance Act                RSG 204123 0116
      Cap on Losses From Certified Acts of Terrorism                      RSG 204198 0118
      FORMS APPLICABLE TO MULTIPLE COVERAGE PARTS

      Common Policy Terms and Conditions Coverage Section-Non-Profit      RSG 211003 0118

      Amended Definition of Loss-Defense Claims for ADA                   RSG 214076 0118
      Class Action Retention                                              RSG 204181 0118

      Coverage Extension-Healthcare Organization                          RSG 214078 0118
      Coverage Extension-HIPAA                                            RSG 214077 0118

      Exclusion-Amended Bodily Injury and Property Damage                 RSG 206118 0119

      Exclusion-Biometric Privacy Claims                                  RSG 206125 0120

      Exclusion-Prior Acts                                                RSG 206108 0118

      Exclusion-Prior and or Pending Litigation Backdated-Higher Limits   RSG 206070 0118

      Exclusion-Sexual Misconduct and Child Abuse                         RSG 206076 0118

      Exclusion-Specific Entities and Individuals                         RSG 206114 0118
      Fully Non-Rescindable Coverage                                      RSG 204157 0119

      West Virginia-Full Severability                                     RSG 202107 0118
      FORMS APPLICABLE TO DIRECTORS $ OFFICERS LIABILITY

     Directors and Officers Liability Coverage Section-Non-Profit         RSG 211009 0118
     Exclusion-Malpractice                                                RSG 206107 0118

     FORMS APPLICABLE TO EMPLOYMENT PRACTICES LIABILITY

     Employment Practices Liability Coverage Section-Non-Profit           RSG 211010 0118

     Sublimit-Defense Expenses-Wage and Hour Claims                       RSG 204153 0118

     FORMS APPLICABLE TO FIDUCIARY LIABILITY

     Fiduciary Liability Coverage Section-Non-Profit                      RSG 211011 0118




RSG 210077 0118
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                                                                                 RSUI INDEMNITY COMPANY



                   This E'ndorsement Changes The Policy. Please Read It Carefully.

    WEST VIRGINIA CHANGES - EXTENDED REPORTING PERIOD
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION V. — COVERAGE EXTENSIONS, B. Extended Reporting Period of the Common Policy Terms and
Conditions Coverage Section, the last paragraph is deleted and replaced by the following:
B. Extended Reporting Period
    The rights contained in this clause shall apply in the event of cancellation resulting from non-payment of
    premium but only after the Insured Organization has paid the earned premium balance due.

AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP688510      EfPective:- 8/9/2020
RSG 202078 0118
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                                                                                RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefu/ly.

 WEST VIRGINIA CHANGES - CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The provision in SECTION V. — CONDITIONS, F. Cancellation; Renewal Provision of the Common Policy Terms
and Conditions Coverage Section which indicates that proof of mailing will be sufficient notice is deleted.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP688510     Effective: 8/9/2020
RSG 203035 0118
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                                                                                                        RSUI INDEMNITY COMPANY




THIS ENDORSEMENT IS ATTACHED TO AND MADE A PART OF THIS POLICY IN RESPONSE TO THE
DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES
NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER
THIS POLICY.

                         DISCLOSURE PURSUANT TO TERRORISM RISK
                                     INSURANCE ACT

                                                            SCHEDULE*

        Terrorism Premium                         $0

        Additional information, if any, concerning the terrorism premium:
        The portion of your premium for the policy term attributable to coverage for all acts of terrorism
        covered under this policy including terrorist acts certified under the Act is listed above.




        *Information re uired to com lete this Schedule, if not shown above, will be shown in the Declarations Pa e.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act, as amended, the Insurer is required to provide the Insured with
    a notice disclosing the portion of the Insured's premium, if any, attributable to coverage for terrorist acts certified under the
    Terrorism Risk Insurance Act. The portion of the Insured's premium attributable to such coverage is shown in the Schedule
    of this endorsement or in the policy Declarations Page.
   As defined in Section 102(1) of the Act: The term "act of terrorism" means any act or acts that are certified by the Secretary of
   the Treasury — in consultation with the Secretary of Homeland Security, and the Attorney General of the United States — to be
   an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted in
   damage within the United States, or outside the United States in the case of certain air carriers or vessels or the premises of a
   United States mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
   population of the United States or to influence the policy or affect the conduct of the United States Government by coercion.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
    program. Under the formula, the United States Government generally reimburses 85% through 2015; 84% beginning on
    January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on January 1, 2019
    and 80% beginning on January 1, 2020, of covered terrorism losses that exceeds the applicable Insurer retention. However,
    if aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in
    a calendar year, the Treasury shall not make any payment for any portion of the amount of such losses that exceeds $100
    billion.
C. Cap Insurer Participation in Payment of Terrorism Losses
    If aggregate Insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion
    in a calendar year and the Insurer has met our Insurer deductible under the Terrorism Risk Insurance Act, the Insurer will
    not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case Insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
    Treasury.


                                                                       Policy No.: NPP688510          Effective: 8/9/2020
RSG 204123 0116
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                                                                                      RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read if Carefully.

       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Terms and Conditions Coverage Section:
If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
$100 billion in a calendar year and the Insurer has met our insurer deductible under the Terrorism Risk Insurance
Act, the Insurer shall not be liable for the payment of any portion of the amount of such losses that exceeds $100
billion, and 'in such case insured losses up to that amount are subject to pro rata allocation in accordance with
procedures established by the Secretary of the Treasury.
Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in accordance with the
provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism pursuant to such Act. The criteria
contained in the Terrorism Risk Insurance Act for a Certified Act of Terrorism include the following:
1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
   insurance subject to the Terrorism Risk Insurance Act; and
2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is commifted
   by an individual or individuals, as part of an effort to coerce the civilian population of the United States or to
   influence the policy or affect the conduct of the United States Government by coercion.
The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do
not serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses
excluded by the Nuclear Exclusion.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP688510          Effective: 8/9/2020
RSG 204198 0118
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         1,                        www.l4SUlextra.com
              Online Human Resource Loss Prevention Services for
                  Directors and Officers Liability Policyholders

         Key Features
          •   Best Practice Help Line for call-in assistance
          •   Checklist database for lowering risk
          •   Links to important federal and state government sites
          •   Online library with up-to-date articles on productivity, leadership and loss prevention
          •   Sample Human Resource policies and forms
          •   Online reporting function allows the Site Administrator to monitor usage
          •   Online training modules designed for managers.and supervisors with the ability to adapt
              programs to meet their own needs. Best Practice training modules include:
                - Preventing Sexual Harassment
                - Preventing Discrimination
                - Preventing Wrongful Termination
                - Promoting Ethical Behavior

         How to get started
         1.   Designate a person to serve as the Site Administrator for your organization.
         2.   Go to www.RSUlextra.com.
         3.   Click the Register link on the left-hand side of the home page.
         4.   Enter your RSUI policy number as the Passcode/Organization Code (i.e. NHP123456).
         5.   Complete the Registration Information and click Submit.
         6.   You are now registered as the Site Administrator.

         Who is a Site Administrator?
         A Site Administrator is often a person who works with personnel or legal matters and is the
         person who will oversee the use of www.RSUlextra.com. A Site Administrator will have the
         ability to recruit and add other users as well as make training decisions.

         Questions?
         Please call The McCalmon Group at (888) 712-7667 or click CONTACT US at
         www.RSUlextra.com on the upper right hand side of the home page. You will be directed to
         The McCalmon Group for assistance.

                               This site is administered by The McCa/mon Group.


RSG 204154 0716
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                       COMMON POLICY TERMS AND CONDITIONS
                         COVERAGE SECTION (NON-PROFIT)
                       PLEASE READ YOUR POLICY CAREFULLY
                                                ~
Words and phrases that appear in bold text have special meaning. Refer to SECTION III. - DEFINITIONS.
In consideration of the, payment of premium and in reliance upon all statements made to the Insurer in the
Application, and subject to the terms, conditions, definitions, exclusions and limitations hereinafter provided, the
Insurer agrees:
SECTION 1. — COMMON POLICY TERMS AND CONDITIONS
                                                                                        .:~
The Common Policy Terms and Conditions Section of this policy shall apply to all Coverage Sections. Unless
stated to the contrary in any Coverage Section, the terms and conditions of each Coverage Section of this
policy shall apply only to that Coverage Section and shall not apply to any other Coverage Section of this
policy. If any provision in the Common Policy Terms and Conditions sections is inconsistent or in conflict with the
terms and conditions in any Coverage Section, including any endorsements attached thereto, the terms and
conditions of such Coverage Section or endorsement, shall supersede for the purposes of that Coverage
Section.
SECTION 11. - COVERAGE EXTENSIONS
A. Marital Estate
   This policy shall cover Loss arising from any Claim made against the lawful spouse or any legally recognized
   domestic partner of an Insured Person for Claims arising solely out of his or her status as the spouse or
   domestic partner of an Insured Person (where such status is derived by reason of statutory law or common
   law) where such Insured Person is entitled to coverage under this policy. Such coverage shall extend to any
   Claim in which a recovery is sought from marital community property, property jointly held by the Insured
   Person and the spouse or domestic partner, or property transferred from the Insured Person to the spouse
   or domestic partner.
   Provided, however, that this COVERAGE EXTENSION shall not extend coverage to any Claim for, arising
   from, based upon or attributable to any actual or alleged Wrongful Act of the spouse or domestic partner.
B. Extended Reporting Period
   If the Insurer shall refuse to renew this policy or the Insured Organization shall cancel or refuse to renew
   this policy, the Insured Organization shall have the right, upon payment of seventy five percent (75%) of the
   Full Annual Premium, to a period of three hundred and sixty five (365) days following the effective date of
   such cancellation or nonrenewal (herein referred to as the "Extended Reporting Period") in which to give
   written notice to the Insurer of any Claim first made against the Insured during said three hundred and sixty
   five (365) day period for any Wrongful Act occurring prior to the end of the Policy Period and otherwise
   covered by this policy. As used herein, "Full Annual Premium" means the premium stated in Item 5. of the
   Common Policy Declarations Page and any additional premium(s) charged during the Policy Period. The
   rights contained in this clause shall terminate unless written notice of such election together with the
   additional premium due is received by the Insurer at its address shown on the Declarations Page within thirty
   (30) days of the effective date of cancellation or nonrenewal.
   The Extended Reporting Period is not cancelable and the additional premium charged shall be fully earned at
   the inception of the Extended Reporting Period.
   The Limit of Liability available under the Extended Reporting Period is part of and not in addition to the Limit
   of Liability stated in Item 4. of the Declarations Page.
   The rights contained in this clause shall not apply in the event of cancellation resulting from non-payment of
   premium.
C. Estates and Legal Representatives
   This policy shall cover Loss arising from any Claim made against the estates, heirs, legal representatives or
   assigns of an Insured Person who is deceased, or against the legal representatives or assigns of an Insured
   Person who is incompetent, insolvent or bankrupt, for the Wrongful Act of such Insured Person.



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SECTION III. — DEFINITIONS
A. Application means the application attached to and forming a part of this policy, including any materials
     submitted or requested in connection with such application within 12 months prior to the inception date of this
     policy, all of which are deemed a part of this policy.
B. Claim shall have the meaning set forth in each applicable Coverage Section or any applicable endorsements
     attached to this policy.
C. Coverage Section means, individually or collectively, the purchased coverage sections listed in Item 3. of the
     Declarations, including all endorsements attached thereto.
D. Defense Expenses means reasonable and necessary legal fees and expenses incurred, with the
   Insurer's consent, by any Insured in defense of a Claim, including any appeal therefrom. Defense
   Expenses, however, shall not include:
     1. Remuneration, overhead or benefit expenses associated with any Insured Person; or
     2. Any obligation to apply for or furnish any appellate or similar bond.
E. Employment Practices Wrongful Act shall have the meaning set forth in the Employment Practices Liability
     Coverage Section, whether or not purchased.
F. Fiduciary Wrongful Act shall have the meaning set forth in the Fiduciary Liability Coverage Section, whether
     or not purchased.
G. Insured shall have the meaning set forth in each applicable Coverage Section or any applicable
     endorsements attached to this policy.
H. Insured Organization means:
     1. The organization named in Item 1: of the Declarations Page and any Subsidiary existing prior to or at
        the inception date of this policy; or
     2. Subject to SECTION V. - CONDITIONS, G. Merger, Consolidation or Acquisition of this policy, Insured
        Organization shall include any Subsidiary created or acquired after the inception date of this policy;
        or
     3. In the event a bankruptcy proceeding shall be instituted by or against the foregoing entities, the resulting
        debtor-in-possession (or equivalent status outside the United States), if any.
I.   Insured Person shall have the meaning set forth in each applicable Coverage Section or any applicable
     endorsements attached to this policy.
J. Insurer means the Company providing this insurance as shown on the Declarations Page.
K. Loss shall have the meaning set forth in each applicable Coverage Section or any applicable endorsements
     attached to this policy.
L. Policy Period means the period beginning at the inception date and ending at the expiration date stated in
     Item 2. of the Declarations Page or to any earlier policy cancellation or termination date.
M. Subsidiary means any entity of which the Insured Organization, either directly or indirectly, or through one
   or more of its Subsidiaries:
     ,
     1. Owns more than fifty percent (50%) of the voting interest; or
     2. Has the right to elect or appoint more than fifty percent (50%) of the voting directors or trustees.
     A Subsidiary ceases to be a Subsidiary when the Insured Organization no longer owns more than fifty
     percent (50%) of the voting interest, or no longer has the right to elect or appoint more than fifty percent
     (50%) of the voting directors, or trustees, either directly or indirectly, or through one or more of its Subsidiaries.
N. Wrongful Act shall have the meaning set forth in each applicable Coverage Section or any applicable
     endorsements attached to this policy.




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SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Alleging, arising out of, based upon or attributable to, directly or indirectly, the same or essentially the same
   facts underlying or alleged in any matter which, prior to the inception date of this policy, has been the
   subject of notice to any insurer of a Claim, or a potential or threatened Claim, or an occurrence or
   circumstance that might give rise to a Claim under any policy of which this insurance is a renewal or
   replacement or which it may succeed in time;
2. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   nuclear reaction, nuclear radiation, or radioactive contamination, or any related act or incident;
3. Any Telecommunications Claim, as defined below.
    A Telecommunications Claim is any Claim:
    a. Arising from, based upon, attributable to, or in consequence of any proceeding against any Insured
       brought by the Federal Trade Commission or any other federal, state or local regulatory agency or other
       administrative body alleging the violation of any federal, state or local laws or regulation pertaining to
       unsolicited or non-consensual advertising, through faxes, telephone calls, texting or any other medium;
       and/or
    b. Arising from, based upon, attributable to, or in consequence of, any actual or alleged violation of:
        (1) The Fair Debt Collection Practices Act or any amendments thereto or any rules or regulations
            promulgated thereunder, or any similar provisions of any federal, state or local statutory law or
            common law anywhere in the world;
        (2) The CAN-SPAM Act of 2003 or any amendments thereto or any rules or regulations promulgated
            thereunder, or any similar provisions of any federal, state or local statutory law or common law
            anywhere in the world;
        (3) The Telephone Consumer Protection Act (TCPA) of 1991 or any amendments thereto or any rules or
            regulations promulgated thereunder, or any similar provisions of any federal, state or local statutory
            law or common law anywhere in the world; or
       (4) Any other law, ordinance, regulation, statute or common law relating to any communication,
           distribution, publication, sending or transmission via telephone, telephone facsimile machine,
           computer or other telephonic or electronic devices.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.
SECTION V. - CONDITIONS
A. Duty to Defend
   It shall be the right and duty of the Insurer to defend any Claim against any Insured for which coverage
   applies under this policy, and the Insurer shall have the right to appoint counsel of its choosing. No Insured
   may incur any Defense Expenses, admit liability for or settle any Claim or negotiate any settlement without
   the Insurer's prior written consent; such consent not to be unreasonably withheld. Any Defense Expenses
   incurred or settlements made without the prior written consent of the Insurer will not be covered under this
   policy. The Insurer shall have the right to appoint counsel, investigate and conduct negotiations and, with the
   consent of the Insured, to enter into"the settlement of any Claim that the Insurer deems appropriate. If the
   Insured refuses to consent to a settlement acceptable to the claimant in accordance with the Insurer's
   recommendations, the Insurer's liability for all Loss on account of such Claim shall not exceed:
   1. The amount for which the Insurer could have settled such Claim plus Defense Expenses incurred as of
      the date such settlement was proposed in writing by the Insurer ("Settlement Opportunity Amount"); plus
   2. Seventy percent (70%) of covered Loss in excess of such Settlement Opportunity Amount subject to the
      policy's Limit of Liability.
   In no event shall the Insurer be liable under this policy for more than the Limit of Liability shown in Item 4. of
   the Common Policy Declarations Page.



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 B. Limit of Liability; Retention; Payment of Loss
    1. Aggregate Limit of Liability
        Regardless of Coverage Sections purchased, as stated in Item 3. of the Common Policy Declarations
        Page, the amount shown in Item 4. of the Common Policy Declarations Page is the maximum aggregate
        limit that the Insurer will pay for' all Loss under all Coverage Sections combined, arising out of any and
        all Claims first made against the Insured during the Policy Period and the Extended Reporting Period (if
        purchased) and reported in accordance with the terms and conditions of this policy.
        The Insurer will have no obligation to pay Loss or to defend or continue to defend any Claim after the
        aggregate Limit of Liability, stated in Item 4. of the Common Policy Declarations Page, has been
        exhausted by payment of Loss. Defense Expenses shall be part of and not in addition to the Limit of
        Liability and payment of Defense Expenses by the Insurer will reduce the Limit of Liability.
    2. Separate Limit of Liability
        Regardless of any Separate Limit(s) of Liability purchased, as stated in Item 3. of the Common Policy
        Declarations, the maximum limit of the Insurer's liability for all Loss for each applicable Coverage
        Section purchased shall not exceed the Separate Limit of Liability as stated in Item 2. of each applicable
        Declarations for each applicable Coverage Section. Where two or more Separate Limits of Liability are
        or could be applicable to one Claim or series of interrelated Claims deemed to be a single Claim
        pursuant to Section V.B.4. below, the larger of the applicable Separate Limits of Liability shall apply, but
        in no event shall naore than one Separate Limit of Liability apply to any Claim or series of interrelated
        Claims and in no event shall the Insurer be obligated to pay Loss or to defend or continue to defend any
        Claim after the Insurer has paid the applicable Separate Limit of Liability or the Aggregate Limit of
        Liability per Section V.B.1. of these Common Policy Terms and Conditions.
    3. As a condition precedent to coverage under this policy, the Insured shall pay with respect to each Claim
       the applicable Retention amount, as identified in Item 3. of the Declarations Page for each applicable
       Coverage Section or as otherwise identified. The Retention amount shall be reduced solely by covered
       Loss and shall be applied to all Loss, including Defense Expenses, and the Insurer shall only be liable
       for the amount of Loss that is excess of the stated Retention amount.
    4. AII Claims based on, arising out of, directly or indirectly resulting from, in consequence of, or in any way
       involving the same or related facts, circumstances, situations, transactions or events, or the same or
       related series of facts, circumstances, situations, transactions or events, shall be deemed to be a single
       Claim for all purposes under this policy, shall be subject to the Retention stated in Item 3. of the
       Declarations Page for each applicable Coverage Section, or other applicable Retention, and shall be
       deemed first made when the earliest of such Claims is first made, regardless of whether such date is
       before or during the Policy Period.
   5. In the event that a Claim implicates more than one Retention amount, then the largest of the applicable
      Retention amounts shall be applied, but in no event shall more than one Retention amount be applied to
      a Claim.
   6. Any Retention amount applicable to a Claim against an Insured Person shall apply where
      indemnification by the Insured Organization is permitted or required, regardless of whether the
      Insured Organization has agreed, failed or refused to indemnify such Insured Person, provided it shall
      not apply when indemnification cannot be made by the Insured Organization by reason of the Insured
      Organization's financial insolvency.
   7. The Insurer's duty to defend the Insured and pay Defense Expenses ends upon exhaustion of the Limit
      of Liability, which includes paying or tendering the Limit of Liability into court.
   8. Except for payment of Defense Expenses, the Insurer shall pay for Loss only upon final disposition of
       any Claim.
C. Notice of Claim or Circumstance
   1. If, during the Policy Period or Extended Reporting Period (if applicable), any Claim is first made, it shall
      be a condition precedent to the Insurer's obligation to pay, that the Insured give written notice of such
      Claim to the Insurer as soon as practicable after such Claim is first made, but in no event shall such
       notice be given later than sixty (60) days after either the Policy Period expires or any earlier cancellation
       date of this policy.



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    2. If, during the Policy Period or Extended Reporting Period (if applicable), any Insured first becomes
       aware of any facts or circumstances which may'reasonably be expected to give rise to a Claim against
       any Insured for any Claim made against the Insured for any Wrongful Act occurring prior to the end of
       the Policy Period, and as soon as practicable thereafter, but before the expiration date or any earlier
       cancellation date of this policy, gives to the Insurer written notice, of such facts or circumstances along
       with the full particulars described below, then any Claim subsequently made against any Insured
       arising out of such facts or circumstances will be deemed first made during the Policy Period. The
       written notice shall include, at a minimum:
       a. The names or identity of the potential claimants and a detailed description of the specific alleged
          Wrongful Act; and
       b. The circumstances by which the Insured first became aware of the specific alleged Wrongful Act.
   Further, if any Claim first made after the Policy Period expires is nonetheless deemed to be made during the
   Policy Period pursuant#o Section V.B.4., then it is a condition precedent to coverage for such Claim that the
   Insured report it to the Insurer as soon as practicable.
D. Cooperation
   In the event of a Claim or notice of circumstances under SECTION V. - CONDITIONS, C. Notice of Claim or
   Circumstance of this policy, the Insured will provide the Insurer with all information, assistance and
   cooperation that the Insurer reasonably requests, and will take no action, without the Insurer's prior
   written consent, that might prejudice the Insured's or the Insurer's position, potential or actual rights, or
   defense under this policy.
E. Allocation
   If both Loss covered under this policy and loss not covered under this policy are jointly incurred either
   because a Claim includes both covered and non-covered matters or covered and non-covered causes of
   action or because a Claim is made against both an Insured and any other parties not insured by this policy,
   then the Insured and the Insurer shall use their best efforts to fairly and reasonably allocate payment under
   this policy between covered Loss and non-covered loss based on the relative legal exposures of the parties
   with respect to covered and non-covered mafters or covered and non-covered causes of action.
   If the Insurer and the Insured agree on an allocation of Defense Expenses, based on covered and non-
   covered matters or persons, the Insurer shall advance Defense Expenses allocated to covered Loss. If
   there is no agreement on an allocation of Defense Expenses, the Insurer shall advance Defense Expenses
   that the Insurer believes to be covered under this policy until a different allocation is negotiated, arbitrated, or
   judicially determined.
   Any negotiated, arbitrated or judicially determined allocation of Defense Expenses on account of a Claim
   shall be applied retroactively to all Defense Expenses on account of such Claim, notwithstanding any prior
   advancement to the contrary. Any advancement or allocation of Defense Expenses on account of a Claim
   shall not apply to or create any presumption with respect to the allocation of other loss on account of such
   Claim.
F. Cancellation; Renewal Provision
   The Insured Organization may cancel this policy at any time by written notice or by surrender of this policy
   to the Insurer at its address shown on the Declarations Page.
   This policy may only be cancelled by or on behalf of the Insurer in the event the Insured Organization fails
   to pay any premium when due. In the event of non-payment of premium by the Insured Organization, the
   Insurer may cancel this policy upon ten (10) days wriften notice. The Insurer will mail notice to the Insured
   Organization's address as shown in Item 1. of the Declarations Page. The mailing of such notice as
   aforesaid shall be sufficient proof of notice.
   If the Insured Organization cancels this policy, the Insurer will retain the customary short rate proportion of
   the premium hereon.
   The Insurer shall not be required to renew this policy upon its expiration. The offer by the Insurer of renewal
   terms, conditions, Limit of Liability and/or premiums varying from those of the expiring policy shall not
   constitute a refusal to renew.
   If the Insurer decides not to renew this policy, the Insurer will mail or deliver to the Insured Organization
   written notice of non-renewal, stating the reasons for non-renewal, at least sixty (60) days prior to the
   expiration date of this policy.
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     Any notice of non-renewal will be mailed or delivered to the Insured Organization's last mailing address
     known to the Insurer. If notice is mailed, proof of mailing will be sufficient proof of notice.
 G. Merger, Consolidation or Acquisition
     1. If, after this policy's inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets do not exceed twenty five percent (25%) of the total consolidated assets of the Insured
        Organization, not including the assets of the created or acquired Subsidiary, such Subsidiary shall be
        deemed to qualify as an Insured Organization, but solely for a Wrongful Act that takes place on or after
        the effective date of such creation or acquisition.
     2. If, after this policy's inception date, the Insured Organization creates or acquires a Subsidiary whose
        assets exceed twenty five percent (25%) of the total consolidated assets of the Insured Organization,
        not including the assets of the created or acquired Subsidiary, such Subsidiary shall be deemed to
        qualify as an Insured Organization, but solely for a Wrongful Act that takes place within the first ninety
        (90) days after the date of such creation or acquisition. After this ninety (90) day period, the created or
        acquired Subsidiary shall no longer be deemed an Insured Organization, unless:
         a. Written notice of the Subsidiary's creation or acquisition has been provided to the Insurer by the
            Insured Organization, as soon as practicable, and in no event later than ninety (90) days after the
            date of the creation or acquisition;
         b. The Insured Organization has provided the Insurer with any additional information the Insurer may
            request;
         c. The Insured Organization has agreed to the terms, conditions, exclusions and additional premium
            charge as may be required by the Insurer; and
         d. The Insurer, at its sole discretion, has agreed in writing to extend the coverage of this policy to the
            created or acquired Subsidiary.
     3. If during the Policy Period:
         a. The Insured Organization shall consolidate with or merge into, or sell all or substantially all of its
            assets to any other person or entity or group of persons or entities acting in concert; or
         b. Any person or entity or group of persons or entities acting in concert shall acquire an amount of more
            than fifty percent (50%) of the voting power for the election of directors of the Insured Organization;
                  (either of the above events in 3. a. or b. are hereunder referred to as the "Transaction" ),
         then this policy shall continue in full force and effect for any Wrongful Act occurring prior to the effective
         time of the Transaction, but there shall be no coverage afforded by any provision of this policy for any
         actual or alleged Wrongful Act occurring after the effective time of the Transaction. This policy may not
         be cancelled after the effective time of the Transaction and the premium for this policy shall be deemed
         fully earned as of such time.
         The Insured Organization shall give the Insurer written notice of the Transaction as soon as practicable,
         but not later than thirty (30) days after the effective date of the Transaction.
H. Representations
     The Insured represents that the information, particulars, documents, representations and statements
     contained in the Application are complete, true and accurate; are deemed incorporated into and constituting
     part of this policy; are material to the acceptance of the risk assumed by the Insurer under this policy. This
     policy is issued in reliance upon the truth of such representations. No knowledge or information possessed
     by any Insured will be imputed to any other Insured. If any of the information, particulars, documents,
     representations and statements contained in the Application are untrue, this policy will be void with respect
     to any Insured who knew of such untruth.
I.   No Action Against Insurer
     No action may be taken against the Insurer unless, as a condition precedent thereto, there has been full
     compliance with all of the terms and conditions of this policy and until the amount of any Insured's obligation
     to pay Loss has been finally determined either by judgment against such Insured after adjudicatory
     proceedings, or by written agreement of the Insured, the claimant and the Insurer.
     No Insured has any right under this policy to join the Insurer as a party to any Claim against an Insured to
     determine the liability of such Insured, nor shall the Insurer be impleaded by an Insured or his, her or its
     legal representative in any such Claim.

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 J. Subrogation
    In the event the Insurer makes any payment under this Policy, the Insurer shall be subrogated to all of the
    rights of recovery of the Insured, who shall execute all papers and take all necessary actions to secure such
    rights, including the execution of any documents necessary to enable the Insurer to effectively bring suit in
    the name of an Insured.
K. Authorization and Notices
    The Insured Persons agree that the Insured Organization shown in Item 1. of the Declarations Page acts
    on their behalf with respect to giving and receiving all notices and return of premium from the Insurer.
L.Changes
    Notice to any agent or knowledge possessed by any agent or representations by persons acting on behalf of
    the Insurer do not effect a waiver or change in any part of this policy or estop the Insurer from asserting any
    right under the terms, conditions and limitations of this policy. The terms, conditions and limitations of this
    policy can only be waived or changed by written endorsement.
M. Assignment
    Assignment of interest under this policy does not bind the Insurer without its prior written consent.
N.Acceptance
    The Insureds agree that this policy, including the Application and any endorsements, constitutes the entire
    agreement between them and the Insurer relating to this insurance policy.
O. Headings
    The description in the headings and sub-headings of this policy are solely for convenience, and form no part
    of the terms and conditions of coverage.
P. Governing Law Clause
                                                     ,                                                              -
    This policy shall, to the extent permitted by applicable law, be construed in accordance with the laws of the
    state or jurisdiction of incorporation or organization of the Insured Organization shown in Item 1. of the
    Declarations Page or, in the case of matters pertaining to a Subsidiary, the laws of the state or jurisdiction of
    incorporation or organization thereof.
Q. Territory
    This policy shall apply to Claims made against any Insured anywhere in the world.
R. Other Insurance
    Unless specifically stated otherwise, the insurance provided under this policy shall apply only as excess over
    any other valid and collectible insurance, unless such other insurance is written as specific excess insurance
    over the Aggregate Limit of Liability or Shared Limit of Liability provided by this policy. Any coverage
    otherwise available under any Coverage Section shall be specifically excess over any other valid and
    collectible insurance pursuant to which any other insurer has a duty to defend a Claim for which this policy
    may be obligated to pay Loss.


In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.



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                      Secretary                                                      President




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                                                                                    RSUI INDEMNITY COMPANY



                    This E'ndorsement Changes The Policy. Please Read !t Carefully.

 AMENDED DEFINITION OF LOSS - DEFENSE CLAIMS FOR ADA
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

A. SECTION III. — DEFINITIONS, E. of the Directors and Officers Liability Coverage Section is deleted and
   replaced by the following:
   E. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and
      postjudgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense
      Expenses) shall not include:
       1. Any amount for which the Insureds are not financially.liable or for which there is not legal recourse to
          the Insureds;
       2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or
          any other type of contract;
       3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
          payments, or settlement amounts representing employment related benefit payments;
       4. The cost of creating or reinstating employment;
       5. Any amounts owed to any Employee as wages or compensation previously incurred or vested
          without regard to any Claim;
       6. Civil criminal fines or penalties;
       7. Taxes, whether owed to or by any Insured;
       8. Any liability, or costs incurred, due to any Insured's obligation to modify any building or property in
          order to make such building or property more accessible or accommodating to any disabled person,
          or any liability or costs incurred in connection with any educational, sensitivity or other corporate
          program, policy or seminar;
       9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
       The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
       multiplied damage award, if and where insurable. For purposes of determining whether punitive or
       exemplary damages, or the multiplied portion of any multiplied damage award arising from any Claim
       shall be insurable by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to
       such Claim and is most favorable to the Insured in that regard.
B. SECTION III. — DEFINITIONS, G. of the Employment Practices Liability Coverage Section is deleted and
   replaced by the following:
   G. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and
      postjudgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense
      Expenses) shall not include:
       1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to
          the Insureds;
       2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or
          any other type of contract;
       3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
          payments, or settlement amounts representing employment related benefit payments;
       4. The cost of creating or reinstating employment;
       5. Any amounts owed to any Employee as wages or compensation previously incurred or vested

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            without regard to any Claim;
        6. Civil criminal fines or penalties;
        7. Taxes, whether owed to or by any Insured;
        8. Any liability, or costs incurred, due to any Insured's obligation to modify any building or property in
           order to make such building or property more accessible or accommodating to any disabled person,
           or any liability or costs incurred in connection with any educational, sensitivity or other corporate
           program, policy or seminar relating to an Employment Practices Claim;
        9. Matters that may be uninsurable under the law pursuant to which this policy shali be construed
        The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied pon:ion of any
        multiplied damage award, if and where insurable. For purposes of determining whether punitive or
        exemplary damages, or the multiplied portion of any multiplied damage award arising from any Claim
        shall be insurable by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to
        such Claim and is most favorable to the Insured in that regard.

AII other terms and conditions of this policy remain unchanged.




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                                                                                 RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefully.

                                 CLASS ACTION RETENTION
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Declarations Page:
ITEM 7. RETENTION:
         $_                  Each claim for an actual or putative class action
AII other terms and conditions of this policy remain unchanged.




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                                                                                       RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefully.

       COVERAGE EXTENSION - HEALTHCARE ORGANIZATION
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

A. SECTION III. - DEFINITIONS D. Insured Person in the Directors and Officers Liability Coverage Section and
   F. Insured Person in the Employment Practices Liability Coverage Section is amended to include the
   following:
   Insured Person shall include any past, present or future member of any duly constituted committee
   ("Committee Member"), any individual person engaged by a duly constituted committee for purposes of
   providing an expert opinion with regard to peer review or credentialing decision concerning an individual
   physician ("Outside Expert"), any individual in charge of any operational department ("Department Head") or
   any stafP physician or faculty member of the Insured Organization, regardless of whether they are
   considered as an Employee of the Insured Organization or an independent contractor.
B. SECTION III. - DEFINITIONS E. Loss in the Directors and Officers Liability Coverage Section and G. Loss in
   the Employment Practices Liability Coverage Section is amended to include the following:
   1. IRS Fines
       Loss shall include Defense Expenses incurred in connection with a Claim seeking an assessment of
       taxes, initial taxes, additional taxes, tax deficiencies, excise taxes or penalties pursuant to the following
       sections of the Internal Revenue Code of 1986 (as amended):
       Section 4911 (tax on excess expenditures to influence legislation);
       Section 4940 (a) (tax on net investment income of tax-exempt foundations);
       Section 4941 (taxes on self-dealing);
       Section 4942 (taxes on failure to distribute income);
       Section 4943 (taxes on excess business holding);
       Section 4944 (taxes on investments which jeopardize charitable purpose);
       Section 4945 (taxes on taxable expenditures);
       Section 6652 (c) (1) (A) and (B) (penalties for failure to file certain information returns or registration
       statements);
       Section 6655 (a) (1) (penalties for failure to pay estimated income tax); and
       Section 6656 (a) and (b) (penalties for failure to make deposit of taxes).
   2. Excess Benefit Penalty Coverage
       Loss shall include the ten percent (10%) "Excess Beneflt" penalty which might be assessed by the
       Intemal Revenue Service against any individual Insured Person for management involvement in the
       award of an "Excess Benefit".
       No coverage shall be provided by this policy for any individual Insured Person subject to the twenty five
       percent (25%) "Excess Benefit" penalty assessed by the Internal Revenue Service against any such
       Insured Person as a"disqualified person"; provided, however, that Defense Expense incurred in
       connection with the twenty five percent (25%) "Excess Benefit" penalty shall be provided to such Insured
       Person.
       Under no circumstances shall the Insurer be liable for the payment of Loss attributable to any two
       hundred percent (200%) penalty assessed by the Internal Revenue Service for failure to correct the
       award of an "Excess Benefit."


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        For purposes of this endorsement, the terms "Excess Benefit" and "disqualified person" shall be defined
        in the `Taxpayer Bill of Rights 2", (H.R. 2337, P.L. 104-168).
    3. EMTALA Coverage
        Loss shall include the fines, penalties and Defense Expenses resulting from any Claim arising out of or
        in connection with an actual or alleged violation of the Emergency Medical Treatment and Active Labor
        Act ("EMTALA"), 42 U.S.C., 1396dd et seq., and any similar state or local statute.
    4. Government Funding Defense Expense Coverage
        Loss shall not include the return of funds which were received from any federal, state or local
        governmental agency; provided, however, that with respect to any Claim arising out of the return or
        request to return, such funds, and subject to a Retention amount of              the Insurer shall pay
        Defense Expenses up to a total of $1,000,000 incurred by the Insured on a fifty percent (50%)
        coinsurance basis, with fifty percent (50%) of such Defense Expenses to be borne by the Insured and to
        remain uninsured; and the remaining fifty percent (50%) of such Defense Expenses to be covered by the
        Insurer subject to all other terms, conditions and exclusions of this policy.
        Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage
        for any Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with
        Policy terms and conditions, the Retention normally applicable in such situations shall apply to such
        Claim, and the Retention stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




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                                                                                 RSUI INDEMNITY COMPANY



                     This Endorsement Changes The Policy. Please Read It Carefully.

                            COVERAGE EXTENSION - HIPAA
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY

SECTION III. — DEFINITIONS, E. Loss of the Directors and Officers Liability Coverage Section and G.
Loss of the Employment Practices Liability Coverage Section shall be amended by adding the following:
Notwithstanding anything in this DEFINITION to the contrary, Loss shall include any civil money penalties
imposed upon an Insured for violation of Title II of the Health Insurance Portability and Accountability Act
("HIPAA"), amendments to such law or regulations promulgated under such law concerning privacy of
health information; provided the Insurers maximum aggregate Limit of Liability for all such civil money
penalties on account of all Claims first made during the Policy Period shall be $25.000. This sublimit shall
be one sublimit only, regardless of the number of Coverage Sections purchased by any or all Insureds, and shall
be part of and not in addition to the amount set forth in Item 4. of the Common Policy Declarations Page.
A Retention in the amount of         shall apply to any Loss arising from a Claim alleging violation of
HIPAA. Such retention shall be borne by the Insured, and the Insurer shall only be liable for the amount
of Loss arising from a HIPAA Claim which is in excess of the above stated retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with Policy terms and
conditions, the Retention normally applicable in such situations shall apply to such Claim, and the Retention
stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




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                    This E'ndorsement Changes The Policy. Please Read It Carefully.

                  EXCLUSION - AMENDED BODILY INJURY AND
                            PROPERTY DAMAGE
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

A. SECTION IV. — EXCLUSIONS, 6, of the Directors and Officers Liability Coverage Section is deleted and
   replaced with the following:
    6. Alleging, arising out of, based upon, attributable to, or in any way involving, directly or indirectly, bodily
       injury, sickness, disease or death of any person, mental anguish or emotional distress; damage to or
       destruction of any tangible property, including loss of use thereof, whether or not such property is
       physically damaged;
B. The first paragraph of SECTION IV. — EXCLUSIONS, 2. of the Employment Practices Liability Coverage
   Section is deleted and replaced with the following:
    2. Alleging, arising out of, based upon, attributable to, or in any way involving, directly or indirectly:
        a. Bodily injury, sickness, disease or death of any person, mental anguish or emotional distress;
           provided, this EXCLUSION 2.a. will not apply to allegations of inental anguish or emotional distress
           made solely in connection with an Employment Practices Claim or a Claim for Third Party
           Discrimination and/or Third Party Harassment; or
        b. Damage to or destruction of any tangible property, including loss of use thereof, whether or not such
           property is physically damaged;
AII other terms and conditions of this policy remain unchanged.




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                                                                                       RSUI INDEMNITY COMPANY



                    This E'ndorsement Changes The Policy. P/ease Read It Careful/y.

                    EXCLUSION - BIOMETRIC PRIVACY CLAIMS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Directors and Officers Liability Coverage Section
and Employment Practices Liability Coverage Section:
The Insurer shall not be liable to make any payment for Loss under this policy in connection with any Claim
made against any Insured alleging, arising out of, based upon, attributable to, or in any way involving, directly or
indirectly, in whole or in part, any actual or alleged violation of Biometric Privacy Information.
For the purpose of this endorsement, Biometric Privacy Information is defined as the Biometric Information
Privacy Act ("BIPA"), the California Consumer Privacy Act ("CCPA"), or any federal, state, municipal or local
statutory biometric privacy law or any such similar law or statute anywhere in the world that governs or relates to
the collection, use, safeguarding, handling, storage, retention or destruction of biometric identifiers, biometric data
or biometric information of any kind, including but not limited to retina or iris scans, fingerprints, voiceprints or
scans of hand or face geometry.
AII other terms and conditions of this policy remain unchanged.




                                                         Policy No.: NPP688510          Effective: 8/9/2020
RSG 206125 0120
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                                                                                       RSUI INDEMNITY COMPANY



                    This Endorsemenf Changes The Policy. P/ease Read It Carefully.

                                   EXCLUSION - PRIOR ACTS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Common Policy Terms and Conditions Coverage
Section:
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured that alleges, arises out of, is based upon or attributable to, directly or indirectly, in whole or in part, any
actual or alleged Wrongful Acts which first occurred prior to October 01, 2012.
AII other terms and conditions of this policy remain unchanged.




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                                                                                       RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read !t Carefully.

 EXCLUSION - PRIOR AND/OR PENDING LITIGATION BACKDATED
                     (HIGHER LIMITS)
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION IV. - EXCLUSIONS, 4. of the Directors and Officers Liability Coverage Section, 1. of the Employment
Practices Liability Coverage Section and 1. of the Fiduciary Liability Coverage Section are deleted and replaced
with the following:
    Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
    that was commenced or initiated prior to, or pending as of October 01. 2012 for $1,000,000, or arising out of
    or based upon, in whole or in part, any facts or circumstances underlying or alleged in any such prior or
    pending litigation.
    With respect to the portion of the Limit of Liability that is $1,000,000 excess $1,000.000, the Irisurer shall not
    be liable to make any payment for Loss arising out of or in connection with any Claim made against any
    Insured arising out of, based upon or attributable to, in whole or in part, litigation prior to or pending as of
    August 09, 2007.
AII other terms and conditions of this policy remain unchanged.




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                                                                                      RSUI INDEMNITY COMPANY



                    This Endorsement Changes The Policy. Please Read It Carefully.

        EXCLUSION -SEXUAL MISCONDUCT AND CHILD ABUSE
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Directors and Officers Liability Coverage Section
and the Employment Practices Liability Coverage Section:
The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim
(including but not limited to any derivative or representative class actions) made against any Insured alleging,
arising out of, based upon or attributable to or in any way involving, directly or indirectly, any Sexual Misconduct,
child abuse or neglect, including but not limited to the employment, supervision, reporting to the proper
authorities, failure to so report or retention of any person.
Sexual Misconduct means any licentious, immoral or sexual behavior, sexual abuse, sexual assault or
molestation or any sexual act against any individual.
AII other terms and conditions of this policy remain unchanged.




                               ~




                                                        Policy No.: NPP688510          EfFective: 8/9/2020
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                                                                                       RSUI INDEMNITY COMPANY



                      This Endorsement Changes The Policy. Please Read It Carefully.

          EXCLUSION - SPECIFIC ENTITIES AND INDIVIDUALS
This endorsement modifies insurance provided under the following:

                       NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                          PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Common Policy Terms and Conditions Coverage
Section:
The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim made
against any Insured which is brought by or on behalf of the following entities or individuals:

 HHA, Inc.


including, but not limited to any Claim brought by any director, officer, heir, trustee or partner of the entity, or by
any security holder thereof, whether such Claim is brought directly or derivatively.

AII other terms and conditions of this policy remain unchanged.




                                                           Policy No.: NPP688510           Effective: 8/9/2020
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                                                                                    RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read It Carefully.

                      FULLY NON-RESCINDABLE COVERAGE
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to the Common Policy Terms and Conditions Coverage Section:
Notwithstanding anything contained in this policy to the contrary, the coverage provided under this policy shall be
non-rescindable by the Insurer.
AII other terms and conditions of this policy remain unchanged.




                                                       Policy No.: NPP688510         EfPective: 8/9/2020
RSG 204157 0119
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                                                                                    RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. Please Read if Carefully.

                        WEST VIRGINIA - FULL SEVERABILITY
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

SECTION V. — CONDITIONS, H. Representations of the Common Policy Terms and Conditions Coverage
Section is deleted and replaced by the following:
H. Representations
    The Insured represents that the information, particulars, documents, representations and statements
    contained in the Application are complete, true and accurate; are deemed incorporated into and constituting
    part of this policy; are material to the acceptance of the risk assumed by the Insurer under this policy. This
    policy is issued in reliance upon the truth of such representations. No knowledge or information possessed
    by any Insured will be imputed to any other Insured. If any of the information, particulars, documents,
    representations and statements of material fact contained in the Application are untrue, this policy shall not
    afford coverage to any Insured who knew of such untruth.
AII other terms and conditions of this policy remain unchanged.




                                                        Policy No.: NPP688510         EfFective: 8/9/2020
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                         DIRECTORS AND OFFICERS LIABILITY
                          COVERAGE SECTION (NON-PROFIT)
                        PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Common Policy Declarations Page, and in consideration of the
payment,of premium, and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in the Common Policy Terms
and Conditions, the Insurer agrees:
SECTION I. - INSURING AGREEMENTS
Directors and Officers Liability
A. With the Insured Person, that if a Claim for a Wrongful Act is first made against any Insured Person during
   the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or
   Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will pay on behalf of
   such I'nsured Person all Loss such Insured Person is legally obligated to pay, except and to the extent that
   the Insured Organization is required or permitted to indemnify such Insured Person for such Loss.
B. With the Insured Organization, that if a Claim for a Wrongful Act is first made against any Insured Person
   during the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim
   or Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will pay on behalf of the
   Insured Organization all Loss for which the Insured Organization is required or permitted to indemnify the
    Insured Person.
C. With the Insured Organization, that if a Claim for a Wrongful Act is first made against the Insured
   Organization during the Policy Period and reported in accordance with SECTION V. — CONDITIONS, C.
   Notice of Claim or Circumstance in the Common Policy Terms and Conditions of this policy, the Insurer will
   pay on behalf of the Insured Organization all Loss the Insured Organization is legally obligated to pay.
Notwithstanding anything contained in this policy to the contrary, the coverage provided under SECTION I.
INSURING AGREEMENTS A. and B. shall be non-rescindable by the Insurer.
SECTION II. — COVERAGE EXTENSIONS
A. Outside Board Extension
   This policy shall cover Loss arising from an Insured Person having served, at the direction of and with the
   consent of the Insured Organization, as Director, Officer, or Trustee for any eleemosynary corporation or
   other not for profit organization where such Insured Person is entitled to indemnification by the Insured
   Organization.
   This COVERAGE EXTENSION shall be excess of any indemnification and/or insurance that may be permitted
   or provided by such eleemosynary corporation or organization, regardless of payment made by or on behalf of
   such eleemosynary corporation or organization, including but not limited to any other Director and Officer
   Liability Insurance or similar insurance provided for, to, or by any such eleemosynary corporation or
   organization.
B. Additional Side-A Limit of Liability
   If a limit is shown in Item 2.6 of the Directors and Officers Liability Declarations, then there shall be an
   addition to the maximum aggregate Limit of Liability available under this Directors and Officers Coverage
   Section. This amount shall be in addition to the Limit of Liability as set forth in Item 2.A. of the Directors and
   Officers Liability Declarations Page and shall be available solely for Loss resulting from a Claim against any
   Insured Persons covered under SECTION I. INSURING AGREEMENT A. of this coverage section, and shall
   be subject to the following additional conditions:
   (1) Any Loss resulting from a Claim against any Insured Persons covered under SECTION I. INSURING
       AGREEMENT A. of this Directors and Officers Coverage Section shall first be paid under the Limit of
       Liability as set forth in Item 2.A. of the Directors and Officers Liability Declarations Page, and such Limit of
       Liability must be completely exhausted by payment of Loss under SECTION 1. INSURING


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        AGREEMENTS A., B., and/or C. of this Directors and Officers Coverage Section before Loss shall be
        paid under the additional Limit of Liability dedicated for Insured Persons: and
    (2) The additional Limit of Liability dedicated for Insured Persons shall be excess of any insurance available
        that is specifically excess of this policy and such excess insurance must be completely exhausted by
        payment of Loss thereunder before the Insurer shall have any obligation to make any payment on
        account of the additional Limit of Liability dedicated for Insured Persons.
SECTION III. - DEFINITIONS
A. Claim, either in' the singular or the plural, means:
    1. A written demand for monetary or non-monetary relief;
    2. A civil, criminal, administrative, regulatory or arbitration proceeding, or arbitration demand for monetary or
       non-monetary relief which is commenced by:
        a. Receipt or service of a complaint or similar pleading;
        b. Return of an indictment or filing of information; or
        c. Receipt of a notice of charges;
    3. A written request to an Insured to toll or waive a statute of limitations regarding a potential Claim,
       commenced by the receipt of such request by the Insured.
B. Employee means any past, present or future employee of the Insured Organization, whether such
   employee is in a supervisory, co-worker or subordinate position or otherwise, including any full-time, part-
   time, seasonal, and temporary employee or volunteers of the Insured Organization. An individual who is
   leased or contracted to the Insured Organization shall also be an Employee, but only if the Insured
   Organization provides indemnification to such leased or contracted individual in the same manner as is
   provided to the Insured Organization's employees.
C. Insured means any Insured Organization and/or any Insured Person.
D. Insured Person means:
   1. Any past, present or future director, officer, trustee, Employee, advisory board member or any committee
      member of a duly constituted committee of the Insured Organization; or
   2. In the event the Insured Organization or a Subsidiary thereof operates outside the United States, then
      the term Insured Person also means those titles, positions or capacities for such foreign Insured
      Organization or Subsidiary that are equivalent to the positions of directors or officers in the United
      States.
E. Loss means damages, settlements, judgments (including pre- and postjudgment interest on a covered
   judgment) and Defense Expenses. Loss (other than Defense Expenses) shall not include:
   1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
       Insureds;
   2. Amounts owed under any contract, partnership, stock or other ownership agreement, or any other type of
       contract;
   3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
       payments, or settlement amounts representing employment related benefit payments;
   4. The cost of creating or reinstating employment;
   5. Any amounts owed to any Employee as wages, compensation, severance or benefits previously incurred
       or vested without regard to any Claim;
   6. Civil or criminal fines or penalties;
   7. Taxes, whether owed to or by any Insured;
   8. Amounts, including Defense Expenses, arising out of, based upon or attributable to actual or alleged
       liability or costs incurred by any Insured to modify any building or property in order to make such building
       or property more accessible or accommodating to any disabled person;
   9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
   The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
   multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
   damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
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    by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
    most favorable to the Insured in that regard.                     '
F. Personal Injury Wrongful Act shall mean any actual or alleged:
    1. False arrest, wrongful detention or imprisonment, or malicious prosecution;
    2. Libel, slander, defamation of character or invasion of privacy;
    3. Wrongful entry, eviction or other invasion of the right of occupancy;
    4. Infringement of copyright or trademark or other unauthorized use of title; or
    5. Plagiarism or misappropriation of ideas.
    However, Personal Injury Wrongful Act shall not include:
       a. Publication or utterance concerning any organization or business enterprise or its products or
          senrices made by or at the direction of an Insured with knowledge of the falsity thereof; or
        b. The printing of periodicals, advertising matter, or any or all jobs taken by any Insured to be printed for
           a third party when the periodical, advertising matter or other printing is not a regular part of the
           Insured's own activities.
G. Wrongful Act means any actual or alleged act, error, omission, misstatement, misleading statement, neglect
   or breach of duty, or Personal Injury Wrongful Act, by:
   1. An Insured Person while acting in his or her capacity as such and on behalf of the Insured Organization
      or any matter claimed against them solely by reason of their status as an Insured Person; or
    2. The Insured Organization.
SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Based upon, arising out of or attributable to the gaining by any Insured of any profit or advantage to which
   such Insured was not legally entitled; provided, this EXCLUSION shall not apply unless a judgment or other
   final adjudication adverse to such Insured establishes that the Insured gained such profit or advantage;
2. Based upon, arising out of, directly or indirectly resulting from or in consequence of, or in any way involving
   any criminal or deliberate fraudulent act; provided, this EXCLUSION shall not apply unless a judgment or
   other final adjudication adverse to any Insured in the Claim shall establish that such Insured committed such
   criminal or fraudulent act;
3. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have been liable in the absence of such contract or agreement;
4. Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
   that was commenced or initiated prior to, or was pending on or before the date referenced in Item 4. of the
   Directors and Officers Liability Declarations Page, or arising out of or based upon, in whole or in part, any
   facts or circumstances underlying or alleged in any such prior or pending litigation;
5. Alleging, arising out of, based upon or attributable to any workers' compensation, disability benefits, unemployment
   compensation, unemployment insurance, retirement benefits, social security benefits or similar law;
6. For actual or alleged bodily injury, sickness, disease or death of any person, mental anguish or emotional
   distress; damage to or destruction of any tangible property, including loss of use thereof, whether or not such
   property is physically damaged;
7. Alleging,'arising out of, based upon or attributable to, in whole or in part, the performance or rendering of or_
   failure to perForm professional services, where such services are undertaken for others for a fee;
8. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the Employee Retirement Income
   Security Act of 1974; the National Labor Relations Act; the Worker Adjustment and Retraining Notification Act;
   the Consolidated Omnibus Budget Reconciliation Act; the Occupational Safety and Health Act; any rules or
   regulations of any of the foregoing promulgated thereunder and amendments thereto; or any similar provisions
   of any federal, state or local statutory or common law that govern the same subject matter governed by the laws

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    referenced in this section even if particular laws have some additional or different provisions; provided, this
    EXCLUSION shall not apply to Loss arising from a Claim for employment related retaliation;
P. Brought by or on behalf of any Insured, except:
    a. A derivative action brought by or made on behalf of, or in the name or right of, the Insured Organization,
       if such action is brought and maintained independently of, and without assistance, participation or
       intervention of any Insured;
    b. Any Claim brought by the examiner, trustee, receiver, liquidator or rehabilitator (or any assignee thereof)
       of such Insured Organization, in or after any bankruptcy proceeding by or against an Insured Organization;
    c. Any Claim brought by any past director, officer, trustee, manager or equivalent executives of the Insured
       Organization who have not served as a director, officer, trustee, manager or equivalent executive for at
       least three (3) years prior to the date such Claim is first made, but only if the Claim is brought and
       maintained totally independent of and without the solicitation, assistance, active participation or
       intervention of the Insured Organization or any Insured Person not described in this paragraph 9.c.; or
    d. Any instigation of or involvement in any Claim, or solicitation, assistance, active participation or
       intervention by any Insured whistleblower under Section 806 of the Sarbanes-Oxley Act of 2002' or any
       rule or regulation promulgated thereunder, or under any similar whistleblower statute, rule or regulation
       under any other federal or state law.
10. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
    request to test for, monitor, 'clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not
    limited to Claims alleging damage to the Insured Organization;
    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
11. Alleging, arising out of, based upon or attributable to, in whole or in part, any Employment Practices
    Wrongful Act.
12. Alleging, arising out of, based upon or attributable to, in whole or in part, any Fiduciary Wrongful Act.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.
SECTION V. - CONDITIONS
A. Bankruptcy and Priority of Payments
    The bankruptcy or insolvency of the Insured Organization or any Subsidiary shall not relieve the Insurer of
    any of its obligations hereunder. The coverage provided by this policy, however, is intended primarily to
    protect and benefit the Insured Persons.
    With respect to the payment of the policy proceeds, it is agreed that covered Loss due under this policy shall
    be paid by the Insurer in the following order of priority:
    1. First pay such Loss for which coverage is provided under INSURING AGREEMENT A. of this policy;
    2. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
       pay Loss for which coverage is provided under INSURING AGREEMENT B. of this policy; and
   3. With respect to any remaining amount of the Limit of Liability still available after payment of such Loss,
      pay Loss for which coverage is provided under INSURING AGREEMENT C. of this policy.
   The Insured Organization or its representatives and the Insurer shall use their best efforts to agree upon
   the priority of payment of all Loss under this policy. If no agreement is reached regarding the priority of
   payments, then the Insurer and Insured Organization will submit the issue of such priority, and only that
   issue, to binding arbitration.




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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.




                      Secretary                                                   President




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                                                                                   RSUI INDEMNITY COMPANY



                   This Endorsement Changes The Policy. P/ease Read It Carefully.

                                EXCLUSION - MALPRACTICE
This endorsement modifies insurance provided under the following:

                      NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                         PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION IV. — EXCLUSIONS, of the Directors and Officers Liability Coverage Section:
The Insurer shall not be liable to make any payment for Loss arising out of or in connection with any Claim made
against any Insured alleging, arising out of, based upon or attributable to any medical or professional
malpractice, including but not limited to the rendering or failure to render any medical or professional service.
AII other terms and conditions of this policy remain unchanged.




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                            EMPLOYMENT PRACTICES LIABILITY
                            COVERAGE SECTION (NON-PROFIT)
                          PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Conimon Policy Declarations Page, and in consideration of the
payment of premium and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in tfie Common Policy Terms
and Conditions, the Insurer agrees:
SECTION I. - INSURING AGREEMENTS
A. Employment Practices Liability
    The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage Section on behalf of the
    Insured in connection with any Employment Practices Claim first made against any Insured during the Policy
    Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or Circumstance in
    the Common Policy Terms and Conditions of this policy.
B. Third Party Liability Coverage
    The Insurer shall pay for Loss up to the Limit of Liability applicable to this Coverage Section arising out of or
    in connection with any Claim for Third Party Discrimination and/or Third Party Harassment first made
    against any Insured during the Policy Period and reported in accordance with SECTION V. — CONDITIONS,
    C.Notice of Claim or Circumstance in the Common Policy Terms and Conditions of this policy.
SECTION II. — COVERAGE EXTENSIONS
Workplace Violence Expenses Sublimit
If a sublimit is shown in Item 2.13. of the Employment Practices Liability Declarations Page, the Insurer shall provide
coverage for Workplace Violence Expense the Insured Organization incurs resulting directly from any
Workplace Violence. This sublimit shall be part of and not in addition to the Limit of Liability set forth in Item 2.A. of
the Employment Practices Liability Declarations Page.
No Retention shall apply to the Workplace Violence Expense Coverage.
SECTION III. - DEFINITIONS
A. Claim, for purposes of this Coverage Section shall be an Employment Practices Claim, which means:
    A written demand for monetary or non-monetary relief solely where alleging an Employment Practices
    Wrongful Act, including:
    1. A civil, criminal, administrative, regulatory or arbitration proceeding or arbitration demand for monetary or
       non-monetary relief which is commenced by:
        a. Receipt or service of a complaint or similar pleading;
        b. Return of an indictment or filing of information; or
        c. Receipt of a notice of charges;
    2. A written request to an Insured to toll or waive a statute of limitations regarding a potential Claim,
       commenced by the receipt of such request by the Insured;
    3. An administrative or regulatory investigation when conducted by the Equal Employment Opportunity
        Commission ("EEOC") or equivalent state, local or foreign agency, which is commenced by the filing of a
        notice of charges, service of a complaint or similar document of which notice has been given to the
        Insured.
    Provided, such Employment Practices Claim shall not include any internal or external labor or grievance
    proceeding which is pursuant to a collective bargaining agreement.




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B. Employee means any past, present or future employee of the Insured Organization, whether such
    employee is in a supervisory, co-worker or subordinate position or otherwise, including any full-time, part-
    time, seasonal, and temporary employee or volunteers of the Insured Organization. An individual who is
    leased or contracted to the Insured Organization shall also be an Employee, but only if the Insured
    Organization provides indemniflcation to such leased or contracted individual in the same manner as is
    provided to the Insured Organization's employees.
C. Employment Practices Claim means any Claim for an Employment Practices Wrongful Act.
D. Employment Practices Wrongful Act means any actual or alleged:
    1. Wrongful dismissal, discharge or termination (either actual or constructive) of employment, including
       breach of an implied employment contract;
    2. Employment related harassment (including but not limited to sexual harassment);
    3. Employment related discrimination (including but not limited to discrimination based upon age, gender,
       race, color, national origin, religion, sexual orientation or preference, pregnancy or disability);
    4. Employment-related retaliation;
    5. Employment-related misrepresentation to an Employee or applicant for employment with the Insured
        Organization;
    6. Employment-related libel, slander, humiliation, defamation and/or invasion of privacy;
    7. Wrongful failure to employ or promote;
    8. Wrongful deprivation of career opportunity, wrongful demotion or negligent Employee evaluation,
       including the giving of defamatory statements in connection with an Employee reference;
    9. Employment related wrongful discipfine;
   10. Failure to grant tenure or practice privileges;
   11. Failure to provide or enforce adequate or consistent organization policies or procedures relating to
       employment performance;
   12. Violations of the following federal laws (as amended) including all regulations promulgated thereunder:
        a. Family and Medical Leave Act of 1993;
        b. Americans with Disabilities Act of 1992 (ADA);
        c. Civil Rights Act of 1991;
        d. Age Discrimination in Employment Act of 1967 (ADEA), including the Older Workers Benefit
           Protection Act of 1990; or
        e. Title VII of the Civil Rights Law of 1964 (as amended) and 42 U.S.C. Section 1983, as well as the
           Pregnancy Discrimination Act of 1978;
   13. Violation of an Insured Person's civil rights relating to any of the above; or
   14. Negligent hiring, retention, training or supervision, infliction of emotional distress, or violation of an
       individual's civil rights, when alleged in conjunction with any of the foregoing items 1. through 13.,
   whether such Employment Practices Wrongful Act as described in 1-14 above is committed directly,
   indirectly, intentionally or unintentionally, but only if the Employment Practices Wrongful Act actually or
   allegedly pertains to acts committed by an Insured and are alleged against an Insured by an Insured
   Person or applicant for employment with the Insured Organization.
E. Insured means any Insured Organization and/or Insured Person.
F. Insured Person means:
   1. Any past, present or future director, officer, trustee, Employee, advisory board member or any committee
      member of a duly constituted committee of the Insured Organization; or
   2. In the event the Insured Organization or a Subsidiary thereof operates outside the United States, then
      the term Insured Person afso means those titles, positions or capacities for such foreign Insured
      Organization or Subsidiary that are equivalent to the positions of directors or officers in the United
      States.

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 G. Loss means damages (including back pay and front pay), settlements, judgments (including pre- and post-
    judgment interest on a covered judgment) and Defense Expenses. Loss (other than Defense Expenses)
      shall not include:                 I


      1. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
          Insureds;
     2. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
          other type of contract;
     3. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
          payments, or settlement amounts representing employment related benefit payments;
     4. The cost of creating or reinstating employment;
     5. Any amounts owed to any Employee as wages or compensation previously incurred or vested without
         regard to any Claim;
     6. Civil or criminal fines or penalties;
     7. Taxes, whether owed to or by any Insured;
     8. Amounts, including Defense Expenses, arising out of, based upon or attributable to actual or alleged
         liability or costs incurred by any Insured to modify any building or property in order to make such building
         or property more accessible or accommodating to any disabled person, or any actual or alleged liability or
         costs incurred in connection with any educational, sensitivity or other corporate program, policy or
         seminar relating to an Employment Practices Claim;
     9. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
     The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
     multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
     damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
     by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
     most favorable to the Insured in that regard.
H. Premises means the buildings, facilities or properties occupied by the Insured Organization in conducting
     its business.
I.   Third Party means any person(s) with whom an Insured interacts.
J. Third Party Discrimination means any discrimination by an Insured in his or her capacity as such against a
   Third Party based on such Third Party's race, color, creed, religion, age, gender, national origin, sexual
     orientation 'or preference, disability, pregnancy or other protected status that is protected pursuant to any
     applicable federal, state or local statute or ordinance.                   -
K. Third Party Harassment means any type of sexual or gender harassment as well as racial, religious, sexual
   orientation, pregnancy, disability, age, or national origin-based harassment that is by an Insured to a Third
   Party.
L. Workplace Violence means any intentional and unlawful act:
     1. of deadly force involving the use of lethal weapon; or
     2. the threat of deadly force involving the display of a lethal weapon,
     which occurs on or in the Premises and which did or could result in bodily injury or death to an Insured
     Person.
M. Workplace Violence Expense means the reasonable fees and expenses, or cost of:
     1. an independent security consultant for ninety (90) days following the date Workplace Violence occurs;
     2. an independent public relations consultant for ninety (90) days following the date Workplace Violence
        occurs;
     3. a counseling seminar for all Employees conducted by an independent consultant following Workplace
         Violence;
     4. independent security guard services for up to fifteen (15) days; and
     5. an independent forensic analyst.



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SECTION IV. - EXCLUSIONS
The Insurer shall not be liable to make any payment for Loss in connection with any Claim made against any
Insured:
1. Alleging, arising out of, based upon or attributable to, in whole or in part, any litigation involving any Insured
   that was commenced or initiated prior to, or was pending on or before the date referenced in Item 4. of the
   Employment Practices Liability Declarations Page, or arising out of or based upon, in whole or in part, any
   facts or circumstances underlying or alleged in any such prior or pending litigation;
2. For actual or alleged bodily injury, sickness, disease or death of any person, mental anguish or emotional
   distress; damage to or destruction of any tangible property, including loss of use thereof, whether or not such
   property is physically damaged; provided, this EXCLUSION shall not apply to allegations of inental anguish or
   emotional distress made solely in connection with an Employment Practices Claim;
    The Insurer shall not be liable to make any payment, and shall have no duty to defend or pay Loss of any
    sort, in connection with any Workplace Violence:
    a. which occurs at any location other than the Insured Organization's Premises;
    b. arising from declared or undeclared war, civil war, insurrection, riot, civil commotion, rebellion or
       revolution, military, naval or usurped power, governmental intenrention, expropriation or nationalization;
    c. that reflects legal costs, judgments and settlements incurred as the result of any Claim, suit or judicial
       action brought against an Insured Organization in connection with Workplace Violence; or
    d. resulting from the use or threat of force or violence occurring on the Premises for the purpose of
       demanding money, securities or property.
3. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
   request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not .
   limited to Claims alleging damage to the Insured Organization;
    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
4. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the Employee Retirement
   Income Security Act of 1974; the National Labor Relations Act; the Worker Adjustment and Retraining
   Notification Act; the Consolidated Omnibus Budget Reconciliation Act; the Occupational Safety and Health
   Act; any rules or regulations of any of the foregoing promulgated thereunder and amendments thereto; or any
   similar provisions of any federal, state or local statutory or common law that govern the same subject matter
   governed by the laws referenced in this section even if particular laws have some additional or different
   provisions; provided, this EXCLUSION shall not apply to Loss arising from a Claim for employment related
   retaliation;
5. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral,, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have been liable in the absence of such contract or agreement;
   provided this EXCLUSION shall not apply to Defense Expenses in connection with an Employment
   Practices Claim;
6. Alleging, arising out of, based upon or attributable to any workers' compensation, disability benefits,
   unemployment compensation, unemployment insurance, retirement benefits, social security benefits or similar
   law; provided, this EXCLUSION shall not apply to Loss arising from a Claim for employment related
   retaliation;
7. Alleging, arising out of, based upon, directly or indirectly resulting from or in consequence of, or in any way
   involving any criminal or deliberate fraudulent act; provided this EXCLUSION shall not apply unless a
   judgment or other tinal adjudication adverse to any Insured in the Claim shall establish that such Insured
   committed such criminal or fraudulent act.
The Wrongful Act of an Insured shall not be imputed to any other Insured for the purpose of determining the
applicability of the EXCLUSIONS set forth in SECTION IV.



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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.



                                    ~

                                                                   c Z—~/-~-
                      Secretary                                                   President




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                                                                                        RSUI INDEMNITY COMPANY



                      This Endorsement Changes The Policy. P/ease Read It Carefully.
                  ,
     SUBLIMIT-DEFENSE EXPENSES - WAGE AND HOUR CLAIMS
This endorsement modifies insurance provided under the following:

                        NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY POLICY
                           PRIVATE COMPANY MANAGEMENT LIABILITY POLICY

The following is added to SECTION II. — COVERAGE EXTENSIONS, of the Employment Practices Liability
Coverage Section:
The amount set forth in Item 4. of the Common Policy Declarations Page shall be the maximum aggregate Limit
of Liability for all Loss under this policy. Subject to the foregoing, this Policy shall allow up to $100.000 solely for
Defense , Expenses in connection with Claims made against any Insured for violation of the Fair Labor
Standards Act or any similar state or local law or regulation specifically governing the payment of wages or hours
worked ("Wage and Hour Claim"). This sublimit shall be part of and not in addition to the amount set forth in Item
2.A. of the Employment Practices Liability Declarations Page, and shall not act to create coverage for any form of
relief sought or available in any Wage and Hour Claim.
A Retention in the amount of           shall apply to any Wage and Hour Claim. Such Retention shall be borne
by the Insured, and the Insurer shall only be liable for the amount of Defense Expenses in excess of the above
stated Retention amount.
Notwithstanding anything contained in this endorsement to the contrary, however, solely where coverage for any
Claim is triggered as "Side A", or non-indemnifiable or non-indemnified Loss in keeping with Policy terms and
conditions, the Retention normally applicable in such situations shall apply to such Claim, and the Retention
stated here shall not apply.
AII other terms and conditions of this policy remain unchanged.




                                                         Policy No.: NPP688510           Effective: 8/9/2020
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            FIDUCIARY LIABILITY COVERAGE SECTION (NON-PROFIT)
                   PLEASE READ YOUR POLICY CAREFULLY

Words and phrases that appear in bold text have special meaning. Refer to SECTION III. — DEFINITIONS in this
Coverage Section or the Common Policy Terms and Conditions.
If purchased, as indicated in Item 3. of the Common Policy Declarations Page and in consideration of the
payment of premium and in reliance upon all statements made to the Insurer in the Application, and subject to
the terms, conditions, definitions, exclusions and limitations provided hereinafter or in the Common Policy Terms
and Conditions, the Insurer agrees:
SECTION 1. - INSURING AGREEMENTS
Fiduciary Liability
The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage Section on behalf of the Insured
in connection with any Fiduciary Claim first made against any Insured during the Policy Period and reported in
accordance with SECTION V. — CONDITIONS, C. Notice of Claim or,Circumstance in the Common Policy Terms
and Conditions of this policy.
Notwithstanding anything contained in this policy to the contrary, the coverage provided under this Coverage Section
shall be non-rescindable by the Insurer.
SECTION II. — ADDITIONAL COVERAGES
The Insurer shall pay Loss arising from Additional Claims first made against any Insured during the Policy
Period and reported in accordance with SECTION V. — CONDITIONS, C. Notice of Claim or Circumstance in the
Common Policy Terms and Conditions of this policy which result in Loss as described in the Additional Coverages
as shown below.
Any Sublimits and Retentions set forth in the Fiduciary Liability Declarations Page for the Additional Coverage(s)
shall apply separately and specifically to any Loss arising from the specified Additional Coverage(s). Such
Retentions shall be borne by the Insured Organization, and the Insurer shall only be liable for the amount of
Loss arising from the specified Additional Coverage(s) that is in excess of the specifically stated Retention
amount applicable to such Additional Coverage, and subject to the applicable Sublimit.
A. HIPAA Violations
    Loss is amended to include any civil money penalties imposed upon an Insured for violation of the privacy
    provisions of the Health Insurance Portability and Accountability Act ("HIPAA").
B. Voluntary Compliance Fees/Sanctions
    The definition of Loss is amended to include:
   1. Any sanctions imposed upon an Insured as a fiduciary; or
   2. Any compliance fees incurred by an Insured, under the Employee Plans Compliance Resolution System
      described in any applicable Internal Revenue Service Revenue Procedure ("EPCRS Sanctions/Fees").
C. PPACA Civil Money Penalties
   Loss is amended to include any civil money penalties imposed upon an Insured for inadvertent violation of
   the Patient Protection and AfFordable Care Act, as amended ("PPACA"), and any rules or regulations
   promulgated thereunder.
D. Plan Value Fiduciary Liability
   Loss is amended to include a monetary award in, or fund for settling, a Claim against any Insured to the
   extent it alleges a loss to a Plan and/or loss in the actual account of participants in a Plan by reason of a
   change in the value of investments held by that Plan, regardless of whether the amounts sought in such
   Claim have been characterized by plaintiffs as "benefits" or held by a court to be "benefits".
E. Settlor Breaches of Duty
   Loss is amended to include amounts incurred arising from Settlor Breaches of Duty, meaning any actual or
   alleged breach of duties, obligations and responsibilities imposed by ERISA, COBRA, or HIPAA, in the
   discharge of any Insured's duties in a settlor capacity with respect to Employee, Benefits.

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F. Other Penalties
    Loss is amended to include Defense Expenses resulting from any Claim arising out of:
    1, the civil penalties under Section 502(c) of ERISA;
    2. the civil penalties under the Pension Protection Act of 2006; and
    3. the 15% or less tax penalty imposed upon an Insured under Section 4975 of the Internal Revenue Code
       of 1986, with respect to covered judgments.

SECTION III. — DEFINITIONS
A. Additional Claims means wriften demands or written allegations demanding relief as described in Section II.,
   Additional Coverages, of this Coverage Section.
B. Administration means:
    1. handling records in connection with Employee Benefits;
    2. effecting enrollment, termination or cancellation of Employees under an Employee Benefits program;
    3. giving counsel to Employees with respect to Employee Benefits; or '
    4. interpreting Employee Benefits.
C. Claim means a Fiduciary Claim.
D. Employee means any natural persons whose labor or service is engaged by and directed by the Insured
   Organization, including part-time, seasonal, leased and temporary employees as well as volunteers.
   Employee shall not include any independent contractor.
E. Employee Benefits means any Plan or Healthcare Exchange, and any workers' compensation insurance,
   unemployment insurance, Social Security or disability benefits for Employees of the Insured Organization.
F. ERISA means:
    1. the Employee Retirement Income Security Act of 1974, as amended and any rules or regulations
       promulgated thereunder (including, amendments relating to the Consolidated Omnibus Budget
       Reconciliation Act of 1985, and the Heath Insurance Portability and Accountability Act of 1996 ("HIPAA"));
    2. the English Pension Scheme Act of 1993, and the English Pensions Act of 1995, as such Acts are
       amended and any rules or regulations promulgated under such Acts, and
    any similar statutory or common law anywhere in the world, and any rules or regulations promulgated
    thereunder, and
    3. the privacy provisions under HIPAA.
G. Fiduciary Claim means a:
   1. written demand for money or other civil relief commenced by the receipt of such demand;
   2. civil proceeding, including any arbitration or other alternative dispute resolution proceeding commenced
      by the service of a complaint, filing of a demand for arbitration, or similar pleading;
   3. criminal proceeding commenced by the return of an indictment;
   4. written notice of the commencement of an investigation by the Department of Labor or the Pension
      Benefit Guaranty Corporation; or
   5. formal administrative or regulatory proceeding commenced by the filing of a notice of charges, formal
      investigative order or similar documents;
   against an Insured for a Fiduciary Wrongful Act.
H. Fiduciary Wrongful Act means any actual or alleged:
   1. breach of the duties, responsibilities or obligations imposed upon fiduciaries of any Plan by ERISA or the
      common law or statutory law of anyjurisdiction governing such Plan; or
   2. any negligent act, error or omission by an Insured in the Administration of Employee Benefits or any
      other matter claimed against an Insured solely by reason of their service as a fiduciary of any Plan.


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    3. Violation of any of the responsibilities, obligations or duties imposed upon fiduciaries of any Plan by the
       Health Insurance Portability and Accountability Act of 1996 and any rules or regulations promulgated
       thereunder ("HIPAA"); or
                                                       ~
    4. Other violation of HIPAA claimed against an Insured due solely to such Insured's service as a fiduciary
       of any Plan; or
    5. Negligent violation of HIPAA by an Insured in the Administration of any Plan.
    Healthcare Exchange shall be any facility or vehicle set up to facilitate the purchase of health insurance in
    each state in accordance with the Patient Protection and AfFordable Care Act.
J. Insured means the Insured Persons, the Plan and the Sponsor Organization.
K. Insured Person means any director, officer, trustee, partner or Employee of the Plan or of the Sponsor
   Organization while acting in his or her capacity as a fiduciary or settior of the Plan.
L. Loss means damages, settlements, judgments (including pre- and postjudgment interest on a covered
   judgment) and Defense Expenses. Loss (other than Defense Expenses) shall not include:
    1. Fines, penalties or taxes imposed by law, except that Loss may include claimant's attorney's fees
       awarded by a court pursuant to Section 502(g) of the Employee Retirement Income Security Act of 1974,
       as amended, against an Insured; civil penalties of up to five percent (5%) imposed pursuant to Section
       502(i) of the Employee Retirement Income Security Act of 1974, as amended ("ERISA") for inadvertent
       violation of Section 406 of ERISA, and civil penalties of up to twenty percent (20%) of any settlement or
       judgment imposed pursuant to Section 502(1) of ERISA for breach of fiduciary duty;
    2. Benefits due or to become due under the terms of any Plan, unless and then only to the extent that
       recovery for such benefits is based on a Fiduciary Wrongful Act and is payable as the personal
       obligation of an Insured who is a natural person; provided that Loss shall include Defense Expenses
       with respect to any Claim seeking benefits due or to become due under the terms of any Plan; and Loss
       shall include a monetary award in, or fund for settling, a Claim against any Insured to the extent it
       alleges a loss to a Plan and/or loss in the actual account of participants in a Plan by reason of a change
       in the value of investments held by that Plan, regardless of whether the amounts sought in such Claim
       have been characterized by plaintiffs as "benefits" or held by a court to be "benefits";
    3. Any amount for which the Insureds are not financially liable or for which there is not legal recourse to the
       Insureds;
    4. Amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
       other type of contract;
    5. Disability, social security, workers compensation, medical insurance, retirement or pension benefit
       payments, or settlement amounts representing employment related benefit payments;
    6. The cost of creating or reinstating employment;
    7. Any amounts owed to any Employee as wages or compensation previously incurred or vested without
       regard to any Claim;
    B. Civil or criminal fines or penalties not expressly provided for in this Coverage Section;
    9. Taxes, whether owed to or by any Insured;
    10. Matters that may be uninsurable under the law pursuant to which this policy shall be construed.
    The DEFINITION of Loss shall include punitive or exemplary damages and the multiplied portion of any
    multiplied damage award, if and where insurable. For purposes of determining whether punitive or exemplary
    damages, or the multiplied portion of any multiplied damage award arising from any Claim shall be insurable
    by law, the Insurer agrees to abide by the law of whichever jurisdiction is applicable to such Claim and is
    most favorable to the Insured in that regard.
M. Pension Benefit Plan means any employee pension benefit plan, as such term is defined in ERISA, which is
   operated solely by the Insured or jointly by the Insured and a labor organization solely for the benefit of the
   Employees.
N. Plan means any:
    1. Pension Benefit Plan and any trust established to hold the assets of any such Pension Benefit Plan;
    2. Welfare Benefit Plan which was, is now, or becomes sponsored solely by any Sponsor Organization;


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     3. Pension Benefit Plan, or any trust established to hold the assets of any such Pension Benefit Plan,
        created during the Policy Period by any Sponsor Organization or by any interest owned or controlled
        by such Sponsor Organization for the Employees thereof, but only if the Insured provides the Insurer
        with written notice of the creation of such Pension Benefit Plan within ninety (90) days of the effective
        date of such Pension Benefit Plan; and
     4. othen,vise covered Plan of any Subsidiary as that term is defined in the Common Policy Terms and
        Conditions SECTION III. - DEFINITIONS, M., or as allowed in the Common Policy Terms and Conditions
        SECTION V..- CONDITIONS, G., but only if the:
         (a) Insured provides the Insurer such additional information with respect thereto as the Insurer may
             reasonably require;
         (b) Insured provides the Insurer written notice of such acquisition as soon as practicable after the
             effective date thereof; and
         (c) Insurer specifically agrees by written endorsement to provide coverage with respect to such Plan
             and the Insured has accepted any additional terms, conditions and limitations of coverage, and
             agrees to pay any additional premium that the Insurer in its sole discretion, shall deem appropriate.
    Plan shall not include any multiemployer plan.
O. Sponsor Organization means the Insured Organization while acting in its capacity as a sponsor of a Plan
   solely for the benefit of its Employees.
P. Welfare Benefit Plan means any employee welfare benefit plan, as such term is defined in ERISA which is
   operated solely by the Insured or jointly by the Insured and a labor organization solely for the benefit of the
   Employees.
SECTION IV. - EXCLUSIONS
Specifically with respect to Fiduciary Claims or Additional Claims, exclusions in this endorsement shall govern
in the event of any specific conflict between them and other exclusions in the policy.
The Insurer shall not be liable to make any payment for Loss, and shall have no duty to defend or pay Defense
Expenses, in connection with any Fiduciary Claim made against any Insured:
1. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   fact, circumstance, situation, transaction, event or Fiduciary Wrongful Act underlying or alleged in any prior
   and/or pending litigation or administrative or regulatory proceeding which was brought prior to the date
   referenced in Item 4. of the Fiduciary Liability Declarations Page;
2. Based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
   actual or alleged failure by any Insured to comply with any law, rule or regulation concerning workers'
   compensation insurance, unemployment insurance, Social Security or disability benefits, whether or not such
   failure to comply is willful;
3. For the failure to collect contributions owed to any Plan from any employer unless such failure is due to the
   negligence of an Insured, or for the return to any employer of any contributions if such amounts are or could
   be chargeable to a Plan; provided, this EXCLUSION 3. shall not apply to the Insurer's obligations, subject to
   the applicable Limit of Liability, to defend such Fiduciary Claim and to pay Defense Expenses resulting
   therefrom;
4. For violation of any of the responsibilities, obligations or duties imposed by: The Fair Labor Standards Act
   (except the Equal Pay Act) or any state or local statutory or common law, regulation or ordinance that governs
   payment or administration of wages, hours worked, or employee entitlements; the National Labor Relations
   Act; the Worker Adjustment and Retraining Notification Act; the Consolidated Omnibus Budget Reconciliation
   Act; the Occupational Safety and Health Act; any rules or regulations of any of the foregoing promulgated
   thereunder and amendments thereto; or any similar provisions of any federal, state or local statutory or
   common law that govern the same subject matter governed by the laws referenced in this section even if
   particular laws have some additional or different provisions; provided, this EXCLUSION shall not apply to
   Loss arising from a Claim for employment related retaliation;
5. For the actual, alleged or threatened discharge, dispersal, release or escape of pollutants or any direction or
   request to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, including but not
   limited to Claims alleging damage to the Insured Organization;



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    Pollutant includes (but is not limited to) any solid, liquid, gaseous or thermal irritant or contaminant, whether
    live or inanimate, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes
    (but is not limited to) materials to be recycled, reconditioned or reclaimed;
6. Alleging, arising out of, based upon or attributable to, in whole or in part, any liability under or pursuant to any
   contract or agreement, whether oral, written, express or implied, including the liability of others assumed by
   an Insured, unless such Insured would have be.en liable in the absence of such contract or agreement;
7. Made by or on behalf of a fidelity insurer against a natural person whose conduct has resulted in a Loss
   which has been paid under a fidelity bond; or
8. Based upon, arising out of, directly or indirectly resulting from any discrimination, retaliation or wrongful
   termination of employment; provided, this EXCLUSION 8. will not apply to Fiduciary Claims asserted under
   Section 510 of ERISA.
No conduct of any Insured Person will be imputed to any other Insured Person to determine the application of
any of the above EXCLUSIONS.
SECTION V. - CONDITIONS
A. Coverage for New Plans
   If during the Policy Period the Insured:
   1. forms or acquires an employee welfare benefit plan, as defined by ERISA, which is sponsored solely by
      the Insured, or jointly by the Insured and a labor organization exclusively for the benefit of Employees of
      the Insured; this Coverage Section shall automatically apply; or
   2. forms or acquires an employee pension benefit plan or pension plan, as defined by ERISA, which is
      sponsored solely by the Insured; or jointly by the Insured and a labor organization exclusively for the
      benefit of Employees of the Insured and whose assets are less than ten percent (10%) of the total
      consolidated assets of the Insured as of the Policy inception date; this Coverage Section shall
      automatically apply; or
   3. forms or acquires an employee pension benefit plan or pension plan, as defined by ERISA, which is
      sponsored solely by the Insured or jointly by the Insured and a labor organization exclusively for the
      benefit of Employees of the Insured and whose assets are equal to or greater than ten percent (10%) of
      the total consolidated assets of the Insured as of the Policy inception date, then coverage is provided
      under this Coverage Section, but only upon the condition that within ninety (90) days of it becoming an
      Employee Benefits plan, the Insured provides the Insurer with full particulars of the new Employee
      Benefits plan and agrees to any additional premium and/or amendment of the provisions of this
      Coverage Section required by the Insurer related to such new Employee Benefits plan. Further,
      coverage as shall be afforded to the new Employee Benefits plan is conditioned upon the Insured
      paying when due any additional premium required by the Insurer relating to such new Employee
      Benefits plan.
   In all events, coverage as afforded with respect to this Section V.A. shall not apply to a Multi Employer Plan, a
   Multiple Employer Plan, or a Defined Benefit Plan.
B. Recourse
   It is agreed that, in the event an Insured breaches a fiduciary obligation under ERISA, the Insurer has the
   right of recourse against any such Insured for any amount paid by the Insurer as a result of such breach of
   fiduciary duty, but the Insurer shall have no such right of recourse if the policy has been purchased by the
   fiduciary or by an employer or an employee organization.
C. Termination of Plan
   If the Sponsor Organization terminates a Plan, coverage shall be afforded under this coverage extension
   with respect to such terminated Plan and its Insureds. Such continuation of coverage shall apply with
   respect to Fiduciary Claims for Fiduciary Wrongful Acts committed, aftempted, or allegedly committed or
   attempted prior to or after the date the Plan was terminated.




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In Witness Whereof, the Insurer has caused this policy to be executed and attested, but this policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.


                                    ~




                      Secretary                                                   President




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         NON-PROFIT ORGANIZATION MANAGEMENT LIABILITY
         RENE{NAL APPLICATION

         NOTICE:       THIS IS A CLAIMS MADE AND REPORTED POLICY THAT APPLIES ONLY TO THOSE CLAIMS FIRST
                                                                                                                  ((! k1  Df


                       MADE AGAINST THE INSURED DURING THE POLICY PERIOD AND REPORTED TO THE INSURER
                       DURING THE POLICY PERIOD, OR THE EXTENDED REPORTING PERIOD, IF APPLICABLE. THE
                       LIMIT OF LIABILITY AVAILABLE TO PAY LOSS SHALL BE REDUCED OR TOTALLY EXHAUSTED
                       BY PAYMENT OF DEFENSE EXPENSES.
         I. GENERAL INFORMATION SECTION

         1. (a) Name of Organization:
                            auhland-Clar(Csburg ~~spi>-al.Inc.
             (b) Organizatiori Address:




--------.~—z~.----Indicate-Gaverage-and Limit Requested:
            D&O Liability Insurance Coverage:               Yes ©    No ❑            Limit Requested: $       Z 1 a00, tJOa
 .....—. ----- -   —           -        --   ----- --- ------- -  -_--_•            -----------                 -
            Employment Practices Liability Coverage: Yes®            No ❑            L'imit Requested: $        ~d00~  —D
                                                                                                                      00 ---       ---

    -   --- - Third Party Liability Coverage:                 Yes ® —1NiYfl                                                        —
            Fiduciary Liability Insurance Coverage:           Yes       No ❑         Limit Requested: $        j, v00 000
  .~-@..~J,nriicate..th&-Lype.of.-Limit Requested:_....._..
             ~    Shared Limit of Liability for multiple Coverage Se-ctions

    —        ❑    Separate Limit of Liability for each Coverage Section                                                           —
        -.un
   ~-- ---:—. 4Combinatign of Shared and Separat_e Limits.(pro 'rfe details;-
                                                                     .—       . _                                                 ~      -----
    ~.4.F.-Rease provide the following financial information for ti                      Subsidiaries:                             -.

                                                                    Qurrent_Year:_-___ ...               Prior Year

                 -Date-of Financial Statement:
   -             Total Assets:

                 Total Liabilities:

                 Fund Balance:

                 Total Revenues:

                 Net Income or Net Loss:




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                                                                                                                          Page 1 of 6
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            5. As part of this Applicat'ion, please submit the following with respect to the Applicant:

                 Directors & Offcers Liabilitv Coverage:
                f (a) COMPLETE COPY OF LATEST ANNUAL REPORT. IF AUDITED FINANCIALS, PLEASE INCLUDE AUDITORS NOTES AND A COPY OF
                     LATEST INTERIM FINANCIAL STATEMENT
                 (b) CURRENT LIST OF DIRECTORS AND OFFICERS

                 (C) COMPLETE COPY OF BY LAWS AND ARTICLES OF INCORPORATION

                 Emplovment Practices Liabilitv Coveracre:
           NlA (a) EEO-1 REPORT (IF REQUIRED BY FEDERAL LAW)

                ✓ (b) EMPLOYEE HANDBOOK

                 Fiduciary Liability Coverac~
                                           e:
                v(a) A COPY OF THE MOST RECENTLY FILED FORM 5500 OR MOST RECENT AUDITED PLAN FINANCIAL STATEMENTS


—           _II, . DIRECTORS & OFFICERS LIARILITY $E                                 complete on1
                                                                                                ,Lrif coverage requested).,._
            1. (a) Have there been any changes in the Organization operations within the last twelve (12)           Yes 9 No ❑
                   months or is the Organization currently contemplating any merger or acquisition?
    --
                           --- --       .-------~ --- ~----._ _.—_ ... _. ..__.. __ - --- _.. _ .         _    _ . ._ . —_
                   s',`Ye please prowde details
                   If                               on a separate page. ~•~1~~~0a1         W i-f'h V~ -V~ IY► ~di ~n -~ ~ -
 -             (b) Has the-Organization acquired or created any--Subsidiaries within the last twelve (12)           Yes ❑ NoT-~5~'----
                   months?
                   If "Yes", please provide details on a separate page.
                  Doe.s-th,e-or.ganization have an incide.nt.r.esp.o,nse,plat3JD.red.ata.br•e.actLes._thatis-tested..at least_.. _ -
                 annually?                                                                                                             Yes S No ❑
~-       '- -    If "Nd";please provide details on a separate pager.-- -.- -               -
             3. If applicable, is the organization Payment Card Industry Data Security Standard (PCl/DSS)
=        -- = ~com--T?      — _ ..         -- -- ._              ~    :__.._.. . - _ _..—. -- —       -   - — - -'(-es- ~                       f~_ -❑ .~
-- -~~-=         If'-'Nol~ please provide details on a separate page~
                                                                   -.
=           4. Does the organization purchase First Party and TI}ird Party Network Security and Privacy                                           =
E                .Insurance Coverage?          _..                        ~_                                                           Yes   ® I~'o: ❑       ~
            5. •if -applicable, is the organization Health Insurance-Portability &-Accountability Act (HIPAA) /
                Health Information Technology for Economic & Clinical Health (HITECH) compliant?                                       Yes   ® No ❑
                If "No", please provide details on a separate page.,
            6. Does the organization receive more than 10% of their revenues frorn any governmental source?      Yes 23 No ❑
            7. Does the organization offer, sell, advertise, market or solicit any product or service, or debt
               collection, employing any automatic/robo dialing, mobile phone texting, faxing, or any other type
               of communications based mechanism or strategy governed under the rules and regulations of the.
               Telephone Consumer Protection Act of 1991 (TCPA), The Fair Debt Collection Practices Act or
               any laws governing unsolicited advertising or contacts for collections or promotion of goods or
               services?                                                                                         Yes ❑ No ~C
            8. Does the organization have a contract or agreement with any third party vendor to perform the
               above services on their behalf?                                                                                         Yes   ® No ❑




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        111. EMPLOYMENT PRACTICES LIABILITY SECTION (Please complete only if coverage requested)

                  Number of                                          Independent
                                     Full time:       Part time:                            Volunteers:            Total:
                  Employees:                                         Contractors:
                                      Z -I -I         1 (0                 1                    1             3D5
        2. List total number of Employees in the following states:
                      CA                    FL ~_              NJ                    NY                      TX —O
        3. Does the Organization anticipate making any reductions in the work force within the next                  Yes ❑      No B
           twelve (12) months?
           If "Yes", please provide details on a separate page.
        4. How many Employees or Officers have been terminated within the.last twelve (12) months?.
           Number of Employees:               J 5~               Number of Officers:            (~

        IV. FIDUCIARY LIABILITY SECTION (P/ease complete only if coverage requested)

               Has any~lan (a) been amended within the last 12 months in a way that will result in the reduction
               of benefits or are any such amendments anticipated within the next 12 months; or (b) been
               merged with another plan, terminated or sold within the past 2 years or is any such merger,
              —Termination, sale or-freezing-anticip-ated--in the=nextt12 monthr-,--- ,-"           --     --- - -TYes --fl --itla- ffi
_. .           If "Yes", please provide details of implementation, disclosure and any relevant blackout periods.
                                                             .----------          -      --                                -------
        2.       Does any plan invest in a mutual fund, collective trust or similar investment pool that receives
                 investment management services from the Organization for a fee?                                       Yes ❑ No ~
                 If "Yes":
             -: --~ --             ...._            .~_.m.   .-_-.-- ----- -... ._------
                 How often are these fees reviewed by the trustees for fairness? ._..__-----                     --'~'
               Are these fees disclosed to participants?                                                              Yes ❑       No ❑
       3. .-,Are any Plans non-compliant with plan agreer~rents or ERISA?                                                 _
            If "Yes", please provide details on a separate page.                                                      Yes ❑       No


--        —~ undersigned authorized Officer of the O~anizati~n, on
       "-~The                                                    behalf of the
                                                                             - Organization
                                                                               .            and its Subsidiarie~~and~
                                                                                                                   z.. n,
              behalf of the Directors and Officers of the Organization and its Subsidiaries declares that to the best of his/her
       ~::_knowledge
       .— - -- --- and        belief, the information, pat~iculars, dopllments,      representations     and statements cor~ined .in,
                          .        __                            . ..   ~ . ..             .        ....                      _    _
        —   attached or referred  ta  in this application for insurance and/or_ as a result of the underwriting process are true and
         -._accurate and recognizes that the Insurer, in.issuing this poli.cy, will re.ly on such inf.ormation, particulars, documents,
            representations and statements.

              Although the signing of this application does not bind the undersigned to effect insurance, the undersigned agrees,
              on behalf of the Organization and its Subsidiaries, and on behalf of the Directors and Officers of the Organization
              and its Subsidiaries, that the information, particulars, documents, representations and statements contained in,
              attached or referred to in this application for insurance and/or as a result of the underwriting process shall be the
              basis of the contract should a policy be issued and that this application will be attached to and will become part of
              such policy. The Insurer is hereby authorized to make any investigation and inquiry it deems necessary in
              connection with this application.


       NOTE:         This application must be signed by the Chairman of the Board, President or Executive Director and dated
                     within thirty (30) days of the efFective date of coverage.
                     The undersigned authorized Officer agrees that if the information supplied on this application changes between
                     the date of this application and the effective date of the insurance, he/she (undersigned) will imniediately notify
                     the Insurer of such changes, and the Insurer may withdraw or modify any outstanding quotations and/or
                     authorization or agreement to bind the insurance.

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              Signature                                                                    Title   Ch i e ~ ~x~ cu~iy~                           i
                            (Chairman of the                    or Executive Director)


              Date                  2~         ZQ                          Organization   ~ ~g h d and - ClarKs burq
                                                                                                              HaspHal, ln c.
              Submitted By                                                         Date
                                                  (Producer)



                                                                SIGNATURE REQUIRED
                                                           NE11V YORK FRAUD STATEMENT
              Any person who knowingly and with intent to defraud any insurance company or other person files an application for
              insurance or statement of claim containing any materially false information, or conceals for the purpose of misfeading,
           - inforrrratiorrconcerning any fact materia#-theruto;-commits a-frauduient-insurance act; which is ~a crime;antl=shall--aiso be
              subject to a civil penalty not to exceed five thousand dollars and the stated value of the claim for each such violation.


                                                                Applicant's Signature                                      Date
                                                               - No Signature Required

 _         - __ _ _   .__ ARKANSAS, LOUISIANA,. RHODLE ISLAND,. TEXA~_ AND WEST !/IRGINIA FRA.UD
              Any person who knowingly presents a false_or fraudulent clatm for payment of a loss or benefit or knowingly presents
              false information in an application for insuranc~e.is.,guilty of a crime and may be subject to fines and confineDent_in prison.

                                                            ALABAMA FRAUD STATEMENT
          ., *y-per-son who knowingly presents-a-false:Oft
-0.-- ----A                                             - -udttler•tt-c+aataq-er- payment of a loss or-benefi#or-who kne&ngly-~ents=~
 ~ -----fatse information in an application for insuraMe-'is-gaiityaf-ftrime and may be subject to- restitution fines~~ment==—
'~" ' - ` —mprison, or any combination thereof.
     _._                                                     ALASKA FRAUD STATEMENT                                         --
     _A         person who.knowingly and with intent to inj_ute, defraud-or._deceive-an insurance cQmpany files a claimlontaining false.,_-._
              incomplete, or misleading information may be.prosecuted._under state_law.

                                                            .ARIZONA FRAUD STATEMENT                            _
             For your protection Arizona law requires the following statement to appear on this form. Any person who knowingly
              presents a false or fraudulent claim for payment of a loss is subject to criminal and civil penalties.

                                                          CALIFORNIA FRAUD STATEMENT
              For your protection, California law requires that you be made aware of the following: Any person who knowingly presents
             false or fraudulent claim for the payment of a loss is guilty of a crime and may be subject to fines and confinement in state
             prison.

                                                           COLORADO FRAUD STATEMENT
             It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the
             purpose of defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial of
             insurance, and civil damages. Any insurance company or agent of an insurance company who knowingly provides false,
             incomplete, or misleading facts or information to a policyholder or claimant for the purpose of defrauding or attempting to
             defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be
             reported to the Colorado division of insurance within the department of regulatory agencies.


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                                                              DELAWARE FRAUD STATEMENT
            Any person who knowingly, and with intent to injure, defraud or deceive any insurer, tiles a statement of claim containing
            any false, incomplete or misleading information is guilty of a felony.

                                                      DISTRICT OF COLUMBIA FRAUD STATEMENT
            WARNING: It is a crime to provide false, or misleading information to an insurer for the purpose of defrauding the insurer
            or any other person. Penalties include imprisonment and/or fines. In addition, an insurer may deny insurance benefits if
            false information materially related to a claim was provided by the applicant.

                                                               FLORIDA FRAUD STATEMENT
            Any person who knowingly and with intent to injure, defraud or deceive any insurer, files a statement of claim or an
            application containing any false, incomplete, or misleading information is guilty of a felony of the third degree.

                                                               HAWAII FRAUDSTATEMENT
            For your protection, Hawaii law requires you to be informed that any person who presents a fraudulent claim for payment
            of a loss or benefit is guilty of a crime punishable by fines or imprisonment, or both.

                                                               IDAHO FRAUD STATEMENT
            Any person who knowingly, and with intent to defraud or deceive any insurance company, files a statement of claim
            containing any false, incomplete or misleading information is guilty of a felony.

                                                               INDIANA FRAUD STATEMENT
            Any person who knowingly and with iVentto--defraud-- an irisurer files a statement of claim co-Wafining *any faise,
            incomplete, or misleading information commits a felony.

                                                               KANSAS FRAUD STATEMENT
                                                                                                      _
            Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or
            belief that it will be presented to or by aninsurer, *purported insurer, broker or any agent thereof, any written statemerif as
        ~   part of, or in support of, an application fo~-the-'issuanceof;
                                                                         or -the rating of an insurance policy for per95riaror cibmmercial
            insurance, or a claim for payment or other benefit pursuant to an insurance policy for commercial orTersonal insurance
            which such person knows to contain materially false information concerning any fact material thereto; or conceals, for the
- .—
   i-~
    - . . _...purpose-of misleading;
                              _.     inform-
                                          ..a.__
                                              tion-   conci~~factm~rial thereto commits a fraudalentin-
                                                            _                                    _.. _... surane~c~-- ---
    -~                                                      ~KENTUCKYaF-RAUD STATEMENT                                                 -~--
    _       Any person who knowingly and with int8nt to defraud-any insurance company or other person filee:.an application.for
-- "—.insurance containing any materially falseLinformatidnWir-conceals, for the purpose of misleading, infdFmation concerrain.g.
—           any fact material-thereto commits a fraudulent insurance act, which is a crime.---

                                                               MAINE FRAUD STATEMENT
            It is a crime to knowingly provide false,incomplete or misleading information to an insurance company for the purpose of
            defrauding the company. Penalties maya.include imprisonment, fines or a denial of insurance benefits.,;-_

                                                        -    MARYLAND FRAUD STATEMENT
            Any person who knowingly or willfully presents a false or fraudulent claim for payment of a loss or benefit or who
            knowingly or willfully presents false information in an application for insurance is guilty of a crime and may be subject to
            fines and confinement in prison.

                                                             MINNESOTA FRAUD STATEMENT
            Any person who files a claim with intent to defraud or helps commit a fraud against an insurer is guilty of a crime.

                                                        NEW HAMPSHIRE FRAUD STATEMENT
            Any person who, with a purpose to injure, defraud or deceive any insurance company, files a statement of claim
            containing any false, incomplete or misleading information is subject to prosecution and punishment for insurance fraud,
            as provided in RSA 638:20.



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                                                            NEW JERSEY FRAUD STATEMENT
               Any person who includes any false or misleading information on an application for an insurance policy is subject to
               criminal and civil penalties.

                                                            NEW MEXICO FRAUD STATEMENT
               Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly presents
               false information in an application for insurance is guilty of a crime and may be subject to civil fines and criminal penalties.

                                                                 OHIO FRAUD STATEMENT
               Any person who, with intent to defraud or knowing that he is facilitating a fraud against an insurer, subrriits an application
               or files a claim containing a false or deceptive statement is guilty of insurance fraud.

                                                            OKLAHOMA FRAUD STATEMENT
               WARNING: Any person who knowingly and with intent to injure, defraud, or deceive any insurer, makes any claim for the
               proceeds of an insurance policy containing anyfalse, incomplete or misleading information is guilty of a felony.

                                                              OREGON FRAUD STATEMENT
                    person who kn.o.wingly.:pGes.ents,.@-.fals_e or. frautiul.eni.claim .for payment of..a lossn.or.-ze,nefa#pr knowingly4res.ents___
               materially false information in an application for'insurance may be guilty of a crime and may be subject to fines and
               confinement in prison.                                                    i
._... .. -                  --                                                                               —• --            •-- -
                                                  -—
                                                   ~ — PENNSYLVAIVIAFl2AUD STATENfENT                   —
             --Any person who knowingly and witlaantent-to defraud any-insurance company or other person=fles-,an--application for-
               insurance or statement of claim containing any materially false information, or conceals for the purpose of misleading,
                information concerning any fact material thereto commits a fraiadulent insurance act, which is a crime and subjects such
                person to criminal and civil penalties.
             ------_..._._ . . ._ -• ----~. _....__...~.., . ~-  ~_ . . - - -•----...... . ...._ .~_ _... W. .  - --   — _ . .. --- -  -•----•
                                                                PUERTO RICO FRAUD STATEMENT
               Any person who knowingly and withjhe.intention of..-defrauding presents false information in an in~,surance-application,.or
               presents, helps, or causes the presentation. of a fraudulent claim for the payment of a loss or any other beneft, or
               presents more than one claim for the-same damage or loss, shall incur a felony and, upon conviction, shall be sanctioned
              for each violation
                          ---- ~       a fine of- not~
                                                   .. -ss--
                                                          ,.than five .thousand dollars
---          ------                                          - -
              ($10,000), or_.-a fixed term..of impris~ne.t~~.tbte~
                                                                   -~......_...  ----- ($5,000)_and        — .. _.th
                                                                                              - --- not more         en t. ousand:~dollars
                                                                                                                                      __..._
                                                                         )_years, or both penalties. Should aggra~►ng:~~ums~ces.be
~-            present, the penalty thus establishe0lbay Weincr.eased to a maximum of_five (5) years, if extenuetingYci~ciimstanr.es.are
              present, it may be reduced to a minimum of two (2) years.

                                          TENNESSEE~, viRGiNI~,`--AiVD WASHINGTON FRAUD STATEMENT ~                            -     -- --
               It is a crime to knowingly provide false, incomplete or misleading information to an insurance com_pany for the_purpose of
             - defrauding the company. Penalties ir~clude imprisonment,.fines and denial of insurance benefits.                          .




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                 Highland-Clarksburg Hospital, Inc.
                        Board of Directors
                               2020
                Jill C. Rice, Chairman
                215 Don Knotts Blvd., Suite 310
                Morgantown, WV 26501
                (304) 225-1430
                Email: jill.rice@dinsmore.com
                Term Expires: 12/31/2020

                Greg Gordon, Vice Chairman
                300 Summers Street, Suite 650
                Charleston, WV 25301
                Phone: 304-340-6970 (0)
                Email: GGordon(a-)_BBandT.com
                Term Expires: 12/31/2021

                Shawn A. Miller, Secretary
                98 Hickory Heights Drive
                Clarksburg, WV 26301
                Phone: (304) 288-6538
                Email: Shawn.A.Millerpdominionenergy.com
                Term Expires: 12/31/2021

                Dustin W. Freshour, Treasurer
                74 Foxden Drive
                Mount Clare, WV 26408
                Phone: (304) 627-7955
                Email: dfreshour(aD.mvbbanking.com
                Term Expires: 12/31/2021

                Joe Elliott
                609 Broadway Ave.
                Bridgeport, WV 26330
                Phone: (304) 842-5431
                Cell:    (304) 494-5885
                Email: jmelliott1969~qmail.com
                Term Expires: 09/30/2022

                Lyndon Awil
                126 Pennsylvania Avenue
                Nutter Fort, WV 26301
                Bus: 304-626-3743
                Cell-304-672-0282
                Email: Iyndon(a)-llauvil.com
                Term Expires: 12/31/2021
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                      Jonathon W. Fischer
                      439 West Philadelphia Ave
                      Bridgeport, WV 26330
                      Phone: (304) 842-8090
                      Email: ifischer(a—)greerlawoffices.com
                      Term Expires 9/30/2023

                      Victoria Jones
                      3 Hospital Plaza
                      Clarksburg, WV 26301
                      Phone: (304) 969-3103
                      Email: viones(cb-highlandhospital.net




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                    EXHIBIT 7
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                                                    RSUI Group, Inc.                         Phone 404-231-2366
                                                    945 East Paces Ferry Road                Fax   404-231-3755
                                                    Suite 1800
                                                    Atlanta, GA 30326-1125




                                            December 7, 2020


CERTIFIED MAIL/
RETURN RECEIPT REOUESTED

Highland-Clarksburg Hospital, Inc.
Attn: Robert Broyles
#3 Hospital Plaza
Clarksburg, WV 26301
Email: rboyles(~
               a,highlandhosnital.net


       Re:     Insured                        Highland-Clarksburg Hospital, Inc.
               Claimant                       Karen Whiteman
              "Policy                         NPP682977
               Policy Period                  8/9/19 — 8/9/20
               Limit of Liability             $2,000,000
               Retention/Attachment :         $75,000
               Issuing Company                RSUI Indemnity Company ("RSUI")
               RSUI File                      7030152774


Dear Mr. Boyles:

        As you know, I will be handling the above referenced claim for RSUI Indemnity Company
("RIC"). Please be sure to reference the above referenced claim number (7030152774) whenever you
are sending me correspondence with respect to this matter. Please accept this letter as denial of coverage
of the matter submitted for the reasons set forth herein.

        On November 23, 2020, RIC received a claim submission consisting of a Complaint styled
Karen M. Whiteman v. Highland-Clarksburg Hospital, Inc. ("Complaint") alleging age discrimination,
hostile work environment, retaliation, wrongful termination, and outrage.

       After our request for additional information, RSUI received a copy of the Charge of
Discrimination filed with the EEOC and the Pennsylvania Human Relations Commission ("PHRC")
dated January 17, 2020 ("Charge") alleging retaliation. The Charge was emailed to Highland-
Clarksburg Hospital, Inc. on January 21, 2020. Also, an EEOC Dismissal and Notice of Rights dated
January 21, 2020 was received.

                                                Statement of Facts


                                          RSUI Indemnity Company
                                     Landmark American Insurance Company

                                                                           A member of Alleghany /nsurance Ho/dings LLC
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        In both the Charge and the Complaint, the Claimant contends that she filed an internal complaint
of hostile work environment on June 6, 2019 in which she alleged that she had been subjected to verbal
abuse and micromanagement by her manager. The Claimant also contends that, despite her complaint,
the harassment continued and on October 23, 2019 she was placed on a Performance Improvement Plan
("PIP"). The Claimant alleges that she was discriminated against based on her age and retaliated
against.

                                                     Policy

       RIC issued Policy NHP682977 to Highland-Clarksburg Hospital, Inc. for Claims first made from
August 9, 2019 through August 9, 2020 that are reported in accordance with Policy conditions
governing notice of Claim. Subject to Policy terms, conditions, and exclusions, the Policy affords a
$2,000,000 aggregate limit of liability in connection with any Employment Practices Claims, subject to
a$75,000 retention for Wrongful Act(s) in connection with any Employment Practices Claim. RIC will
not be responsible for any amount incurred within the retention nor any amount in excess of the
$2,000,000 limit of liability. Additionally, Defense Expenses incurred in defending Claims will apply
towards the depletion of the retention.

      We direct your attention to the Employment Practices Liability Coverage Section's Insuring
Agreement, at Section 1 of the Policy. The Policy's pertinent Insuring Agreement is Insuring
Agreement A, which provides as follows:

       If purchased, as indicated in Item 3. of the Common Policy Declarations Page, and in
       consideration of the payment of premium and in reliance upon all statements made to the
       Insurer in the Application, and subject to the terms, conditions, definitions, exclusions and
       limitations hereinafter or in the Common Policy Terms and Conditions, the Insurer agrees:

       SECTION I. - INSURING AGREEMENTS

       A.    Employment Practices Liability

             The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage
             Section on behalf of the Insured in connection with any Employment Practices Claim
             first made against any Insured during the Policy Period and reported in accordance with
             SECTION V. Conditions, C. Notice of Claim or Circumstance in the Common Policy
             Terms and Conditions of the this policy.

        As you can see from the above-quoted Insuring Agreement, the Policy is triggered, subject to all
other Policy terms, conditions and exclusions, by Claims for Employment Practices Claims that are
"first made" against an Insured and reported in accordance with conditions for notice of Claim.

       Claim is defined in the Employment Practices Liability Coverage Section III. as:

       A.     Claim, for purposes of this Coverage Section shall be an Employment
              Practices Claim, which means:
              A written demand for monetary or non-monetary relief solely where alleging an
              Employment Practices Wrongful Act, including:




                                                        6     S~l   A member ofAlleghany /nsurance Ho/dings LLC
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             1.          A civil, criminal; administrative, regulatory or arbitration
                     proceeding or arbitration demand for monetary or non-monetary
                     relief which is commenced by:
                        a. Receipt or service of a complaint or similar pleading;
                        b. Return of an indictment or filing of information; or
                        C. Receipt of a notice of charges;
             2.          A written request to an Insured to toll or waive a statute of
                     limitations regarding a potential Claim, commenced by the receipt
                     of such request by the Insured;
             3.          An administrative or regulatory investigation when conducted
                     by the Equal Employment Opportunity Commission ("EEOC") or
                     equivalent state, local or foreign agency, which is commenced by
                     the filing of a notice of charges, service of a complaint or similar
                     document of which notice has been given to the Insured.

                     Provided such Employment Practices Claim shall not include any
                     internal or external labor or grievance proceeding which is
                     pursuant to a collective bargaining agreement.

      The Charge and the Complaint both reflect a Claim as defined in section 1 provided above.

             D.    Employment Practices Wrongful Act means any actual or alleged:

             i.    Wrongful dismissal, discharge or termination (either actual or
                   constructive) of employment, including breach of an implied
                   employment~ contract;

             ii.   Employment related harassment (including but not limited to sexual
                   harassment);

             iii. Employment related discrimination (including but not limited to
                  discrimination based upon age, gender, race, color, national origin,
                  religion, sexual orientation or preference, pregnancy or disability);

             iv.   Employment-related retaliation;

             V.    Employment-related misrepresentation to an Employee or applicant for
                   employment with the Insured Organization;

            vi.    Employment-related libel, slander, humiliation, defamation and/or
                   invasion of privacy;

            vii. Wrongful failure to employ or promote;

            viii. Wrongful deprivation of career opportunity, wrongful. demotion or
                  negligent Employee evaluation, including the giving of defamatory
                  statements in connection with an Employee reference;


                                                            j`I    A member of Alleghany /nsurance Ho/dings LLC
                                                       C
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                ix.   Employment related wrongful discipline;

                X.    Failure to grant tenure or practice privileges;

                xi.   Failure to provide or enforce adequate or consistent organization policies
                      or procedures relating to employment performance;

                xii. Violations ' of the following federal laws (as amended) including all
                     regulations promulgated thereunder;

                      a.   Family and Medical Leave Act of 1993;
                      b.   Americans with Disabilities Act of 1992 (ADA);
                      C.   Civil Rights Act of 1991;
                      d.   Age Discrimination in Employment Act of 1967 (ADEA),
                           including the Older Workers Benefit Protection Act of 1990; or
                      e.   Title VII of the Civil Rights Law of 1964 (as amended) and 42
                           U.S.C. Section 1983, as well as the Pregnancy Discrimination Act
                           of 1978;

               13. Violation of an Insured Person's civil rights relating to any of the above;
                   or

               14. Negligent hiring, retention, training or supervision, infliction of
                   emotional distress, or violation of an individual's civil rights, when
                   alleged in conjunction with respect to any of the foregoing items 1
                   through 13,

               whether such Employment Practices Wrongful Act as described in 1-14 above is
               conunitted directly, indirectly, intentionally or unintentionally, but only if the
               Employment Practices Wrongful Act actually or allegedly pertains to acts
               committed by an Insured and are alleged against an Insured by an Insured Person
               or applicant for employment with the Insured Organization.

With respect to multiple, related Claims, the Policy provides at V. Conditions B. 4. as follows, in
pertinent part:

               All Claims based on, arising out of, directly or indirectly resulting from,
               in consequence of, or in any way involving the same or related facts,
               circumstances, situations, transactions or events, or the same or related
               series of facts, circumstances, situations, transactions or events, shall be
               deemed to be a single Claim for all purposes under this Policy, shall be
               subject to the Retention stated in Item 3. of the Declarations Page for each
               applicable Coverage Section, or other applicable Retention, and shall be
               deemed first made when the earliest of such Claims is first made,
               regardless of whether such date is before or during the Policy Period.

        Because the facts and events alleged in the Complaint are related and arise out of the facts and
situations in the Charge, the Complaint is deemed interrelated to the Charge and deemed first made




                                                           0Oft         A member of Alleghany lnsurance Ho/dings LLC
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when the Charge was first received, which was at least by January 21, 2020 when you received the
January 21, 2020 email from the EEOC providing notice of the Charge.

        In this regard, we refer you to Policy Conditions Section V.C.l.of the NHP682977 Policy, which
provides, in pertinent part, as follows:

                If, during the Policy Period or any Extended Reporting Period (if
                applicable), any Claim is first made, it shall be a condition precedent to
                the Insurer's obligation to pay, that the Insured give written notice of
                such Claim to the Insurer as soon as practicable after such Claim is first
                made, but in no event shall such notice be given later than six 60) days
                after either the Policy Period expires or any earlier cancellation date of
                this policy.

        As noted, Highland-Clarksburg Hospital, Inc. was issued the NHP682977 Policy incepting on
August 9, 2019 and expiring on to August 9, 2020. In order to trigger coverage under this policy, notice
must given as soon practicable, but in no event later than 60 days after the expiration of the policy. In
this instance, RIC did not receive first notice of this matter until November 23, 2020. As such, the
NHP682977 Policy is not triggered and thus, there is no coverage for this matter.

        The current Policy, number NPP688510, affords coverage for Claims that are both first made and
reported within the August 9, 2020 to August 9, 2021 Policy Period. As the Charge was received on
January 21, 2020, this Claim is deemed to have been first made at least by January 21, 2020. January
21, 2020 is prior to the inception date of the NPP688510 Policy Period. As such, the NPP688510 Policy
has not been triggered, and thus, there is no coverage available for this Claim under the NPP688510
Policy.

        RIC reserves its right to deny coverage based upon grounds other than those expressly set forth
in this letter and to supplement and/or amend this letter to address additional coverage issues as they
may arise, based upon all of the provisions, terms, conditions, exclusions, endorsements and definitions
found in the Policy and additional facts that may come to RIC's attention. Moreover, any investigation
or further action taken by RIC, or anyone on RIC's behalf, or any action not taken, should not be
considered a waiver of any of RIC's rights, privileges, or defenses under the Policy, at law or in equity.

        RIC's position is necessarily based upon information that has been made available to us at this
point. If you believe that any of the facts or provisions of the Policy which have been cited in this letter
are incorrect, please advise us so that we can discuss those statements with you and either clarify or
correct them. Further, RSUI is willing to reevaluate its coverage position and to consider any new
information that you may wish to present, subject to its full and complete reservation of rights. Because
we have denied coverage for this matter, we plan to close our file shortly. If you have any questions or
comments concerning this matter, please do not hesitate to contact me at the number listed below.

Sincerely,

                 1

                     40,   ~




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                                                               II
                                                                      A member of Alleghany /nsurance hlo/dings LLC
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Kyle W. Dunton, Esq.
Chief Claims Specialist
Email at: Kdunton@RSUI.com
Direct phone (404) 260-3811


cc:   Kimberly Kirkman
      McGriff
      Email: kkirkman(~
                      a,mcLYriff.com




                                           OkP
                                             i      A member of Alleghany Insurance Ho/dfngs LLC
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                  %-EX IBIT 8
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Whitney Patterson

From:                               Dodrill, Terri <TDodrill@mcgriff.com>
Sent:                               Friday, January 08, 2021 11:04 AM
To:                                 Whitney Patterson
Cc:                                 Victoria Jones; Robert Boyles; Canterbury, Dawn
Subject:                            RE: Whiteman RSUI notice



Dear Whitney,
I have heard back from the carrier regarding the claim. They have revisited the denial of coverage and unfortunately,
have not reversed the position. Please see the explanation offered below:

FROM RSUI:
The Charge of Discrimination, which was received on January 21, 2020, is a Claim, as defined in the policy.
As noted in the 12/7/20 letter, in order to trigger coverage under the NHP682977 Policy (incepting on August 9, 2019
and expiring on to August 9, 2020), notice of any Claim received in the Policy period must be given in no event later than
60 days after the expiration of the policy.
In this instance, RIC did not receive first notice of this matter until November 23, 2020. As such, the NHP682977 Policy is
not triggered and thus, there is no coverage for this matter.

Also, the current Policy, number NPP688510, affords coverage for Claims that are both first made and reported within
the August 9, 2020 to August 9, 2021 Policy Period. As the matter (the Charge and the Complaint, which is clearly
interrelated to the Charge) was received on January 21, 2020, this Claim is deemed to have been first made at least by
January 21, 2020. January 21, 2020 is prior to the inception date of the NPP688510 Policy Period. As such, the
NPP688510 Policy has not been triggered, and thus, there is no coverage available forthis Claim underthe NPP688510
Policy.

As I mentioned in our recent call, the notice of claim, even if questionable inasmuch as rising to the level of a claim, is
significant especially when coverage is written on a claims made basis policy. They set forth the claim being first made
and reported within the policy period for coverage to be afforded. I'm seeing very strict interpretation of the policy
language surrounding these type matters by carriers of late. Please let me know if you all wish to have another call to
discuss their response.

In the interim, do you know if the case will be moving forward or if it will likely be dismissed? Please let me know how I
can best assist as you decide how to move forward.

Thank you,
Terri

                             Terri Dodrill
 ~~                          Business Insurance Agent AssistantAgency Manager
             cGr,    ff      P: 304 340-6949 1 C: 304-654-6534 1 E: tdodrillC~McGriff.com
                             300 Summers Street, Suite 650, Charleston, WV 253011 McGriff.com
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From: Whitney Patterson [mailto:wpatterson@highlandhospital.net]
Sent: December 07, 2020 3:35 PM
To: Dodrill, Terri
Cc: Victoria Jones; Robert Boyles
Subject: Whiteman RSUI notice



(* This email contains attachments or links from an unverified sender. DO NOT open attachments or
click links without verifying the sender. *]

Terri — please see attached. RSUI is denying coverage due to an EEO charge that was not reported to them. However, this
charge was dismissed. What are our options to remedy this situation? Can we schedule a call to discuss?

Thank you,

Whitney Patterson, CPA, CHFP
Chief Financial Officer
Highland-Clarksburg Hospital, Inc.
(304) 969-3143
wpatterson(a~hijzhlandhospital.net



Attention: HIPAA PHI: Special Handling Required
This email communication that you have received may contain Protected Health Information (PHI) as defined
by the Health Insurance Portability and Accountability Act of 1996 (HIPAA). Federal law mandates that you
not use or disclose the information contained herein in any way that will compromise the privacy, security, or
confidentiality of the individual to whom the information pertains. If this email communication has been
misdirected to you, notify the sender of this email at your earliest opportunity, delete the email and destroy any
copies of the email that you may have produced.

Please be advised insurance coverage cannot be altered, bound or cancelled by voicemail, email, fax, or online via our
website and insurance coverage is not effective until confirmed in writing by a licensed agent. The information in this
transmission may contain proprietary and non-public information of McGriff, Seibels & Williams, Inc., Truist, or their
affiliates and may be subject to protection under the law. The message is intended for the sole use of the individual or
entity to which it is addressed. If you are not the intended recipient, you aie notified that any use, distribution or copying of
the message is strict/y prohibited. If you received this message in error-, p/ease delete the material from your system
without reading the content and notify the sender immediately of the inadvertent transmission.

Any information, ana/yses, opinions and/or recommendations contained herein relating to the impact or the potential
impact of coronavirus/COVID-99 on insurance coverage or any insurance policy is not a legal opinfon, warranty or
guarantee, and shou/d not be relied upon as such. As insurance agents, we do not have the authority to render legal
advice or to make coverage decisions, and you should submit all claims to your insurance carrier for eva/uation as they
will make the final determination. Given the on-going and constantly changing situation with respect to the
coronavirus/COVID-19 pandemic, thfs communication does not necessarily reflect the latest information regarding
recent/y-enacted, pending or proposed legislation or guidance that could override, alter or otherwise affect existing
insurance coverage. At your discretion, please consult with an attorney at your own expense for specifrc advice in this
regard.                                                                          i
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                    EXHIBI-T 9
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646-833-0880
                                                                                                    www.tresslerllp.com
mdelhagen@tresslerllp.com
                                                       February 2, 2021


                                                                                ~
      VIA E-MAIL

      Mychal S. Schulz, Esq.
      Babst Calland
      BB&T Square
      Charleston, WV 25301
      mschulz@babstcalland.com

                 Re:      Insured:                     Highland-Clarksburg Hospital, Inc.
                          Coverage:                    Non-Profit Organization Management Liability Policy
                          Insurer: '                   RSUI Indemnity Company
                          Policy No.:                  NPP682977
                          Policy Period:               August 9, 2019 to August 9, 2020
                          Matter:                      Karen Whiteman
                          RSUI File No:                7030152774
                          Tressler File No.:           6986-231

      Dear Mr. Schulz:

                 This firm represents RSUI Indemnity Company ("RIC") in connection with the following
      matters: (1) a January 17, 2020 Charge of Discrimination against Highland-Clarksburg Hospital,
      Inc. ("Highland") filed by Karen Whiteman with the Equal Employment Opportunity Commission
      (the "EEOC") and the Pennsylvania Human Relations Commission (the "PHRC") (the "Charge");
      and (2) a lawsuit styled Karen M. Whiteman v. Highland-Clarksburg Hospital, Inc., Civil Action No.
      20-6-265-1, filed on November 9, 2020 in the Circuit Court of Harrison County, West Virginia (the
      "Whiteman Lawsuit").

             Please accept this letter as a supplement to Kyle Dunton's letter dated December 7, 2020
      and a response to your letter dated January 15, 2021 addressing coverage for this matter. We
      are sending this letter to you in your capacity as the authorized representative of Highland. If
      you are not acting in that capacity, please advise accordingly.

             As discussed herein, RIC reiterates that there is no coverage for this matter under Non-
      Profit Organization Management Liability Policy NPP682977 (the "Policy") because Highland
      failed to provide notice of the Charge no later than sixty (60) days after expiration of the Policy
      Periodl , which is a condition precedent to coverage under the Policy.




      1   Bolded terms are as defined in the Policy.

                              California I Illinois I New Jersey I New York I Pennsylvania
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   Mr. Mychal Schulz
   February 2, 2021
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   Summary of the Matter
            The Charge

                    Summary
            On January 17, 2020, Ms. Karen Whiteman filed a"Charge of Discrimination" with the
   PHRC against Highland alleging that she has been "subjected to harassment, such as but not
   limited to, verbal abuse, weekly meetings, job criticism, and micromanagement by Valerie
   Hudson." Ms. Whiteman further asserted in the Charge of Discrimination that she believed that
   she had been "retaliated and discriminated against based on [her] age, 53, in violation ofthe Age
   Discrimination in Employment Act of 1967, as amended (ADEA) when [she] was placed on a
   Performance Improvement Plan after [she] filed a hostile work environment complaint."

                    Status

            On January 21, 2020, the EEOC sent Ms. Whiteman a"Dismissal and Notice of Rights,"
   dismissing her Charge of Discrimination and making the following determination:
                  Based upon its investigation, the EEOC is unable to conclude that
                 the information obtained establishes violations of the statutes.
                 This does not certify that the respondent is in compliance with the
                 statutes. No finding is m'ade as to any other issues that may be
                 construed as having been raised by this charge.
                     ~
          The Dismissal and Notice of Rights further provided Ms. Whiteman with "Notice of Suit
   Rights," which indicates that Ms. Whiteman has the right to sue Highland in state and federal
   court pursuant to various statutory time limitations. RIC understands that Highland received a
   copy of the Charge of Discrimination and the Dismissal and Notice of Rights on January 21, 2020.

            The Whiteman Lawsuit

                    Summary
            On November 13, 2020, Ms. Whiteman served the Whiteman Lawsuit in the Circuit Court
   of Harrison County, West Virginia. The plaintiff alleges that she began working for Highland in
   October 2016. According to the complaint, in early 2019 the plaintiff was assigned to report to
   Ms. Valerie Hutson. The plaintiff alleges that "for several months thereafter, [she] was subject
   to being treated in a disparate manner due to her age, including being verbally abused by said
   Valerie Hutson as well as had to ensure hearing the co-workers on her team being verbally abused
   repeatedly by the said Valerie Hutson."

            According to the complaint, on June 6, 2019, the plaintiff filed an official complaint of
   discrimination and hostile work environment with the confidential compliance line offered
   through Highland. The plaintiff asserts that on October 31, 2019, she was given a Performance
   Improvement Period by Highland. According to the complaint, on November 1, 2019, the plaintiff
   filed a complaint with the EEOC.z The plaintiff alleges that although she "performed all of her job




   z Highland has indicated that it never received notice of a November 1, 2019 complaint with the EEOC and is only
   aware of the Charge, dated January 17, 2020.
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   Mr. Mychal Schulz
   February 2, 2021
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   duties in a satisfactory and/or above satisfactory manner," on June 12, 2020, the plaintiff was
   constructively discharged from her position at Highland.

           The plaintiff brings the following causes of action against Highland: (1) age discrimination;
   (2) hostile work environment; (3) retaliation in violation of the West Virginia Human Rights Act;
   (4) retaliation for reporting age discrimination and hospital work environment with the EEOC; (5)
   wrongful termination — age discrimination West Virginia Human Rights Act; and (6) tort of
   outrage. The plaintiff seeks damages in an unspecified amount, including punitive damages,
   attorney fees, costs, interest, and other relief as the Court or jury seem just.
   The Policy

           RIC issued Non-Profit Organization Management Liability Policy NPP682977 (the "Policy")
   to Highland for the period August 9, 2019 to August 9, 2020 (the "Policy Period"). The Policy is
   effective for Claims first made and reported during the Policy Period. The Policy is subject to
   common policy terms and conditions and specific terms and conditions relevant to the Coverage
   Parts purchased by the Insured. With respect to Employment Practices Liability Insurance
   (Coverage Part B.), the Policy provides a$2 million Aggregate Limit of Liability, subject to a
   $75,000 retention.
   Coveraee Evaluation

          Denial of Coveraee

           As set forth in Mr. Dunton's letter dated December 7, 2020, RIC concluded that the Charge
   is a Claim as that term is defined in the Employment Practices Liability Coverage Section III.
   Moreover, because the facts and events alleged in the Whiteman Lawsuit are related and arise
   out of the facts and situations in the Charge, RIC concluded that the Whiteman Lawsuit is deemed
   interrelated to the Charge and deemed to be a single Claim first made when the Charge was first
   received, which was at least by January 21, 2020 when Highland received notice of Charge and
   Dismissal and Notice of Rights.

         Pursuant to Section V.C.1 of the Common Terms and Conditions Coverage Section
   ("Reporting and Notice Provision"), the Policy provides that:

                 If, during the Policy Period or Extended Reporting Period (if
                 applicable), any Claim is first made, it shall be a condition
                 precedent to the Insurer's obligation to pay, that the Insured give
                 written notice of such Claim to the Insurer as soon as practicable
                 after such Claim is first made, but in no event shall such notice be
                 given later than sixty (60) days after either the Policy Period expires
                 or any earlier cancellation date of this policy.
          Pursuant to the above, the Insureds were required to give RIC written notice of the Claim
  no laterthan 60 days after expiration ofthe Policy Period. However, the Insureds did not provide
  notice of the Claim until November 23, 2020, more than 10 months after first learning that the
  Claim was made and more than three months after the expiration of the Policy Period.
  Accordingly, RIC has concluded that the Insureds failed to provide notice within sixty days after
  the Policy Period expired, which is a condition precedent to coverage. See Smith v. Lindsay, 2011
  WL 9820531 (Cir. Ct. W.Va. Oct. 26, 2011) (affirmed on appeal) (finding insurer not required to
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      Mr. Mychal Schulz
      February 2, 2021
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      establish prejudice under claims made and reported policy where insured failed to provide notice
      during the policy period). RIC declines coverage under the Policy on this basis.

             In your letter dated January 15, 2021, you assert that West Virginia requires a"two-step
      inquiry" to determine whether late notice precludes coverage: first, whether the length of the
      delay was reasonable; and second, if the delay was reasonable, whether the insurer was
      prejudiced by the late notice. However, the cases cited in your letter appear to involve
      "occurrence" policies and not claims made and reported policies like the Policy at issue here. See
   Smith v. Lindsay, 2011 WL 9820531 (Cir. Ct. W.Va. Oct. 26, 2011) (affirmed on appeal).
   Specifically, in Smith, which involved a claims made and reported policy, the court explained:

                       [T]he adoption ofa prejudice requirement would be contraryto the
                       plain language of the [policy], which unambiguously requires that
                      a claim be both "first made" and "first reported" within the same
                      policy period in orderto qualify for coverage. Moreover, I conclude
                      that the adoption of a rule requiring prejudice would undermine
                      claims-made coverage and would therefore conflict with the
                      decisions of the Supreme Court of Appeals enforcing such
                      coverage.
   !d. (citing Soliva v. Shand, Morahan & Co., Inc., 176 W.Va. 430, 433 (1986); Auber v. Jellen, 196
   W.Va. 168, 174 (1996)). Given that Highland failed to provide notice of the Charge within 60 days
   after the Policy Period expired, there is no coverage for Highland for this matter and RIC again
   declines coverage under the Policy on this basis.3



           In the event you disagree with any of the analysis set forth above, please provide the basis
   for that disagreement. RIC continues to reserve all rights, remedies and defenses under the
   Policy and applicable law. Nothing state herein, or not stated, shall be deemed to be a waiver or
   compromise of any rights, remedies or defense's which RIC has or may obtain.

               Please do not hesitate to contact me if you would like to discuss any of the above.

                                                                 Very truly yours,
                                                                                       ,
                                                                                   i



                                                                 M   ~ichael R. Delhagen


   cc:      Kyle W. Dunton, Esq.




  3 Even assuming that some "reasonableness" standard is available to Highlarid (which it is not), Highland's failure to
  provide notice of the Charge was unreasonable under the circumstances. RIC's review of the EEOC Dismissal and
  Notice of Rights indicates that the EEOC's dismissal was not a decision on the merits, but merely an indication that
  in the EEOC's limited investigation did not uncover any unlawful discrimination. Therefore, Highland should have
  been aware that a future lawsuit may result from Ms. Whiteman's allegations.
